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 ···· ··4550 East Cherry Creek Drive South, Suite 1003       ·4·
                                                               · · · · · · · ·Thompson, and Warfield
·5·
  · · ··Glendale, Colorado 80246                             ·5·
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  · · ··dkitson@littler.com
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                                                                 ·         provided electronically to the court
18·
  ·                                                          18·
                                                               ·reporter.)
19·
  ·                                                          19·
                                                               ·
20·
  ·                                                          20·
                                                               ·
21·
  ·                                                          21·
                                                               ·
22·
  ·                                                          22·
                                                               ·
23·
  ·                                                          23·
                                                               ·
24·
  ·                                                          24·
                                                               ·
25·
  ·                                                          25·
                                                               ·


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                                          (720) 872-9910
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·1·
  · · · · · · · · ·P R O C E E D I N G S                       ·1·
                                                                 ·asking.
·2·
  · · · · · ·THE VIDEOGRAPHER:··Good morning.··We are          ·2·
                                                                 ······
                                                                  ·····A.···Yes.
·3·
  ·now on the record.··The time now is 9:01 a.m.               ·3·
                                                                 · · ··Q.· ·(BY MR. CRONE)··And was one of the reasons
·4·
  ·Mountain Time.··Today is July 13, 2020.··We are             ·4·
                                                                 ·that you didn't want to do the deposition in person
·5·
  ·conducting the virtual deposition of Frontier               ·5·
                                                                 ·that you were worried about sharing a room with other
·6·
  ·Airlines 30(b)(6) witness Gerardo Arellano in the           ·6·
                                                                 ·people for an extended period of time?
·7·
  ·matter of Rebecca Brigham v. The Frontier Airlines in       ·7·
                                                                 · · · · · ·MS. KITSON:··Object to the form, and that
·8·
  ·the United States District Court for the District of        ·8·
                                                                 ·calls for attorney-client privileged information.
·9·
  ·Colorado, Case Number 19-cv-03417.                          ·9·
                                                                 ·I'm instructing him not to answer.
10·
  · · · · · ·The video technician is Walt Mathern.··The        10·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Mr. Arellano, did you have
11·
  ·court reporter is Danielle -- excuse me -- is               11·
                                                                 ·any safety concerns about doing a deposition in which
12·
  ·Jill Nielsen.                                               12·
                                                                 ·you would share a room with multiple people for an
13·
  · · · · · ·Will parties please identify themselves,          13·
                                                                 ·extended period of time?
14·
  ·beginning with the plaintiff's client.                      14·
                                                                 · · · · · ·MS. KITSON:··Object to the form.··This
15·
  · · · · · ·MR. CRONE:··John Crone for the plaintiff.         15·
                                                                 ·calls for a legal discussion between counsel.··I am
16·
  · · · · · ·MR. GRIMES:··Evan Grimes for Plaintiff.           16·
                                                                 ·the one who expressed the reservations because I have
17·
  · · · · · ·THE WITNESS:··Rebecca Brigham, Plaintiff.         17·
                                                                 ·a high-risk mother at home who's 72 years old, and my
18·
  · · · · · ·MS. KITSON:··Daniel Kitson with Littler           18·
                                                                 ·concern was about too many people being in a room
19·
  ·Mendelson on behalf of the defendant.··With me is           19·
                                                                 ·together where they could not socially distance with
20·
  ·Carolyn Theis with my firm and Jackie Peter, who is         20·
                                                                 ·at least 6 feet between them all wearing masks.··And
21·
  ·with Frontier as in-house counsel, and her title is         21·
                                                                 ·that is my concern and not Mr. Arellano's.
22·
  ·vice president of labor relations.                          22·
                                                                 · · · · · ·MR. CRONE:··I appreciate you expressing
23·
  · · · · · · · · · ·GERARDO ARELLANO,                         23·
                                                                 ·your concerns.
24·
  ·having been first duly sworn to tell the truth,             24·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Do you need me to repeat
25·
  ·testified as follows:                                       25·
                                                                 ·the question, Mr. Arellano?

                                                           6                                                              8
·1·
  · · · · · · · · · · ··EXAMINATION                            ·1·
                                                                 ······
                                                                  ·····A.···Yes.
·2·
  ·BY MR. CRONE:                                               ·2·
                                                                 · · ··Q.· ·Did you have any safety concerns related to
·3·
  · · ··Q.· ·Good morning, Mr. Arellano, and thanks for        ·3·
                                                                 ·doing an in-person deposition?
·4·
  ·appearing by video.··I know it's a bit of a pain.           ·4·
                                                                 ······
                                                                  ·····A.···Yes.
·5·
  ·Ms. Brigham appreciates it.                                 ·5·
                                                                 · · ··Q.· ·Okay.··But now you find yourself in a room
·6·
  · · · · · ·So are you aware that when we first noticed       ·6·
                                                                 ·with other people; isn't that correct?
·7·
  ·the deposition of Frontier Airlines, we had noticed         ·7·
                                                                 ······
                                                                  ·····A.···Correct.
·8·
  ·the deposition to be in person?                             ·8·
                                                                 · · ··Q.· ·Okay.··Do you have any safety concerns now?
·9·
  · · · · · ·MS. KITSON:··And, Mr. Crone, we had               ·9·
                                                                 ······
                                                                  ·····A.···Not·at·this·time,·no.
10·
  ·expected the in-person aspect of the deposition would       10·
                                                                 · · ··Q.· ·Okay.··If you do, please speak up and let
11·
  ·be -- are you asking about in person versus video?          11·
                                                                 ·me know, because Plaintiff has no desire to put you
12·
  · · · · · ·MR. CRONE:··I'm just -- I'm just -- I'd           12·
                                                                 ·at risk.··Is that clear?
13·
  ·appreciate it if the -- if the witness could answer.        13·
                                                                 ······
                                                                  ·····A.···Yes.
14·
  · · ··Q.· ·(BY MR. CRONE)··I'm simply asking,                14·
                                                                 · · ··Q.· ·Thank you.
15·
  ·Mr. Arellano, are you aware that when Ms. Brigham           15·
                                                                 · · · · · ·Okay.··Mr. Arellano, you understand that
16·
  ·first noticed your deposition, that is, Frontier's          16·
                                                                 ·you're testifying on behalf of Frontier Airlines,
17·
  ·deposition, it was meant to be in person?                   17·
                                                                 ·Incorporated, right?
18·
  · · · · · ·MS. KITSON:··Object to the form.                  18·
                                                                 ······
                                                                  ·····A.···Yes.
19·
  ······
   ·····A.···Yes.                                              19·
                                                                 · · ··Q.· ·Okay.··And in order to do that, you, I
20·
  · · ··Q.· ·(BY MR. CRONE)··And -- and then at                20·
                                                                 ·assume, spent a fair amount of time preparing for
21·
  ·Frontier's request, we amended the deposition to do         21·
                                                                 ·today's deposition?
22·
  ·it by video.··Are you aware of that?                        22·
                                                                 ······
                                                                  ·····A.···Correct.
23·
  · · · · · ·MS. KITSON:··Object to the form.··There's         23·
                                                                 · · ··Q.· ·And without telling me what you spoke about
24·
  ·no abandoning of the deposition.                            24·
                                                                 ·with your attorneys -- I have no interest in that --
25·
  · · · · · ·But you can answer the question that he's         25·
                                                                 ·can you tell me if you reviewed any documents in


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                                                           9                                                             11
·1·
  ·order to prepare?                                           ·1·
                                                                 ·employee·relations.
·2·
  ······
   ·····A.···I·did.                                            ·2·
                                                                 · · ··Q.· ·Senior manager of talent acquisition and
·3·
  · · ··Q.· ·And are those documents -- so this morning,       ·3·
                                                                 ·employee relations?
·4·
  ·I'll tell you that I received a folder with a variety       ·4·
                                                                 ······
                                                                  ·····A.···Uh-huh.
·5·
  ·of documents in it, and it was labeled -- excuse            ·5·
                                                                 · · ··Q.· ·I should have mentioned, too, so in order
·6·
  ·me -- it was labeled Virtual Binder.                        ·6·
                                                                 ·to make this work on -- on video, I'm looking at one
·7·
  · · · · · ·Do you know if -- it's called Virtual             ·7·
                                                                 ·screen to look at you, and then I've got a screen to
·8·
  ·Binder, Rule 30(b)(6) Reference Materials.··Is              ·8·
                                                                 ·the left where I can look at the exhibits.··And so if
·9·
  ·that -- are those the documents you reviewed to             ·9·
                                                                 ·I'm looking at that while talking to you and that's a
10·
  ·prepare for today?                                          10·
                                                                 ·bit annoying, I apologize for that.··It's not --
11·
  ······
   ·····A.···I·did,·yes.                                       11·
                                                                 ······
                                                                  ·····A.···Okay.
12·
  · · ··Q.· ·Okay.··And then last Friday, so just a few        12·
                                                                 · · ··Q.· ·Okay.··And how long have you been the
13·
  ·days ago Friday, I had received a folder of materials       13·
                                                                 ·senior manager of talent acquisition and employee
14·
  ·from your attorneys that I thought was the same             14·
                                                                 ·relations?
15·
  ·binder, that is, a binder of materials you reviewed         15·
                                                                 ······
                                                                  ·····A.···I'm·thinking.··Sorry.
16·
  ·for today's deposition.                                     16·
                                                                 · · ··Q.· ·That's fine.
17·
  · · · · · ·Are you familiar with that folder that was        17·
                                                                 ······
                                                                  ·····A.···About·five·years.
18·
  ·produced on Friday?                                         18·
                                                                 · · ··Q.· ·So roughly 2015 to 2020?
19·
  ······
   ·····A.···No.                                               19·
                                                                 ······
                                                                  ·····A.···Yeah,·yeah.
20·
  · · ··Q.· ·Okay.··So you have no idea if those are the       20·
                                                                 · · ··Q.· ·And were you employed with Frontier
21·
  ·same documents or if there are different documents?         21·
                                                                 ·Airlines prior to 2015?
22·
  ······
   ·····A.···No.                                               22·
                                                                 ······
                                                                  ·····A.···Prior·to·2013,·yes.
23·
  · · ··Q.· ·Okay.··So what -- what we'll do is at --          23·
                                                                 · · ··Q.· ·I said 2015.··I'm sorry.
24·
  ·at -- at the first break we take, I'll review that so       24·
                                                                 ······
                                                                  ·····A.···And·let·me·correct·that.··Actually,·in·this
25·
  ·we don't have to stop now.                                  25·
                                                                 ·world·now,·possibly·maybe·three·years·as·a·senior

                                                          10                                                             12
·1·
  ······
   ·····A.···Okay.                                             ·1·
                                                                 ·manager·of·talent·acquisition.··I·came·back·five
·2·
  · · ··Q.· ·And -- and then we'll -- we'll take it as         ·2·
                                                                 ·years·ago,·though.
·3·
  ·it goes.                                                    ·3·
                                                                 · · ··Q.· ·Okay.··So what was your -- what was your
·4·
  ······
   ·····A.···Okay.                                             ·4·
                                                                 ·position prior to your current position?
·5·
  · · ··Q.· ·How long did you spend preparing for              ·5·
                                                                 ······
                                                                  ·····A.···It·was·senior·manager·of·employee
·6·
  ·today's deposition?                                         ·6·
                                                                 ·relations.
·7·
  ······
   ·····A.···Over·the·weekend.                                 ·7·
                                                                 · · ··Q.· ·And how long did you hold that position?
·8·
  · · ··Q.· ·Okay.··Can you -- can you guess at how many       ·8·
                                                                 ······
                                                                  ·····A.···In·that·for·about·two·years.
·9·
  ·hours?                                                      ·9·
                                                                 · · ··Q.· ·Okay.··And then prior to that, what was
10·
  ······
   ·····A.···Oh,·12·to·15.                                     10·
                                                                 ·your position?
11·
  · · ··Q.· ·Mr. Arellano, if you need to take a break         11·
                                                                 ······
                                                                  ·····A.···I·think·it·was·manager·of·staffing·and
12·
  ·at any time -- I -- I should have mentioned it.             12·
                                                                 ·compliance.
13·
  ·Before we get too much farther into this, if you need       13·
                                                                 · · ··Q.· ·Can you remember how long you were the
14·
  ·to take a break, let me know.                               14·
                                                                 ·manager of staffing and compliance?
15·
  ······
   ·····A.···Okay.                                             15·
                                                                 ······
                                                                  ·····A.···Not·off·the·bat.··Maybe·a·few·years.
16·
  · · ··Q.· ·If there -- if there's a question pending,        16·
                                                                 · · ··Q.· ·Okay.
17·
  ·I'll just ask that you finish the question.··But            17·
                                                                 ······
                                                                  ·····A.···Yeah.
18·
  ·other than that, there aren't -- you're not hostage         18·
                                                                 · · ··Q.· ·When you first started with Frontier, what
19·
  ·in the room.··So if you -- if you need a break,             19·
                                                                 ·was your position?
20·
  ·please let me know.                                         20·
                                                                 ······
                                                                  ·····A.···I·was·the·inflight·administration·back·in
21·
  ······
   ·····A.···Understood.                                       21·
                                                                 ·2004.
22·
  · · ··Q.· ·Yep.··So let's -- let's start with -- let's       22·
                                                                 · · ··Q.· ·So --
23·
  ·start with your current position.··What's your              23·
                                                                 ······
                                                                  ·····A.···So·admin.
24·
  ·position with Frontier Airlines?                            24·
                                                                 · · ··Q.· ·-- you were -- I'm sorry.··I'm sorry; go
25·
  ······
   ·····A.···Senior·manager·of·talent·acquisition·and          25·
                                                                 ·ahead.


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·1·
  ······
   ·····A.···I·was·an·admin,·administrative·assistant.         ·1·
                                                                 ······
                                                                  ·····A.···There,·manager·of·talent·acquisition.
·2·
  · · ··Q.· ·And that was in 2004?                             ·2·
                                                                 · · ··Q.· ·Anywhere else?
·3·
  ······
   ·····A.···2004.                                             ·3·
                                                                 ······
                                                                  ·····A.···No.
·4·
  · · ··Q.· ·Okay.··And then between the time you were         ·4·
                                                                 · · ··Q.· ·Okay.··And then what -- what time period
·5·
  ·an inflight admin in 2004 and then you were a manager       ·5·
                                                                 ·were you at JetBlue Airways?
·6·
  ·of staffing and compliance, did you hold any other          ·6·
                                                                 ······
                                                                  ·····A.···It·would·have·been·2014,·2015.
·7·
  ·positions with Frontier?                                    ·7·
                                                                 · · ··Q.· ·Okay.··So I want to focus in on your
·8·
  ······
   ·····A.···Yes.                                              ·8·
                                                                 ·current position.··So that's senior manager of talent
·9·
  · · ··Q.· ·And -- and what were those?                       ·9·
                                                                 ·acquisition and employee relations --
10·
  ······
   ·····A.···After·the·inflight·admin,·I·was·an·inflight       10·
                                                                 ······
                                                                  ·····A.···Okay.
11·
  ·coordinator.··Then·I·became·an·inflight·supervisor,         11·
                                                                 · · ··Q.· ·-- that you've held for about the past
12·
  ·then·inflight·manager,·and·then·employee·relations          12·
                                                                 ·three years.··That -- that's correct, the past three
13·
  ·manager,·and·then·the·senior·manager·of·employee            13·
                                                                 ·years, right?
14·
  ·relations.                                                  14·
                                                                 ······
                                                                  ·····A.···(Nodded·head·up·and·down.)
15·
  · · ··Q.· ·And then after you were senior manager of         15·
                                                                 · · ··Q.· ·Okay.··In that position, what are your --
16·
  ·employee relations, you became the manager of               16·
                                                                 ·what are your primary duties?
17·
  ·staffing and compliance?                                    17·
                                                                 ······
                                                                  ·····A.···I·oversee·all·of·talent·acquisition,·which
18·
  ······
   ·····A.···Manager·of·staffing·and·compliance,               18·
                                                                 ·would·be·the·corporate·recruitment·team,·pilot
19·
  ·correct.                                                    19·
                                                                 ·recruitment·team,·and·the·flight·attendant
20·
  · · ··Q.· ·And then you were the senior manager of           20·
                                                                 ·recruitment·team.··And·then·I·handle·employee
21·
  ·employee relations again in 2015, about?                    21·
                                                                 ·relations·for·our·pilot·group.
22·
  ······
   ·····A.···2015,·yeah.                                       22·
                                                                 · · ··Q.· ·Okay.··So when you say talent acquisition
23·
  · · ··Q.· ·And then you are the senior manager, talent       23·
                                                                 ·for the corporate group, are you talking about -- so
24·
  ·acquisition and employee relations currently?               24·
                                                                 ·what types of employees fall into the corporate
25·
  ······
   ·····A.···Correct.                                          25·
                                                                 ·group?

                                                          14                                                             16
·1·
  · · ··Q.· ·Okay.··During that time period from 2004 to       ·1·
                                                                 ······
                                                                  ·····A.···Oh,·so·the·corporate·group·will·be
·2·
  ·present, did you work for any other companies?              ·2·
                                                                 ·everybody·in·this·facility,·in·the·corporate·office:
·3·
  ······
   ·····A.···I·did.                                            ·3·
                                                                 ·marketing,·accounting,·finance.··Anybody·who·is
·4·
  · · ··Q.· ·What were those?                                  ·4·
                                                                 ·identified·as·a·corporate·employee.
·5·
  ······
   ·····A.···Fresenius·Medical·Care.                           ·5·
                                                                 · · ··Q.· ·When you say "this facility," are you --
·6·
  · · · · · ·THE REPORTER:··I'm sorry?                         ·6·
                                                                 ·are you talking about an office in Denver?
·7·
  · · · · · ·THE WITNESS:··Fresenius Medical Care.             ·7·
                                                                 ······
                                                                  ·····A.···Yes.
·8·
  · · ··Q.· ·(BY MR. CRONE)··And what was your position        ·8·
                                                                 · · ··Q.· ·And is that office in -- at the airport?
·9·
  ·there?                                                      ·9·
                                                                 ·Is it downtown?··Where is it located?
10·
  ······
   ·····A.···Employee·relations·manager.                       10·
                                                                 ······
                                                                  ·····A.···It's·close·to·the·airport.
11·
  · · ··Q.· ·And were you the employee relations manager       11·
                                                                 · · ··Q.· ·Okay.
12·
  ·concurrently with -- while at Frontier, or were there       12·
                                                                 ······
                                                                  ·····A.···Right·down·the·road.
13·
  ·gaps in -- in the time you worked at Frontier?              13·
                                                                 · · ··Q.· ·Is that -- is that Frontier's headquarters,
14·
  ······
   ·····A.···Yeah,·there's·gaps,·so·between·Frontier·and       14·
                                                                 ·if that makes sense?
15·
  ·Fresenius.                                                  15·
                                                                 ······
                                                                  ·····A.···It·--·it·is,·yes.
16·
  · · ··Q.· ·Okay.                                             16·
                                                                 · · ··Q.· ·Is that also referred to as the GO, the
17·
  ······
   ·····A.···Yeah.                                             17·
                                                                 ·general office?
18·
  · · ··Q.· ·And so what -- what was the time period           18·
                                                                 ······
                                                                  ·····A.···No.··This·place·--·the·--·the·GO·was·a
19·
  ·that you were at Fresenius?                                 19·
                                                                 ·former·building.
20·
  ······
   ·····A.···Would·have·been·in·2010·through·2012,             20·
                                                                 · · ··Q.· ·And where -- where was that former
21·
  ·possibly.                                                   21·
                                                                 ·building?
22·
  · · ··Q.· ·Any other companies you worked for between        22·
                                                                 ······
                                                                  ·····A.···Also·right·down·the·road.
23·
  ·2004 and present?                                           23·
                                                                 · · ··Q.· ·Is it -- did -- did you-all just move
24·
  ······
   ·····A.···Yes.··JetBlue·Airways.                            24·
                                                                 ·buildings, or is it -- or are there two occupied
25·
  · · ··Q.· ·And what was your position there?                 25·
                                                                 ·buildings now?


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                                                          17                                                             19
·1·
  ······
   ·····A.···We·moved·about·two·years·ago.                     ·1·
                                                                 ······
                                                                  ·····A.···Yes.
·2·
  · · ··Q.· ·So everything that was referred to as the         ·2·
                                                                 · · ··Q.· ·How about allegations of retaliation in the
·3·
  ·"GO" in any of the documents I have referred to has         ·3·
                                                                 ·workplace?
·4·
  ·now moved to where you are now?                             ·4·
                                                                 ······
                                                                  ·····A.···Yes.
·5·
  ······
   ·····A.···Yes.                                              ·5·
                                                                 · · ··Q.· ·How about disability-based discrimination?
·6·
  · · ··Q.· ·Okay.··Does that building have an acronym         ·6·
                                                                 ······
                                                                  ·····A.···Yes.
·7·
  ·or a name?                                                  ·7·
                                                                 · · ··Q.· ·Requests for reasonable accommodation?
·8·
  ······
   ·····A.···Just·headquarters,·HQ.                            ·8·
                                                                 ······
                                                                  ·····A.···Yes.
·9·
  · · ··Q.· ·Okay.··So you handle talent recruitment for       ·9·
                                                                 · · ··Q.· ·Engaging in the interactive process with
10·
  ·everyone that works in that headquarters?                   10·
                                                                 ·somebody who's requested a reasonable accommodation?
11·
  ······
   ·····A.···Correct.                                          11·
                                                                 ······
                                                                  ·····A.···Yes.
12·
  · · ··Q.· ·And then -- okay.··And then you also              12·
                                                                 · · ··Q.· ·Okay.··And then prior to your time as
13·
  ·mentioned the -- the pilot group.··What -- what's           13·
                                                                 ·senior manager of employee relations when you were
14·
  ·that about?                                                 14·
                                                                 ·the manager of staffing and compliance, what were the
15·
  ······
   ·····A.···Yeah.··So·there's·three·different·teams.          15·
                                                                 ·primary job duties in that position?
16·
  ·There's·a·corporate·recruitment·team,·the·inflight·or       16·
                                                                 ······
                                                                  ·····A.···Under·the·manager·of·compliance·and
17·
  ·flight·attendant·recruitment·team,·and·then·the·pile        17·
                                                                 ·staffing?··That·one?
18·
  ·recruitment·team.                                           18·
                                                                 · · ··Q.· ·Yes.··Yeah.
19·
  · · ··Q.· ·Any -- any other primary duties in your           19·
                                                                 ······
                                                                  ·····A.···I·oversaw·all·of·corporate·--·all·of·talent
20·
  ·current position?                                           20·
                                                                 ·acquisition·as·well.··We·were·a·smaller·organization
21·
  ······
   ·····A.···No.                                               21·
                                                                 ·at·that·time,·but·it·was·only·one·recruitment·team·at
22·
  · · ··Q.· ·Okay.··When you were the senior manager of        22·
                                                                 ·the·time.··And·then·compliance·is·the·drug·and
23·
  ·employee relations with Frontier for a couple of            23·
                                                                 ·alcohol·program·associated·with·--·whether·it·be
24·
  ·years around 2015, what were your primary duties            24·
                                                                 ·preemployment·and·everything·in·between.
25·
  ·then?                                                       25·
                                                                 · · ··Q.· ·And the drug and alcohol program

                                                          18                                                             20
·1·
  ······
   ·····A.···2015,·much·of·the·focus·was·the·inflight·or       ·1·
                                                                 ·preemployment, is that drug-testing somebody prior
·2·
  ·flight·attendant·employee·relations·business·partner.       ·2·
                                                                 ·to -- prior to them taking a job?
·3·
  ·And·I·also·had·a·few·of·the·corporate·departments·as        ·3·
                                                                 ······
                                                                  ·····A.···Yeah.
·4·
  ·well·that·I·was·responsible·for.                            ·4·
                                                                 · · ··Q.· ·And then "everything else in between," is
·5·
  · · ··Q.· ·Okay.··So focusing on the flight attendant        ·5·
                                                                 ·there some other component to that?··Does it go on
·6·
  ·employee relations, what were the highlights of your        ·6·
                                                                 ·beyond the hiring process?
·7·
  ·job in that regard?                                         ·7·
                                                                 ······
                                                                  ·····A.···Yes,·beyond·--·we·do·the·random·drug
·8·
  ······
   ·····A.···Can·you·explain·a·little·more·in·terms·of         ·8·
                                                                 ·testing·for·anybody·who·is·DOT;·the·self-disclosure
·9·
  ·highlights?                                                 ·9·
                                                                 ·program·as·well.
10·
  · · ··Q.· ·So -- so -- so what do you do?··I mean, so        10·
                                                                 · · ··Q.· ·When you say "DOT," what -- what do you
11·
  ·when you say "flight attendant employee relations,"         11·
                                                                 ·mean by that?
12·
  ·what does the job entail as related to that, if that        12·
                                                                 ······
                                                                  ·····A.···Department·of·Transportation.
13·
  ·makes better sense?                                         13·
                                                                 · · ··Q.· ·So is that like if they were caught
14·
  ······
   ·····A.···If·there·was·a·concern·dealing·with·anybody       14·
                                                                 ·drinking on the job or something?··Or is that some --
15·
  ·within·the·inflight·group,·whether·that·be·management       15·
                                                                 ······
                                                                  ·····A.···Yes.
16·
  ·or·flight·attendant·group,·and·they·needed·HR               16·
                                                                 · · ··Q.· ·Okay.
17·
  ·consultation,·I·would·be·the·point·of·contact.              17·
                                                                 ······
                                                                  ·····A.···Primarily·anybody·who·is·safety·sensitive
18·
  · · ··Q.· ·What are the types of things somebody might       18·
                                                                 ·is·determined·as·part·of·the·--·the·Department·of
19·
  ·have asked for an HR consultation on?                       19·
                                                                 ·Transportation.··So·the·corporate·group·is·not
20·
  ······
   ·····A.···Whether·it·be·a·complaint·that·was·filed          20·
                                                                 ·considered·a·DOT·role,·so·people·that·work·in·the·--
21·
  ·internally·or·any·disagreements·between·flight              21·
                                                                 ·at·that·time·it·would·have·been·the·GO.··They're
22·
  ·attendants,·or·investigation·of·sorts,·or·just              22·
                                                                 ·not·subject·to·some·of·the·requirements·that·a
23·
  ·guidance·in·terms·of·benefits,·things·like·that.            23·
                                                                 ·safety-sensitive·role·would·be.
24·
  · · ··Q.· ·Would the investigations ever relate to           24·
                                                                 · · ··Q.· ·So if somebody's in the GO and they were
25·
  ·allegations of discrimination in the workplace?             25·
                                                                 ·caught drinking on the job, is that just a -- a


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                                                          21                                                             23
·1·
  ·matter of internal discipline?··The -- the DOT              ·1·
                                                                 · · ··Q.· ·Yeah.··I -- yeah.··Okay.··So -- so is there
·2·
  ·doesn't get involved?                                       ·2·
                                                                 ·ever a situation where the response would be the
·3·
  ······
   ·····A.···Yes.··That·would·be·handled·internally            ·3·
                                                                 ·employee must submit to random drug and alcohol
·4·
  ·based·on·who·supported·that·core·group·in·terms·of          ·4·
                                                                 ·screening?
·5·
  ·the·employee·relation·site.                                 ·5·
                                                                 ······
                                                                  ·····A.···Not·if·they·tested·positive·for·drugs·or
·6·
  · · ··Q.· ·But somebody in a safety-sensitive position       ·6·
                                                                 ·alcohol,·no.
·7·
  ·is also subject to these Department of Transportation       ·7·
                                                                 · · ··Q.· ·So that's never a response?
·8·
  ·regulations; is that fair?                                  ·8·
                                                                 ······
                                                                  ·····A.···No.··There·would·be·--·there·again,·it·goes
·9·
  ······
   ·····A.···Yes.                                              ·9·
                                                                 ·back·to·if·they·were·identified·--·if·a·drug·test
10·
  · · ··Q.· ·If somebody -- what -- what does the DOT do       10·
                                                                 ·deemed·that·the·person·was·under·the·influence,·it
11·
  ·if somebody's caught using drugs or alcohol on the          11·
                                                                 ·would·go·to·termination.
12·
  ·job and they're in a safety-sensitive position?             12·
                                                                 · · ··Q.· ·Got it.··Okay.··Got it.
13·
  · · · · · ·MS. KITSON:··Object to the form.                  13·
                                                                 ······
                                                                  ·····A.···Yeah.
14·
  ······
   ·····A.···What·would·be·--·say·that·again?                  14·
                                                                 · · ··Q.· ·Okay.
15·
  · · ··Q.· ·(BY MR. CRONE)··I'm -- so -- so the -- if         15·
                                                                 ······
                                                                  ·····A.···We're·not·a·second-chance·company,·so·if
16·
  ·somebody's in a safety-sensitive position and they're       16·
                                                                 ·anybody·did·test·positive·--·and·that's·what·I·was
17·
  ·caught using drugs or alcohol on the job, what is --        17·
                                                                 ·trying·to·say.
18·
  ·what is DOT's response?                                     18·
                                                                 · · ··Q.· ·I see, I see, I see.··Okay.··I -- I was --
19·
  ······
   ·····A.···That,·I·wouldn't·know.··We·would·handle·it        19·
                                                                 ·I -- I had -- I thought you had mentioned that random
20·
  ·from·a·corporate·side·of·the·house,·so·I·don't·know         20·
                                                                 ·drug and alcohol screenings might occur.··I was just
21·
  ·what·the·DOT's·response·would·be.                           21·
                                                                 ·trying to figure out when that might occur.
22·
  · · ··Q.· ·Okay.··But what -- what would then                22·
                                                                 ······
                                                                  ·····A.···Correct.
23·
  ·Frontier's response need to be?                             23·
                                                                 · · ··Q.· ·Okay.
24·
  ······
   ·····A.···Well,·we·would·definitely·have·to                 24·
                                                                 ······
                                                                  ·····A.···So,·there's·--·yeah,·there's·different
25·
  ·investigate·the·situation·and·--·and·determine·the          25·
                                                                 ·categories·within·the·complaints·program·that·yield·a

                                                          22                                                             24
·1·
  ·next·course·of·action.                                      ·1·
                                                                 ·certain·action.
·2·
  · · ··Q.· ·Okay.··And -- which might involve random          ·2·
                                                                 · · ··Q.· ·Okay.··Okay.··All right.··And then before
·3·
  ·drug and alcohol screenings?                                ·3·
                                                                 ·you were the manager of staffing and compliance
·4·
  ······
   ·····A.···In·what·form?··I·guess·I'm·confused·with          ·4·
                                                                 ·when you were the inflight supervisor, inflight
·5·
  ·the·question.                                               ·5·
                                                                 ·coordinator, and inflight admin -- I'm hoping we
·6·
  · · ··Q.· ·Yeah.··I'm just -- I'm just trying -- when        ·6·
                                                                 ·can -- we can tackle these as a group.
·7·
  ·you said you would have to investigate and figure out       ·7·
                                                                 ······
                                                                  ·····A.···Okay.
·8·
  ·the proper response, would one proper response be           ·8·
                                                                 · · ··Q.· ·Is it possible for you to delineate what
·9·
  ·random drug and alcohol screenings?                         ·9·
                                                                 ·the job duties of each of those positions were, or do
10·
  · · · · · ·MS. KITSON:··Object to the form.                  10·
                                                                 ·you want me to go one by one?
11·
  ······
   ·····A.···I'm·still·not·connecting·the·dots.··Yeah.         11·
                                                                 ······
                                                                  ·····A.···One·by·one.
12·
  · · ··Q.· ·(BY MR. CRONE)··Okay.··Let -- let me back         12·
                                                                 · · ··Q.· ·Okay.··Let's start with -- let's start with
13·
  ·up.                                                         13·
                                                                 ·as the inflight admin.··We'll start at the bottom and
14·
  · · · · · ·So -- so the question I was asking was if         14·
                                                                 ·go up.
15·
  ·somebody's in a safety-sensitive position and they're       15·
                                                                 ······
                                                                  ·····A.···Okay.
16·
  ·caught using drugs or alcohol, what would Frontier's        16·
                                                                 · · ··Q.· ·So what are the primary duties when you
17·
  ·response be.··Do you recall that question?                  17·
                                                                 ·were an inflight admin?
18·
  ······
   ·····A.···Yes.··No.··But·in·what·form,·I·guess?             18·
                                                                 ······
                                                                  ·····A.···There·was·truly·administrative·support·for
19·
  ·Because·if·they·could·be·--·if·they're·caught·by·--         19·
                                                                 ·the·director·of·inflight·services·at·the·time.
20·
  ·in·the·act,·in·the·moment,·or·they're·said·to               20·
                                                                 · · ··Q.· ·Okay.··And how -- how about when you were
21·
  ·believe.··It·just·depends·in·what·moment.                   21·
                                                                 ·the inflight coordinator?
22·
  ···········
   ··········So·everything·goes·back·to·the                    22·
                                                                 ······
                                                                  ·····A.···Inflight·coordinator,·in·that·role,·I·also
23·
  ·documentation·and·what·took·place·in·the·situation.         23·
                                                                 ·maintained·a·lot·of·the·administrative·functions·but
24·
  ·So·that·would·then·yield·the·response.··So·that's           24·
                                                                 ·also·then·assisted·the·inflight·payroll·and
25·
  ·where·I'm·kind·of·lost·in·--                                25·
                                                                 ·processing,·gathering·data,·things·of·that·nature.


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                                                          25                                                             27
·1·
  · · ··Q.· ·And how about as the -- as an inflight            ·1·
                                                                 ······
                                                                  ·····A.···No.
·2·
  ·supervisor?                                                 ·2·
                                                                 · · ··Q.· ·Is there -- is -- is there a difference at
·3·
  ······
   ·····A.···Inflight·supervisor,·in·that·moment,·I            ·3·
                                                                 ·Frontier between human resources and employee
·4·
  ·started·to·handle·a·lot·of·the·dependability·piece          ·4·
                                                                 ·relations?
·5·
  ·and·assisted·with·recoding·schedules·related·to·types       ·5·
                                                                 · · · · · ·MS. KITSON:··In what time frame?
·6·
  ·of·absences·that·were·associated·with·a·leave·of            ·6·
                                                                 · · · · · ·MR. CRONE:··Any -- any time frame.
·7·
  ·absence·or·for·a·leave·of·absence.··And·then·also           ·7·
                                                                 · · ··Q.· ·(BY MR. CRONE)··So let -- let's start --
·8·
  ·maintained·a·lot·of·the·previous·role·and                   ·8·
                                                                 ·let's start right now, currently.
·9·
  ·responsibilities·from·the·admin·piece.··So·it's·kind        ·9·
                                                                 · · · · · ·MS. KITSON:··I'm going to object that
10·
  ·of·a·merge.                                                 10·
                                                                 ·that's outside the scope.··I'm going to limit the
11·
  · · ··Q.· ·And who -- and who -- as the inflight             11·
                                                                 ·witness to what the Court has ordered and what we've
12·
  ·supervisor, who are you supervising?                        12·
                                                                 ·agreed to, which is the late 2011 to 2015 time frame.
13·
  ······
   ·····A.···I·did·not·have·any·direct·reports.··It·was        13·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Then between -- and --
14·
  ·more·supervising·the·process.                               14·
                                                                 ·and -- and your lawyer -- your lawyer's correct.··So
15·
  · · ··Q.· ·And who -- who is in the process?··I guess,       15·
                                                                 ·between November 14, 2011, and November 14, 2015, is
16·
  ·what -- what employees are wrapped up in that               16·
                                                                 ·there any difference between human resources and
17·
  ·process?                                                    17·
                                                                 ·employee relations at Frontier?
18·
  ······
   ·····A.···The·process·would·be·anybody·who·filed·for        18·
                                                                 · · · · · ·In other words, are they different
19·
  ·a·leave·of·absence·deemed·by·the·leave-of-absence           19·
                                                                 ·departments?··Are they -- are they in the same
20·
  ·department.··I·would·assist·with·them·in·terms·of           20·
                                                                 ·department?··Job titles?··What -- what's the
21·
  ·their·coding·schedules·and·what·helped·them·return·to       21·
                                                                 ·difference, if any?
22·
  ·work·by·giving·them·guidance,·what·they·needed·to·do        22·
                                                                 ······
                                                                  ·····A.···Employee·relations·is·--·it's·within·the·HR
23·
  ·to·be·back·online,·meaning,·if·there·was·requirements       23·
                                                                 ·department.··It's·a·division·of·the·HR·department.
24·
  ·that·they·needed·to·complete,·any·training·that·they        24·
                                                                 · · ··Q.· ·Earlier, before the deposition started, I
25·
  ·needed·to·complete,·I·would·be·the·--·more·of·the           25·
                                                                 ·had distributed Exhibit 1.··Can you -- can you pull

                                                          26                                                             28
·1·
  ·person·disseminating·that·information.                      ·1·
                                                                 ·that up for me?
·2·
  · · ··Q.· ·And are these all, you know -- when you're        ·2·
                                                                 · · · · · ·MS. KITSON:··Are you talking to us or the
·3·
  ·the inflight supervisor, is it -- is it -- is it all        ·3·
                                                                 ·court reporter?
·4·
  ·flight attendants that are -- that are in this              ·4·
                                                                 · · · · · ·MR. CRONE:··I'm asking the witness.
·5·
  ·process or anybody else?                                    ·5·
                                                                 · · · · · ·THE WITNESS:··Oh, I haven't seen anything.
·6·
  ······
   ·····A.···No,·just·flight·attendants.                       ·6·
                                                                 · · · · · ·MR. CRONE:··Oh --
·7·
  · · ··Q.· ·Okay.··And when you were at Fresenius and         ·7·
                                                                 · · · · · ·MS. KITSON:··Yeah, I don't think we got any
·8·
  ·you were the employee relations manager there, what         ·8·
                                                                 ·exhibits.
·9·
  ·were your -- what were your primary duties at that          ·9·
                                                                 · · ··Q.· ·(BY MR. CRONE)··All right.··Let's try this
10·
  ·position?                                                   10·
                                                                 ·again.··Give me just one second.··It takes a second
11·
  ······
   ·····A.···Basically,·provided·support·to·everybody,         11·
                                                                 ·to attach the -- the file.
12·
  ·what·they·deemed·in·the·western·division,·and·HR            12·
                                                                 · · · · · ·How about now?··So if you open your chat,
13·
  ·support·in·terms·of·employee·relations·specific.            13·
                                                                 ·and Exhibit 1 should have -- should have popped up
14·
  ···········
   ··········So·I·had·Colorado,·New·Mexico,·Utah,              14·
                                                                 ·that you can open.
15·
  ·Wyoming·as·part·of·my·responsibilities.··So·every           15·
                                                                 ······
                                                                  ·····A.···Okay.
16·
  ·clinic·within·those·states,·basically·I·was·their·HR        16·
                                                                 · · · · · ·MS. KITSON:··I want to be looking at this
17·
  ·point·of·contact·on·all·issues.                             17·
                                                                 ·together.
18·
  · · ··Q.· ·And how about when you were the manager of        18·
                                                                 ······
                                                                  ·····A.···It·has·to·be·downloaded.

19·
  ·talent acquisition at JetBlue?··What were your              19·
                                                                 · · ··Q.· ·(BY MR. CRONE)··I think this will be a good

20·
  ·primary duties there?                                       20·
                                                                 ·test for whether we want to -- I think this is how we

21·
  ······
   ·····A.···I·ran·their·pilot·recruitment·programs            21·
                                                                 ·have to do the exhibits, so if it's a little -- it's

22·
  ·there.                                                      22·
                                                                 ·a little cumbersome, I apologize, but were you able

23·
  · · ··Q.· ·Are you a pilot?                                  23·
                                                                 ·to open it?

24·
  ······
   ·····A.···No.                                               24·
                                                                 ······
                                                                  ·····A.···No,·not·yet.··It's·still·--

25·
  · · ··Q.· ·Have you ever been a flight attendant?            25·
                                                                 · · ··Q.· ·Okay.


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                                                          29                                                             31
·1·
  ······
   ·····A.···Save·it.··Okay.                                   ·1·
                                                                 ·them·were·employee·relation·conferences.··Some·were
·2·
  · · ··Q.· ·Okay.··Have you -- have you seen this             ·2·
                                                                 ·FMLA-specific.··Yeah.
·3·
  ·document before?                                            ·3·
                                                                 · · ··Q.· ·Any of them discuss the ADA?
·4·
  ······
   ·····A.···One·second.                                       ·4·
                                                                 ······
                                                                  ·····A.···Yes.
·5·
  · · ··Q.· ·Yeah, feel -- feel free to scroll through         ·5·
                                                                 · · ··Q.· ·Do you -- do you attend any trainings
·6·
  ·it.                                                         ·6·
                                                                 ·related to compliance with the ADA that are put on
·7·
  ······
   ·····A.···I've·seen·it,·yes.                                ·7·
                                                                 ·by Frontier, like any internal in-house type of
·8·
  · · ··Q.· ·Okay.··And so at page 2 through the end of        ·8·
                                                                 ·trainings?
·9·
  ·the document, there's a -- a list of topics that            ·9·
                                                                 ······
                                                                  ·····A.···No.
10·
  ·Ms. Brigham had asked you to prepare to testify on          10·
                                                                 · · ··Q.· ·What about related to anti-discrimination
11·
  ·today.··Have you reviewed that list of topics?              11·
                                                                 ·laws more generally, whether it has to do with race
12·
  ······
   ·····A.···Yes.                                              12·
                                                                 ·or gender or -- or anything like that?
13·
  · · ··Q.· ·And are you prepared to testify on all            13·
                                                                 ······
                                                                  ·····A.···And·when·you·say·in·training,·conducted·by
14·
  ·of those topics with -- with the -- the -- the              14·
                                                                 ·the·company·or·.·.·.
15·
  ·understanding that any question that calls for a time       15·
                                                                 · · ··Q.· ·Yeah.··So -- so let's -- yeah, let's --
16·
  ·period is actually only referring to the end of 2011        16·
                                                                 ·let's narrow that down.··Either -- either conducted
17·
  ·through the end of 2015?                                    17·
                                                                 ·by the company or perhaps the company hires a third
18·
  ······
   ·····A.···Okay.                                             18·
                                                                 ·party to do it.
19·
  · · ··Q.· ·And so -- and so you are prepared to              19·
                                                                 ······
                                                                  ·····A.···No.··I·mean,·right·now·I·do·conduct·the
20·
  ·testify on all of those topics today?                       20·
                                                                 ·discrimination·harassment·training·for·all·new
21·
  ······
   ·····A.···Yes.                                              21·
                                                                 ·employee·orientation.··I·handle·that·on·my·site·for
22·
  · · ··Q.· ·And what I'd like to do now is -- well,           22·
                                                                 ·pilot·hiring.··I·do·that·on·a·regular·basis·up·until
23·
  ·actually, let's go through a few more things, and           23·
                                                                 ·recently,·every·month.··But·in·terms·of·participating
24·
  ·then -- and then we'll take a short break so I can          24·
                                                                 ·in·the·training,·not·recently.
25·
  ·review the folder that was submitted today.                 25·
                                                                 · · ··Q.· ·Okay.··Has -- has -- has Frontier ever put

                                                          30                                                             32
·1·
  ······
   ·····A.···Okay.                                             ·1·
                                                                 ·on a training or hired a third party to put on a
·2·
  · · ··Q.· ·I think that will be a bit more efficient         ·2·
                                                                 ·training related to anti-discrimination laws in the
·3·
  ·use of time.··So let's -- let's -- let's wrap up some       ·3·
                                                                 ·workplace ever, in your recollection?
·4·
  ·information on your background.                             ·4·
                                                                 · · · · · ·MS. KITSON:··And, again, I'll limit that
·5·
  · · · · · ·What -- what's your educational background?       ·5·
                                                                 ·time frame to 2011 to 2015.
·6·
  ······
   ·····A.···In·what·form?                                     ·6·
                                                                 · · ··Q.· ·(BY MR. CRONE)··So, again, with that time
·7·
  · · ··Q.· ·Do you have any college or postgraduate           ·7·
                                                                 ·frame in mind, has it ever occurred, to your
·8·
  ·degrees?                                                    ·8·
                                                                 ·recollection?
·9·
  ······
   ·····A.···Yes.··I've·got·two·degrees·from·New·Mexico        ·9·
                                                                 ······
                                                                  ·····A.···I·don't·recall·at·this·point.··I·know·there
10·
  ·State·University.                                           10·
                                                                 ·was·training;·I·just·don't·know·if·it·was·in·that
11·
  · · ··Q.· ·And -- and what are those degrees?                11·
                                                                 ·time·period,·no.··Very·possible,·though.
12·
  ······
   ·····A.···One·is·hotel·management,·bachelor's·in            12·
                                                                 · · ··Q.· ·All right.
13·
  ·hotel·management,·and·bachelor's·in·Spanish.                13·
                                                                 · · · · · ·MR. CRONE:··Okay.··Mr. Arellano, I want
14·
  · · ··Q.· ·Do you have any additional certificates or        14·
                                                                 ·to -- I want to take a break.··I -- I typically would
15·
  ·training or any -- anything like that?                      15·
                                                                 ·try to get a little farther down the road, but like I
16·
  ······
   ·····A.···Training·received·at,·like,·conferences,          16·
                                                                 ·had mentioned, I want to get through that folder of
17·
  ·things·of·that·nature,·yeah.··Web·training,·yeah.           17·
                                                                 ·documents just to try to be efficient with -- with
18·
  · · ··Q.· ·Are any of -- any of those trainings that         18·
                                                                 ·our time and make sure I'm not repeating documents
19·
  ·you've done through conferences, whether in person or       19·
                                                                 ·and such as -- as we go down the road.
20·
  ·online -- are any of them related to the work that          20·
                                                                 · · · · · ·MR. CRONE:··So, Danielle and company, if --
21·
  ·you do now with Frontier?                                   21·
                                                                 ·if you don't mind if we go off the record for -- for
22·
  ······
   ·····A.···Yes,·the·majority·of·them·are.                    22·
                                                                 ·about 15 minutes.
23·
  · · ··Q.· ·Okay.··Can you -- can you recall what types       23·
                                                                 · · · · · ·MS. KITSON:··Sure.··Sounds good.
24·
  ·of trainings you've attended?                               24·
                                                                 · · · · · ·MR. CRONE:··Yeah.··If we reconvened at
25·
  ······
   ·····A.···A·lot·of·them·were·employee·law.··A·lot·of        25·
                                                                 ·9:50, I think that would be perfect.


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                                                          33                                                             35
·1·
  · · · · · ·MS. KITSON:··Sounds good.··Will do.               ·1·
                                                                 ·take them out.··I -- I -- I hoped -- I was just going
·2·
  · · · · · ·MR. CRONE:··Thank you.                            ·2·
                                                                 ·to mark the entire binder and then go through it that
·3·
  · · · · · ·THE WITNESS:··Thank you.                          ·3·
                                                                 ·way --
·4·
  · · · · · ·THE VIDEOGRAPHER:··The time now is                ·4·
                                                                 · · · · · ·MS. KITSON:··Okay.
·5·
  ·9:34 a.m.··We're off the record.                            ·5·
                                                                 · · · · · ·MR. CRONE:··-- but I think, with the two
·6·
  · · · · · ·(Recess from 9:34 a.m. to 9:50 a.m.)              ·6·
                                                                 ·different versions, it's easier to just sort of pull
·7·
  · · · · · ·THE VIDEOGRAPHER:··The time now is                ·7·
                                                                 ·these out.··So I think -- once we get through this
·8·
  ·9:50 a.m.··We're back on the record.                        ·8·
                                                                 ·stuff, I think it will be --
·9·
  · · ··Q.· ·(BY MR. CRONE)··Mr. Arellano, do you go by        ·9·
                                                                 · · · · · ·MS. KITSON:··Easier?
10·
  ·Jerry as a first name?                                      10·
                                                                 · · · · · ·MR. CRONE:··-- a bit easier, yeah.
11·
  ······
   ·····A.···Yes.                                              11·
                                                                 · · · · · ·MS. KITSON:··And, actually, I have the
12·
  · · ··Q.· ·Okay.··But your full name is Gerardo?             12·
                                                                 ·entire binder on my hard drive, too, so if we're
13·
  ······
   ·····A.···Correct.                                          13·
                                                                 ·referring to tabs, I can pull that up.
14·
  · · ··Q.· ·Okay.··Thank you.                                 14·
                                                                 · · · · · ·MR. CRONE:··Yeah, to the -- yeah, to the
15·
  · · · · · ·Okay.··So I want to -- I want to talk a bit       15·
                                                                 ·extent I can refer to tabs and that makes it easier
16·
  ·about -- or I want to ask you to talk a bit about the       16·
                                                                 ·for us, I'll try to.··But if it's in the other
17·
  ·organizational structure of Frontier Airlines as it         17·
                                                                 ·folder, it might be just Bates numbers, so . . .
18·
  ·relates to Plaintiff Rebecca Brigham.                       18·
                                                                 ······
                                                                  ·····A.···So·I·have·it·up.
19·
  ······
   ·····A.···Okay.                                             19·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Okay.··Thanks.
20·
  · · ··Q.· ·So I want to put a document in front of           20·
                                                                 · · · · · ·Okay.··So is this -- so have you seen this
21·
  ·you.··This will be Exhibit 2.··Let's see if we can          21·
                                                                 ·document before?
22·
  ·make this work a little easier this time.                   22·
                                                                 ······
                                                                  ·····A.···Yes.
23·
  · · · · · ·Okay.··So that -- I assume the noise I            23·
                                                                 · · ··Q.· ·And this is a document you relied upon in
24·
  ·heard is Exhibit 2 coming to you.                           24·
                                                                 ·preparing for today's deposition?
25·
  ······
   ·····A.···Yeah.                                             25·
                                                                 ······
                                                                  ·····A.···Yes.

                                                          34                                                             36
·1·
  · · ··Q.· ·And I know -- yeah, I know you'll take a          ·1·
                                                                 · · ··Q.· ·Okay.··So I was hoping you could walk me
·2·
  ·minute to pull it up.··Once you have it pulled it up,       ·2·
                                                                 ·through this chart, and first I just want to nail
·3·
  ·let me know.                                                ·3·
                                                                 ·down the time period for the chart.
·4·
  ······
   ·····A.···Okay.                                             ·4·
                                                                 · · · · · ·So is this the organization -- organization
·5·
  · · · · · ·MS. KITSON:··Looks like Tab 1 from the            ·5·
                                                                 ·of the company for -- is it just September 2015, or
·6·
  ·binder.··Is that --                                         ·6·
                                                                 ·is it the whole year?··Is that when the document was
·7·
  · · · · · ·MR. CRONE:··That's correct.··Yep.                 ·7·
                                                                 ·revised, or sort of how does that work?
·8·
  ······
   ·····A.···Okay.                                             ·8·
                                                                 ······
                                                                  ·····A.···I'm·just·going·to·look·through·it·real
·9·
  · · ··Q.· ·(BY MR. CRONE)··Okay.··So Exhibit 2 is            ·9·
                                                                 ·quickly.
10·
  ·labeled Frontier Organizational Chart September 2015.       10·
                                                                 · · ··Q.· ·Oh, yeah, yeah.··Please do.
11·
  ·Is this -- have you seen this document before?              11·
                                                                 ······
                                                                  ·····A.···I·believe·that·--·to·my·understanding,·that
12·
  ······
   ·····A.···Give·me·a·second.··Let·me·--·let·me·open·it       12·
                                                                 ·was·the·org·chart·at·September·2015.
13·
  ·up.                                                         13·
                                                                 · · ··Q.· ·Okay.
14·
  · · ··Q.· ·Yeah, please do.··Yeah.                           14·
                                                                 ······
                                                                  ·····A.···For·that·period,·yeah.
15·
  ······
   ·····A.···Okay.                                             15·
                                                                 · · ··Q.· ·Okay.··And if you look at the first page of
16·
  · · · · · ·MS. KITSON:··And, John, if there's any            16·
                                                                 ·it -- or not the first page -- sorry -- the second
17·
  ·way -- I don't know if Evan can e-mail those exhibits       17·
                                                                 ·page where it has Barry Biff [sic] at the top -- I
18·
  ·to me.··I can probably pull those up for Mr. Arellano       18·
                                                                 ·don't know if I'm pronouncing that right, but is --
19·
  ·faster than it's taking to download, if that makes          19·
                                                                 ······
                                                                  ·····A.···Yeah.
20·
  ·sense.                                                      20·
                                                                 · · ··Q.· ·-- is -- is Mr. Biff the president of
21·
  · · · · · ·MR. CRONE:··Yeah.··Once -- once we get            21·
                                                                 ·Frontier, or is this, like, some Denver division?
22·
  ·through the binder ones, I think we can make that           22·
                                                                 ······
                                                                  ·····A.···No,·he's·the·president·of·Frontier.
23·
  ·work.··But for now --                                       23·
                                                                 · · ··Q.· ·Okay.··So then as we work down that chart
24·
  · · · · · ·MS. KITSON:··Okay.                                24·
                                                                 ·page by page, where are you in this chart?
25·
  · · · · · ·MR. CRONE:··-- I'm kind of having to just         25·
                                                                 ······
                                                                  ·····A.···On·page·1·where·it·shows·Barry·Biffle?


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                                                          37                                                             39
·1·
  · · ··Q.· ·Yeah.··Oh, "Biffle."··Thank you.··Sorry.          ·1·
                                                                 ·Stephanie Coppedge, et cetera, on that line
·2·
  ······
   ·····A.···In·that·time·frame,·September·2015,·I·would       ·2·
                                                                 ·directly above Plaintiff's box --
·3·
  ·be·under·Jackie·Peter.                                      ·3·
                                                                 ······
                                                                  ·····A.···Uh-huh.
·4·
  · · ··Q.· ·Okay.··And then where would I -- where --         ·4·
                                                                 · · ··Q.· ·-- what are their -- what are their day --
·5·
  ·in 2015 before Ms. Brigham was -- was terminated --         ·5·
                                                                 ·day-to-day duties or their primary duties?··Do you
·6·
  ······
   ·····A.···Uh-huh.                                           ·6·
                                                                 ·know?
·7·
  · · ··Q.· ·-- where would I place her in this chart?         ·7·
                                                                 ······
                                                                  ·····A.···Their·primary·duty·was·to·supervise·or
·8·
  ······
   ·····A.···That·would·place·her·under·--                     ·8·
                                                                 ·oversee·a·group·of·flight·attendants·assigned·to
·9·
  · · ··Q.· ·Is she on page 4?                                 ·9·
                                                                 ·them.··Typically,·that·was·alphabetical·order·at·the
10·
  ······
   ·····A.···Let·me·check.··Should·be·listed·under·the         10·
                                                                 ·time.··And·so·they·managed·all·the·day-to-day·piece
11·
  ·one·that·has·Laura·Rush,·Director·of·Inflight               11·
                                                                 ·specific·to·that·individual·or·to·that·work·group.
12·
  ·Services,·at·the·top.                                       12·
                                                                 · · ··Q.· ·Do they handle the scheduling of flight
13·
  · · ··Q.· ·Got it.··So -- so Ms. Brigham would fall on       13·
                                                                 ·attendants?··Is that part of the day-to-day?
14·
  ·that -- in that square that says "flight attendant"         14·
                                                                 ······
                                                                  ·····A.···No.
15·
  ·at the bottom?                                              15·
                                                                 · · ··Q.· ·Okay.··Who -- who handles that?
16·
  ······
   ·····A.···Correct.                                          16·
                                                                 ······
                                                                  ·····A.···That·would·be·our·crew-scheduling
17·
  · · ··Q.· ·Okay.··And 1187, is that how many flight          17·
                                                                 ·department.
18·
  ·attendants that were employed as of the date of this        18·
                                                                 · · ··Q.· ·Is anyone in the -- in the crew-scheduling
19·
  ·org chart?                                                  19·
                                                                 ·department -- or excuse me.··Let me start over.
20·
  ······
   ·····A.···That·is·correct.                                  20·
                                                                 · · · · · ·Was anybody in the crew-scheduling
21·
  · · ··Q.· ·Okay.··Is that just -- how do you -- how do       21·
                                                                 ·department a supervisor of Plaintiff Rebecca Brigham?
22·
  ·you organize the flight attendants?··Are they -- is         22·
                                                                 ······
                                                                  ·····A.···In·--·I·guess·I'm·not·understanding·the·--
23·
  ·that 1187 companywide?··Is that just based out of a         23·
                                                                 · · ··Q.· ·Yeah.··I'm trying -- I'm trying to figure
24·
  ·certain city?··Or how does that work?                       24·
                                                                 ·out -- so I can see that Ms. Brigham's direct
25·
  ······
   ·····A.···That·--·that·is·companywide.                      25·
                                                                 ·supervisor here is Stefanie Coppedge, et cetera, in

                                                          38                                                             40
·1·
  · · ··Q.· ·Okay.··Okay.··And so then -- so then the          ·1·
                                                                 ·that line above her.
·2·
  ·flight attendants that fall into that box of 1187,          ·2·
                                                                 · · · · · ·Where does the crew schedule -- where does
·3·
  ·Ms. Brigham included --                                     ·3·
                                                                 ·the crew-scheduling department fall in?··Are they
·4·
  ······
   ·····A.···Okay.                                             ·4·
                                                                 ·even on this chart, or are they somewhere else?
·5·
  · · ··Q.· ·-- their -- their direct supervisors -- is        ·5·
                                                                 ······
                                                                  ·····A.···They're·somewhere·else.··They·would·be
·6·
  ·that the line above them, Stefanie Coppedge,                ·6·
                                                                 ·under·the·SOC,·systems·operation·control·department.
·7·
  ·et cetera?                                                  ·7·
                                                                 · · ··Q.· ·Okay.··So Ms. Brigham wouldn't have
·8·
  ······
   ·····A.···That·is·correct.                                  ·8·
                                                                 ·reported to anybody in the crew-scheduling
·9·
  · · ··Q.· ·Okay.··And all of those people have titles        ·9·
                                                                 ·department?
10·
  ·that say "Supervisor, Inflight."                            10·
                                                                 ······
                                                                  ·····A.···That·is·correct.
11·
  · · · · · ·Is that the inflight supervisor                   11·
                                                                 · · ··Q.· ·Okay.··And then above the line that
12·
  ·position -- is that the same type of position you           12·
                                                                 ·includes Stefanie Coppedge --
13·
  ·held that you described earlier?                            13·
                                                                 ······
                                                                  ·····A.···Uh-huh.
14·
  ······
   ·····A.···No,·it's·a·little·bit·different.                  14·
                                                                 · · ··Q.· ·-- I see Kari Thompson is the manager of
15·
  · · ··Q.· ·Can you tell me how it's different?               15·
                                                                 ·inflight services?
16·
  ······
   ·····A.···So·the·individuals·listed·here·are                16·
                                                                 ······
                                                                  ·····A.···Correct.
17·
  ·individuals·who·manage·the·day-to-day·operation.            17·
                                                                 · · ··Q.· ·Is that similar to the role you once held,
18·
  ·My·--·so·specifically·when·I·was·supervisor,·I·didn't       18·
                                                                 ·or is that something different too?
19·
  ·oversee·any·flight·attendants.··I·oversaw·the               19·
                                                                 ······
                                                                  ·····A.···No,·mine·was·completely·different.
20·
  ·processes·associated·with·all·the·administrative            20·
                                                                 · · ··Q.· ·Okay.··So what is -- can you describe
21·
  ·pieces·of·the·--·of·the·role.                               21·
                                                                 ·Kari Thompson's role at the time of this org chart,
22·
  ···········
   ··········So·I·had·no·direct·reports,·nor·did·I·have        22·
                                                                 ·what her primary duties are?
23·
  ·oversight·of·any·of·the·flight·attendants.                  23·
                                                                 ······
                                                                  ·····A.···Yeah.··So·she·oversaw·all·of·the
24·
  · · ··Q.· ·Got it.··And -- and so these individuals          24·
                                                                 ·supervisors.··She·--·they·were·the·next·direct·line,
25·
  ·on the -- on the -- on the org chart,                       25·
                                                                 ·so·all·those·people·--·people·listed·there·were·her


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                                                          41                                                             43
·1·
  ·direct·reports.··So·she·not·only·oversaw·the                ·1·
                                                                 ···········
                                                                  ··········In·2014,·probably·Nicholas·might·have·not
·2·
  ·day-to-day,·but·she·was·also·the·point·of·contact           ·2·
                                                                 ·been·in·that·role,·policies·and·procedures.··But·I·--
·3·
  ·from·the·inflight·side·of·the·house·with·AFA,·the           ·3·
                                                                 ·it·might·have·been·different,·definitely.
·4·
  ·union·organization.                                         ·4·
                                                                 · · ··Q.· ·Okay.··What about in 2013?
·5·
  · · ··Q.· ·Okay.                                             ·5·
                                                                 ······
                                                                  ·····A.···2013,·it·was·definitely·different.··When·I
·6·
  ······
   ·····A.···So·if·there·were·grievances,·she·would·sit        ·6·
                                                                 ·became·inflight·manager,·then·the·supervisors,·if·I
·7·
  ·in·on·those·behalf,·as·well·as·representing·the             ·7·
                                                                 ·remember·correctly,·they·were·managers,·not
·8·
  ·organization.                                               ·8·
                                                                 ·supervisors.
·9·
  · · ··Q.· ·Representing Frontier?                            ·9·
                                                                 · · ··Q.· ·Were they -- and so were they -- so the
10·
  ······
   ·····A.···Frontier,·correct.                                10·
                                                                 ·supervisors and -- that are indicated on 2015 -- in
11·
  · · ··Q.· ·And I want to come back and talk about the        11·
                                                                 ·the 2015 chart, in 2013 they were called managers?
12·
  ·grievance process a little bit, but -- but we'll            12·
                                                                 ······
                                                                  ·····A.···It's·hard·for·me·to·say.··I'm·trying·to
13·
  ·circle back to that in just a few minutes just to get       13·
                                                                 ·think,·because·at·one·point,·the·organization·was
14·
  ·through the chart here.                                     14·
                                                                 ·purchased·by·Republic·Airways,·which·would·have·been
15·
  · · · · · ·I -- I don't see that there's a line              15·
                                                                 ·around·2010.
16·
  ·connecting Nicholas Kohlhepp -- if I'm pronouncing          16·
                                                                 ···········
                                                                  ··········A·lot·of·work·functions·from·Denver·or
17·
  ·that right -- or Lara Jacobsen to Ms. Brigham's             17·
                                                                 ·Frontier·Airlines·either·transitioned·to·Indianapolis
18·
  ·square, so she didn't report to either of those two         18·
                                                                 ·under·the·Republic·Airways·umbrella,·so·a·lot·of
19·
  ·individuals, did she?                                       19·
                                                                 ·these·rules·were·not·in·existence·because·they·were
20·
  ······
   ·····A.···That·is·correct.                                  20·
                                                                 ·handled·by·a·different·organization·or·part·of·the,·I
21·
  · · ··Q.· ·Okay.··But then Laura Rush, who's the             21·
                                                                 ·guess,·parent·company·at·that·time.
22·
  ·director of inflight services, ultimately was then          22·
                                                                 ···········
                                                                  ··········So·2013,·I·--·I·don't·know.··I·came·back·in
23·
  ·Ms. Thompson's boss?                                        23·
                                                                 ·2012,·I·believe.
24·
  ······
   ·····A.···Correct.                                          24·
                                                                 · · ··Q.· ·Okay.
25·
  · · ··Q.· ·And then what were Laura Rush's primary           25·
                                                                 ······
                                                                  ·····A.···So,·yeah,·it's·hard·to·say.··It's·hard·to

                                                          42                                                             44
·1·
  ·duties?                                                     ·1·
                                                                 ·say.
·2·
  ······
   ·····A.···Director·of·inflight·services,·so·she             ·2·
                                                                 · · ··Q.· ·When -- you said Republic Airways bought
·3·
  ·oversaw·the·entire·operation·from·an·inflight               ·3·
                                                                 ·Frontier in 2010?
·4·
  ·perspective;·she·also·was·the·point·of·contact              ·4·
                                                                 ······
                                                                  ·····A.···Yeah.
·5·
  ·between·the·department·and·all·the·executive·team;          ·5·
                                                                 · · ··Q.· ·Does Republic Airways still own Frontier?
·6·
  ·and·she·also·was·the·--·oversaw·a·lot·of·the                ·6·
                                                                 ······
                                                                  ·····A.···No.
·7·
  ·discussions,·decisions·associated·with·flight               ·7·
                                                                 · · ··Q.· ·Okay.··How long did Republic Airways own
·8·
  ·attendants·in·general,·work·--·work·procedures,             ·8·
                                                                 ·Frontier?··Do you know?
·9·
  ·operating·procedures,·the·contract,·quote,·the              ·9·
                                                                 ······
                                                                  ·····A.···Not·offhand,·I·don't.
10·
  ·bargaining·agreement.                                       10·
                                                                 · · ··Q.· ·Okay.
11·
  ···········
   ··········Also,·on·the·training·side·of·the·house,·as       11·
                                                                 ······
                                                                  ·····A.···I·would·have·to·refer·to·documents.
12·
  ·you·can·see,·Laura·Jacobson·was·the·manager·of              12·
                                                                 · · ··Q.· ·But -- but I guess we could -- we could
13·
  ·inflight,·so·she·also·oversaw·all·of·the·training           13·
                                                                 ·presume less than ten years?
14·
  ·capabilities,·whether·it·be·initial,·recurrent,·or          14·
                                                                 ······
                                                                  ·····A.···Yes.
15·
  ·ground·school,·things·of·that·nature.                       15·
                                                                 · · ··Q.· ·Yeah?··Okay.
16·
  · · ··Q.· ·Okay.··And thinking about this chart as           16·
                                                                 · · · · · ·Does -- do you know if Republic Airways
17·
  ·we've just discussed it, was it different in 2014?          17·
                                                                 ·ever owned any other airlines?
18·
  ·Were -- were there different -- and so I don't mean         18·
                                                                 ······
                                                                  ·····A.···I·know·there·was·Chautauqua·Airlines.··They
19·
  ·the whole chart, but just this page with the director       19·
                                                                 ·had·Shuttle·America.··Frontier·was·part·of·that.··I
20·
  ·of inflight services on the top down to the flight          20·
                                                                 ·can't·think·of·any·others.
21·
  ·attendants, do you know if that was different at all        21·
                                                                 · · ··Q.· ·When you're -- and when you're talking
22·
  ·for 2014?                                                   22·
                                                                 ·about Frontier was growing and -- and changes were
23·
  ······
   ·····A.···Not·off·the·hand.··I·know·we·were·growing         23·
                                                                 ·occurring in, like, 2012, 2013 and after, is that --
24·
  ·the·organization,·so·things·often·did·change·in             24·
                                                                 ·does that have anything to do with being owned by
25·
  ·reporting·structure·departments.                            25·
                                                                 ·Republic Airways, or do you know?


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                                                          45                                                             47
·1·
  ······
   ·····A.···I·do·not·know,·no.··It·was·outside·of·my          ·1·
                                                                 ·time, too, because I assume people's jobs change over
·2·
  ·wheelhouse.                                                 ·2·
                                                                 ·time, even if only slightly.
·3·
  · · ··Q.· ·Okay.··Was -- was Frontier -- was Frontier        ·3·
                                                                 ······
                                                                  ·····A.···Uh-huh.
·4·
  ·expanding as a company from roughly 2012 forward?           ·4·
                                                                 · · ··Q.· ·And so I was hoping you could -- you could
·5·
  ······
   ·····A.···Yes.                                              ·5·
                                                                 ·explain to me what -- what -- what the primary job
·6·
  · · ··Q.· ·Okay.··And then this -- back to the               ·6·
                                                                 ·duties of a flight attendant were --
·7·
  ·question about how this org chart has changed over          ·7·
                                                                 ······
                                                                  ·····A.···Okay.
·8·
  ·time.··Can you recall if there were differences in          ·8·
                                                                 · · ··Q.· ·-- in -- in roughly the end of 2011 going
·9·
  ·2012 to this chart?                                         ·9·
                                                                 ·into 2012.
10·
  ······
   ·····A.···You·know,·I·honestly·don't·know.                  10·
                                                                 ······
                                                                  ·····A.···Perfect.··Are·you·okay·if·I·refer·to·the
11·
  · · ··Q.· ·Okay.··And then -- and then 2011?                 11·
                                                                 ·job·description?
12·
  ······
   ·····A.···No,·not·--·not·offhand,·no.                       12·
                                                                 · · ··Q.· ·Please do.··Yeah, that's fine.··If you can
13·
  · · ··Q.· ·Okay.··I'm going to put -- try this -- try        13·
                                                                 ·just let me know what page number it is, and then
14·
  ·this again here.··I'm going to put Exhibit 3 in front       14·
                                                                 ·please -- yeah, please do.
15·
  ·of you, and this ought to be -- it ought to be              15·
                                                                 ······
                                                                  ·····A.···Looks·like·it·says·0001863.
16·
  ·quicker to discuss this than it is to put in front of       16·
                                                                 · · ··Q.· ·1863?
17·
  ·you, I hope.                                                17·
                                                                 ······
                                                                  ·····A.···Tab·Number·7.
18·
  · · · · · ·MS. KITSON:··Is it a tab number, John?            18·
                                                                 · · ··Q.· ·Oh, Tab Number 7?
19·
  · · · · · ·MR. CRONE:··No, it's not.··It's -- it's --        19·
                                                                 · · · · · ·MR. CRONE:··Danielle, do you mind throwing
20·
  · · · · · ·MS. KITSON:··Oh, shoot.··Okay.                    20·
                                                                 ·that in here, and we could call that 2-1?
21·
  · · · · · ·MR. CRONE:··Yeah.··But I -- I just have --        21·
                                                                 · · · · · ·MS. KITSON:··So, unfortunately, I have
22·
  ·I just have one quick question.··I -- I just want to        22·
                                                                 ·really low bandwidth on my computer --
23·
  ·make the record clear.                                      23·
                                                                 · · · · · ·MR. CRONE:··Oh.
24·
  · · ··Q.· ·(BY MR. CRONE)··Just let me know when             24·
                                                                 · · · · · ·MS. KITSON:··-- and I've got these on my
25·
  ·you -- you have it pulled up.                               25·
                                                                 ·hard drive.··So -- in fact, I think I've been kicked

                                                          46                                                             48
·1·
  ······
   ·····A.···I·have·it·open,·yeah.                             ·1·
                                                                 ·out of the Zoom meeting because of my low bandwidth.
·2·
  · · ··Q.· ·Great.··Thank you.                                ·2·
                                                                 · · · · · ·MR. CRONE:··No, you're fine.··Hold on.
·3·
  · · · · · ·So -- so have you -- have you seen this           ·3·
                                                                 ·Give me just --
·4·
  ·order before?                                               ·4·
                                                                 · · · · · ·MS. KITSON:··The court -- court reporter
·5·
  ······
   ·····A.···I·don't·believe·I·have.                           ·5·
                                                                 ·has the tabs as well.··I believe they were sent.
·6·
  · · ··Q.· ·Okay.··And I'm -- at the -- at the bottom         ·6·
                                                                 · · · · · ·MR. CRONE:··Okay.··So if we could mark
·7·
  ·of page 1 where it says Ordered, it says Defendant's        ·7·
                                                                 ·Tab 7 as Exhibit 2-1, that would be great.
·8·
  ·witness shall be prepared to testify for the time           ·8·
                                                                 · · ··Q.· ·(BY MR. CRONE)··And then, Mr. Arellano, if
·9·
  ·frame of four years preceding Plaintiff's date of           ·9·
                                                                 ·you want to refer to that to answer the question,
10·
  ·termination.                                                10·
                                                                 ·that would be fantastic.
11·
  · · · · · ·Myself and your lawyers have mentioned a          11·
                                                                 ······
                                                                  ·····A.···Yes.··So·you're·asking·what·the·primary
12·
  ·few times here that you are to testify in this rough        12·
                                                                 ·responsibilities·are?
13·
  ·time period of the end of 2011 to the end of 2015.          13·
                                                                 · · ··Q.· ·Yeah.··For -- for -- for a flight attendant
14·
  ·Does that make sense to you?                                14·
                                                                 ·in 2011.··And just to preview the questions going
15·
  ······
   ·····A.···It·does.··I·do·have·some·documents·here·in        15·
                                                                 ·forward, it will sort of be "and then up through
16·
  ·front·of·me.                                                16·
                                                                 ·2015."··So if -- if it helps you to just explain
17·
  · · ··Q.· ·Okay.··Good.··Okay.··So you can set that          17·
                                                                 ·that, tell me in one shot, that's fine too.
18·
  ·aside.                                                      18·
                                                                 ······
                                                                  ·····A.···Do·you·want·me·to·read·what·it·says·here
19·
  ······
   ·····A.···Okay.                                             19·
                                                                 ·or,·I·guess,·overall·information·about·the·role?
20·
  · · ··Q.· ·Okay.··So I want to -- what I want to do is       20·
                                                                 · · ··Q.· ·Yeah, yeah, overall.··You certainly don't
21·
  ·I want to ask you some questions that focus you in          21·
                                                                 ·need to read the document.··Just what's your
22·
  ·on -- I'm hoping you can explain to me what exactly a       22·
                                                                 ·understanding of -- of what their primary job duties
23·
  ·flight attendant does.                                      23·
                                                                 ·are is fine.
24·
  ······
   ·····A.···Okay.                                             24·
                                                                 ······
                                                                  ·····A.···Okay.··(Inaudible.)
25·
  · · ··Q.· ·And so -- but I want to ground this in            25·
                                                                 · · · · · ·MS. KITSON:··I'm trying to get back on, and


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                                                          49                                                             51
·1·
  ·I'm not able to mute it.··Hold on one second.               ·1·
                                                                 ·As·part·of·their·training,·they·go·through
·2·
  · · · · · ·MR. CRONE:··That's fine.··This is the --          ·2·
                                                                 ·self-defense·training.··They·go·through·how·to
·3·
  ·this is the fun of the new world.                           ·3·
                                                                 ·restrain·a·passenger·in·the·event·of·emergency;
·4·
  · · · · · ·MS. KITSON:··Right.··I've got to get this         ·4·
                                                                 ·what·--·all·the·dos·and·don'ts·should·things·get
·5·
  ·shut down.                                                  ·5·
                                                                 ·escalated.
·6·
  · · · · · ·MR. CRONE:··No problem.                           ·6·
                                                                 ···········
                                                                  ··········They·also·need·to·know·how·to·unarm·an
·7·
  · · · · · ·MS. KITSON:··It's not letting me do it.           ·7·
                                                                 ·individual·if·they're·trying·to·create·harm·on·any
·8·
  · · · · · ·Let's try having you mute.                        ·8·
                                                                 ·passenger.··They·go·through·proper·door·drills,·how
·9·
  · · · · · ·Okay.··Can you hear -- let's see if we can        ·9·
                                                                 ·to·open·up·their·--·the·door,·the·airplane·door,·how
10·
  ·hear you.                                                   10·
                                                                 ·to·not·open·up·the·--·the·door.
11·
  · · · · · ·MR. CRONE:··There's -- there's -- yeah,           11·
                                                                 ···········
                                                                  ··········Obviously,·the·beverage·cart,·what·is
12·
  ·there's still an echo.                                      12·
                                                                 ·stowed·where.··At·that·time,·we·did·have·coffee·pots
13·
  · · · · · ·THE WITNESS:··Yeah, I'm good to go.               13·
                                                                 ·on·the·aircraft.··They·knew·how·to·make·the·coffee.
14·
  · · · · · ·MS. KITSON:··Okay.··You unmute.··Are you          14·
                                                                 ·Outside·of·that,·how·to·defend·themselves·with·the
15·
  ·unmuted?                                                    15·
                                                                 ·proper·equipment,·coffee,·hot·liquids,·things·of·that
16·
  · · · · · ·THE WITNESS:··I'm unmuted, yeah.                  16·
                                                                 ·nature.
17·
  · · · · · ·MS. KITSON:··Okay.··Can you guys hear him?        17·
                                                                 ···········
                                                                  ··········They·were·also·informed·of·how·to·maintain
18·
  · · · · · ·MR. CRONE:··Yeah.                                 18·
                                                                 ·and·unlatch·the·bathroom·doors,·what·happens,·how·to
19·
  · · · · · ·THE WITNESS:··Can you hear me?                    19·
                                                                 ·unlock.··Emergency·procedures·as·well.
20·
  · · · · · ·MR. CRONE:··Yeah, and -- and -- and with no       20·
                                                                 ···········
                                                                  ··········Also·informed·in·the·event·of·evacuation·--
21·
  ·echo, so . . .                                              21·
                                                                 ·evacuation;·how·to·evacuate·the·aircraft,·how·to
22·
  · · ··Q.· ·(BY MR. CRONE)··If you can recall what you        22·
                                                                 ·deploy·the·slide·from·the·aircraft.··Let's·see.··How
23·
  ·were about to discuss, feel free.··If you need me to        23·
                                                                 ·to·stow·luggage·up·to·how·to·stow·the·beverage·cart.
24·
  ·repeat it, that's fine.                                     24·
                                                                 ···········
                                                                  ··········So·that's·kind·of·a·summary·piece·of·that
25·
  ······
   ·····A.···Ultimately,·the·role·of·the·flight                25·
                                                                 ·from·a·safety·perspective.

                                                          50                                                             52
·1·
  ·attendant·is·not·only·a·safety·professional,·but            ·1·
                                                                 · · ··Q.· ·Are there no more -- is there -- are there
·2·
  ·they're·there·to·make·sure·the·passenger·experience         ·2·
                                                                 ·no more coffee pots due to COVID?
·3·
  ·is·a·positive·one·from·every·aspect·of·serving·drinks       ·3·
                                                                 ······
                                                                  ·····A.···It's·a·different·type·of·--·I·haven't·been
·4·
  ·and·sharing·--·safety·is·obviously·the·most                 ·4·
                                                                 ·on·an·aircraft·recently,·but·I·know·they·removed
·5·
  ·important.                                                  ·5·
                                                                 ·the·--·in·terms·of·weight,·the·coffee·pots·actually
·6·
  ···········
   ··········Ensuring·everything·goes·smooth·from              ·6·
                                                                 ·are·extremely·heavy.··But·it·--·it's·a·little·bit
·7·
  ·beginning·to·end·in·the·cabin·and·everything·in             ·7·
                                                                 ·different·now.··But·yeah.
·8·
  ·between.··Serving·drinks,·being·mindful,·making·aware       ·8·
                                                                 · · ··Q.· ·So it's not a pandemic-related thing; it's
·9·
  ·of·any·situation·that·might·be·ongoing·on·the               ·9·
                                                                 ·a --
10·
  ·aircraft.                                                   10·
                                                                 ······
                                                                  ·····A.···No.
11·
  ···········
   ··········So·there's·a·lot·of·components·to·the·role        11·
                                                                 · · ··Q.· ·Okay.··And so what about intoxicated
12·
  ·of·the·flight·attendant·versus·just·having·a·beverage       12·
                                                                 ·passengers?··Are they trained to deal with those?
13·
  ·cart·pushing·up·and·down·the·aisle.                         13·
                                                                 ······
                                                                  ·····A.···Yes.
14·
  · · ··Q.· ·As far as the safety component is                 14·
                                                                 · · ··Q.· ·Is there any component to that training
15·
  ·concerned --                                                15·
                                                                 ·that trains them on how to identify whether
16·
  ······
   ·····A.···Yeah.                                             16·
                                                                 ·somebody's under the influence of alcohol or drugs?
17·
  · · ··Q.· ·-- can you break that down for me?··Can you       17·
                                                                 ······
                                                                  ·····A.···Definitely.
18·
  ·explain to me exactly what a flight attendant does to       18·
                                                                 · · ··Q.· ·Okay.··And then the other sort of broad
19·
  ·ensure the passengers are safe?                             19·
                                                                 ·component that you mentioned which is related to the
20·
  ······
   ·····A.···Perfect.··Upon·boarding,·to·make·sure·that        20·
                                                                 ·passenger experience, which, you mentioned, is -- is
21·
  ·everybody's·assigned·to·their·specific·seats.··A·lot        21·
                                                                 ·serving drinks and being mindful of the passengers --
22·
  ·of·that·is·determined·based·on·the·manifest,·and·it's       22·
                                                                 ·are there -- is there anything else going on there?
23·
  ·important·that·passengers·seat·--·are·seated·in·their       23·
                                                                 ·Can you -- can you flush that out for me?
24·
  ·proper·seats·for·that·specific·reason.                      24·
                                                                 ······
                                                                  ·····A.···Say·that·again?··I'm·sorry.
25·
  ···········
   ··········Flight·attendants·do·undergo·a·training.          25·
                                                                 · · ··Q.· ·That's fine.··The -- the passenger


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                                                          53                                                             55
·1·
  ·experience, so -- so not thinking about the safety          ·1·
                                                                 · · ··Q.· ·What about -- what about the -- the actual
·2·
  ·component, which you just outlined really well for          ·2·
                                                                 ·day-to-day schedule?··So setting aside what flight
·3·
  ·me --                                                       ·3·
                                                                 ·attendants do, what their duties actually are,
·4·
  ······
   ·····A.···Uh-huh.                                           ·4·
                                                                 ·what -- what's a day look like?··When do they start?
·5·
  · · ··Q.· ·-- on the passenger experience side, is           ·5·
                                                                 ·Where do they go?··How does the day end?··Can you
·6·
  ·there more to it there?··Can you -- can you outline         ·6·
                                                                 ·walk me through that, if that makes sense.
·7·
  ·that a bit or break it down a bit for me?                   ·7·
                                                                 ······
                                                                  ·····A.···That's·a·big·question.··I·guess·there's·so
·8·
  ······
   ·····A.···Yeah,·just·making·sure·their·experience·is        ·8·
                                                                 ·many·components·to·that.··So·are·you·looking·at·what
·9·
  ·a·positive·one,·from·either·--·A,·if·they·have              ·9·
                                                                 ·is·the·day·in·the·life·of·a·flight·attendant,·or·what
10·
  ·questions,·if·they're·wanting·additional·food·items         10·
                                                                 ·is·their·schedule·specifically?
11·
  ·or·--·or·snacks,·things·of·that·nature.                     11·
                                                                 · · ··Q.· ·Yeah, I'm looking for a day in the life as
12·
  ···········
   ··········A·lot·of·times·--·there·may·be·a·baby             12·
                                                                 ·related to their schedule.··I think -- I think the
13·
  ·crying·onboard.··There·--·sometimes·they·go·and·try         13·
                                                                 ·way to make this easier to look at is let's think
14·
  ·and·assist·with·that·to·make·the·experience·for             14·
                                                                 ·about, were you familiar, between 2011 and 2015, with
15·
  ·everybody·a·very·positive·one.                              15·
                                                                 ·Rebecca Brigham personally?
16·
  ···········
   ··········So·in·terms·of·the·passenger·experience,          16·
                                                                 ······
                                                                  ·····A.···Yes.··Between·2011·and·'15,·yes.··I·am·--
17·
  ·it's·upmost·because,·at·the·end·of·the·day,·we·want         17·
                                                                 ·the·company·came·back·--·when·I·say·"came·back,"·came
18·
  ·that·returning·customer·to·come·back.                       18·
                                                                 ·back·from·Indianapolis·in·2012,·which·is·when·I

19·
  ···········
   ··········So·if·they·have·a·positive·experience,            19·
                                                                 ·returned,·so·from·2012·forward.

20·
  ·which·is·--·dealt·with·the·flight·attendants,·which         20·
                                                                 · · ··Q.· ·Okay.··And -- and so she was a flight

21·
  ·is·the·first·line·of·--·the·passenger·sees,·it's            21·
                                                                 ·attendant that you knew from the job; is that -- is

22·
  ·important·that·that·experience·be·a·--·positive·from        22·
                                                                 ·that correct?

23·
  ·beginning·to·end.                                           23·
                                                                 ······
                                                                  ·····A.···Right.··Yeah.

24·
  · · ··Q.· ·What about fearful flyers?··Are they              24·
                                                                 · · ··Q.· ·And so thinking about the types of flights

25·
  ·trained to -- to -- to -- to calm or comfort fearful        25·
                                                                 ·that she worked on and the routes that she was

                                                          54                                                             56
·1·
  ·flyers?                                                     ·1·
                                                                 ·scheduled on and that sort of thing, what are -- what
·2·
  ······
   ·····A.···Definitely.··And·I·guess·fearful·can·be           ·2·
                                                                 ·does a day look like for that flight attendant?··What
·3·
  ·in·--·in·all·forms.··For·example,·I'm·not·--·I·don't        ·3·
                                                                 ·time does it start?··Where do they go?··How does it
·4·
  ·like·flying,·but·I·do·it·for·the·role.··And·so·at           ·4·
                                                                 ·end?··That -- that sort thing.
·5·
  ·times,·they·either·engage·in·conversation,·trying·to        ·5·
                                                                 ······
                                                                  ·····A.···And·it's·hard·to·answer·that·question
·6·
  ·just·calm·the·anxiety·down.··So·it·depends·on·fearful       ·6·
                                                                 ·because·everybody·had·a·different·--·a·flight
·7·
  ·in·what·form.··It·could·be·a·variety·of·forms.              ·7·
                                                                 ·attendant·had·a·different·way·to·bid·a·schedule·based
·8·
  ···········
   ··········So,·yeah,·I·think·they·are·trained·in·that        ·8·
                                                                 ·on·their·preference.
·9·
  ·customer·service·to·make·sure·to·ease·the·anxiety,          ·9·
                                                                 · · ··Q.· ·Okay.
10·
  ·which·I·think·then·leads·to·any·type·of·fear.               10·
                                                                 ······
                                                                  ·····A.···So·every·day·would·be·different·for·each
11·
  · · ··Q.· ·I also dislike flying.··Talking about it          11·
                                                                 ·flight·attendant·based·on·the·type·of·routes·they·bid
12·
  ·right now kind of makes me nervous, to be honest.           12·
                                                                 ·for,·the·type·of·flying·they·bid·for.··So·it's·hard
13·
  · · · · · ·I -- it -- it just -- it strikes me that          13·
                                                                 ·to·say·what·that·would·be,·ideally,·for·every·--·in·a
14·
  ·the position is stressful.··Is it -- is it fair to          14·
                                                                 ·general·purpose.
15·
  ·call it a stressful position?                               15·
                                                                 ···········
                                                                  ··········It·just·depends·on·preferential·treatment
16·
  ······
   ·····A.···The·flight·attendant·role?                        16·
                                                                 ·on·the·individuals·who·bid·and·the·type·of·schedule
17·
  · · ··Q.· ·Yes.                                              17·
                                                                 ·and·the·type·of·flying·they·wanted·to·do:·locations,
18·
  ······
   ·····A.···It·--·it·depends·on·who·you·ask.··I·think·a       18·
                                                                 ·if·they·wanted·day·trips,·if·they·wanted·redeyes,·if
19·
  ·lot·of·people·see·it·a·little·bit·differently.··So·I        19·
                                                                 ·they·wanted·layovers.··It·just·depended·on·the
20·
  ·don't·know·if·it·would·be·--·I·--·I·don't·--·I·don't        20·
                                                                 ·individual.··It's·all·completely·different.··It's
21·
  ·think·it's·a·stressful·role,·but·it·depends,·again,·I       21·
                                                                 ·hard·to·answer·that·question.
22·
  ·would·say,·on·who·you·ask.                                  22·
                                                                 · · ··Q.· ·Yeah, and that's actually very helpful.
23·
  · · ··Q.· ·Is it fair to say whether it's stressful or       23·
                                                                 ·And so -- so the -- so the flight attendants are able
24·
  ·not is subjective?                                          24·
                                                                 ·to bid on certain types of trips that they want to
25·
  ······
   ·····A.···Yeah.                                             25·
                                                                 ·work on?


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                                                          57                                                             59
·1·
  ······
   ·····A.···Yes.                                              ·1·
                                                                 ·and·what·they·can·hold,·and·in·that·moment.··Some
·2·
  · · ··Q.· ·Okay.··How does that -- how does that             ·2·
                                                                 ·people·wanted·holidays·off,·so·they·would·bid·their
·3·
  ·bidding process work?                                       ·3·
                                                                 ·schedules·accordingly.··If·there·was·some·time·that
·4·
  ······
   ·····A.···They·go·through·--·which·I·believe·the            ·4·
                                                                 ·they·were·going·on·vacation,·they·would·bid·their
·5·
  ·scene·is·they·submit·their·bid·through·--·I·believe         ·5·
                                                                 ·schedule·accordingly.··So·it·would·always·constantly
·6·
  ·at·that·time·it·would·have·been·--·Sabre·is·the             ·6·
                                                                 ·change.
·7·
  ·overall·software.                                           ·7·
                                                                 · · ··Q.· ·So is one of the -- the perks of becoming a
·8·
  ···········
   ··········They·submit·their·bid·there.··It·goes             ·8·
                                                                 ·more senior flight attendant having more control over
·9·
  ·through·--·and,·again,·there's·so·many·preferences·as       ·9·
                                                                 ·your schedule?
10·
  ·to·how·they're·able·to·bid·their·schedule.··"If·this,       10·
                                                                 ······
                                                                  ·····A.···Definitely·leads·to·quality·of·life.
11·
  ·then·that"·is·kind·of·the·process,·and·the·networking       11·
                                                                 · · ··Q.· ·Yeah.··Do flight attendants ever perform
12·
  ·part·of·that.                                               12·
                                                                 ·duties at the headquarters or what was called the GO?
13·
  ···········
   ··········And·so·when·they·submit·the·bid,·they·--          13·
                                                                 ·Or are all of their duties performed inflight?
14·
  ·essentially·they're·submitting·their·preferences.           14·
                                                                 ······
                                                                  ·····A.···In·what·--·what·form?··I·guess·if·you·can
15·
  ·And·it·can·come·down·to·I·don't·want·to·work·this           15·
                                                                 ·elaborate.
16·
  ·type·of·trip;·I·don't·want·to·work·into·these·cities;       16·
                                                                 · · ··Q.· ·Yeah, sure.··So -- so the -- the primary
17·
  ·I·do·want·to·work·these·cities;·I'd·rather·not·do·day       17·
                                                                 ·job duties that you've described for me of a flight
18·
  ·trips,·layovers,·redeyes;·I'd·rather·only·do·two            18·
                                                                 ·attendant during the time period, I imagine all of
19·
  ·days,·not·three·days.                                       19·
                                                                 ·that happening on the plane or at the gate, you know,
20·
  ···········
   ··········So·there's·so·many·preferences·that·they're       20·
                                                                 ·sort of inflight or -- or on the way to go fly.··Is
21·
  ·able·to·do·that,·and·those·preferences·are·large.           21·
                                                                 ·that -- is that fair, my assumption?
22·
  ···········
   ··········Once·they·submit·their·bid,·as·we·call·it,        22·
                                                                 ······
                                                                  ·····A.···No,·because·there's·also·the·training
23·
  ·then·it·goes·through·--·and,·again,·it's·all·a              23·
                                                                 ·component.
24·
  ·seniority-based·system.··The·system·is·then·kind·of         24·
                                                                 · · ··Q.· ·Oh, okay.
25·
  ·calculated·based·on·seniority·based·on·that·bid·to          25·
                                                                 ······
                                                                  ·····A.···So·they·would·have·to·go·do·training,

                                                          58                                                             60
·1·
  ·see·who·can·hold·that·particular·trip.                      ·1·
                                                                 ·recurrent·training,·ground·school,·train·--·if·there
·2·
  · · ··Q.· ·Okay.                                             ·2·
                                                                 ·was·a·new·policy·being·rolled·out·or·something·that
·3·
  ······
   ·····A.···And·then·at·the·end·of·the·day,·it·spits          ·3·
                                                                 ·the·flight·attendants·--·say,·for·example,·that
·4·
  ·out·everybody's·--·sorry·--·it·kind·of·displays             ·4·
                                                                 ·they're·changing·the·beverage·service·or·a·new
·5·
  ·everybody's·schedule,·keeping·in·mind·all·those·rules       ·5·
                                                                 ·product·being·rolled·out.··They·would·have·to·go
·6·
  ·and·regulations·associated·with·the·collective              ·6·
                                                                 ·through·that·training,·which·would·be·off·the
·7·
  ·bargaining·agreement.                                       ·7·
                                                                 ·aircraft.
·8·
  · · ··Q.· ·So through that process, are there any            ·8·
                                                                 · · ··Q.· ·And what's the -- would -- would that occur
·9·
  ·flight attendants -- and, again, limited by the time        ·9·
                                                                 ·at the -- at what was the GO or headquarters now?
10·
  ·period end of 2011 to end of 2015 -- were there any         10·
                                                                 ······
                                                                  ·····A.···At·that·time,·yes,·that's·where·we·actually
11·
  ·flight attendants that were able to obtain a                11·
                                                                 ·had·all·of·the·training.··Recurrent·training·was·also
12·
  ·relatively set schedule, you know, every -- every --        12·
                                                                 ·there.
13·
  ·roughly every week they'd get the same trips, or was        13·
                                                                 · · ··Q.· ·And what is flight school?
14·
  ·it just always different all the time?                      14·
                                                                 ······
                                                                  ·····A.···Flight·school·is·anybody·--·any·flight
15·
  ······
   ·····A.···It·would·depend·--·that's·also·a·difficult        15·
                                                                 ·attendant·coming·on·board,·they·go·through·--·at·that
16·
  ·question·to·answer·because·it·depends·on·that·type·of       16·
                                                                 ·time·--·the·training·has·since·revolved.··I·think·it
17·
  ·month.··If·--·it·depends·on·our·seasons,·if·it's·a          17·
                                                                 ·was·six·weeks·that·they·would·have·to·go·through
18·
  ·busy·season,·if·it's·summer,·if·it's·a·holiday              18·
                                                                 ·training.··And·in·that,·they·covered·everything·that
19·
  ·season.                                                     19·
                                                                 ·they·needed·to·know.
20·
  ···········
   ··········But·if·you·were·a·very,·very·senior·flight        20·
                                                                 ···········
                                                                  ··········They·reviewed·the·collective·bargaining
21·
  ·attendant,·obviously·they·get·the·first·pick·of             21·
                                                                 ·agreement·with·them·as·well.··The·training·manual,
22·
  ·everything·that's·out·there.··So·if·that·individual         22·
                                                                 ·basically,·is·everything·that·the·flight·attendant
23·
  ·always·bid·a·certain·trip,·it·would·be·very·likely          23·
                                                                 ·needs·to·know·before·they're·actually·released·to
24·
  ·that·they·would·have·a·set·schedule.                        24·
                                                                 ·line.
25·
  ···········
   ··········But,·again,·it's·all·based·on·preference          25·
                                                                 ···········
                                                                  ··········They·would·go·through·self-defense


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                                                          61                                                             63
·1·
  ·training.··They·would·go·through·beverage·cart              ·1·
                                                                 ·anybody in the labor department on the -- on the org
·2·
  ·training·service.··Rules·and·regulations.··FARs             ·2·
                                                                 ·chart that I can recall; is that correct?
·3·
  ·associated·with·the·FAA.                                    ·3·
                                                                 ······
                                                                  ·····A.···It·was·--·at·that·time,·labor·was·part·of
·4·
  ···········
   ··········They·would·go·through·--·they·were·taken          ·4·
                                                                 ·HR.
·5·
  ·out·by·the·airport·to·do·--·how·to·distinguish·flames       ·5·
                                                                 · · ··Q.· ·Oh, it was?··Okay.
·6·
  ·if·the·plane·got·caught·on·--·got·on·--·on·fire.            ·6·
                                                                 ······
                                                                  ·····A.···Yeah,·yeah.
·7·
  ·They·would·do·how·to·open·up·the·doors,·slide               ·7·
                                                                 · · ··Q.· ·All right.··Okay.··So outside of the --
·8·
  ·deployment.··They·would·actually·have·to·jump·down          ·8·
                                                                 ·outside of the -- the training that at that time
·9·
  ·the·slide·to·make·sure·there's·no·issues·or·concerns        ·9·
                                                                 ·would occur at the GO or headquarters, was there
10·
  ·with·that.··So,·yeah,·quite·a·bit.                          10·
                                                                 ·anything else a flight attendant might do at the GO
11·
  · · ··Q.· ·When you mentioned that they would review         11·
                                                                 ·or at headquarters?
12·
  ·the collective bargaining agreement as part of this         12·
                                                                 ······
                                                                  ·····A.···And,·again,·that's·also·a·tough·question.
13·
  ·training, who, during the -- the time period that we        13·
                                                                 ·So,·for·example,·a·lot·of·our·instructors·were
14·
  ·defined, would have been that individual in charge of       14·
                                                                 ·certified·flight·attendants.··Some·of·them·would·fly;
15·
  ·reviewing the collective bargaining agreement with          15·
                                                                 ·some·of·them·would·instruct.··And·so·they·would·work
16·
  ·the new flight attendants?                                  16·
                                                                 ·at·the·GO·under·the·training·department.
17·
  ······
   ·····A.···And·let·me·--·I·guess·I·should·repeat·that.       17·
                                                                 ···········
                                                                  ··········So·everybody·--·let's·see.··Our·inflight
18·
  ·They·would·discuss·the·--·that·the·flight·attendants        18·
                                                                 ·instructors·as·well·assisted·out·at·the·airport.··It
19·
  ·were·covered·by·the·collective·bargaining·agreement.        19·
                                                                 ·would·just·depend.··I·think·at·times·they·would·use
20·
  ·I'm·not·sure·they·went·through·it·by·detail.                20·
                                                                 ·flight·attendants·in·other·capacities,·but·I·don't
21·
  · · ··Q.· ·Okay.                                             21·
                                                                 ·know·all·the·details·around·that.
22·
  ······
   ·····A.···But·the·FAA·or·the·AFA·or·--·I'm·not·sure         22·
                                                                 · · ··Q.· ·Okay.··What if a -- what if a flight
23·
  ·who·the·union·representation·was·at·that·time.··I           23·
                                                                 ·attendant became injured or something like that and
24·
  ·believe·they·just·came·in·and·would·say,·Hi,·we're          24·
                                                                 ·they couldn't -- couldn't stand for long periods, or
25·
  ·representing·this.                                          25·
                                                                 ·whatever the case may be, they couldn't work in -- in

                                                          62                                                             64
·1·
  · · ··Q.· ·Okay.··Got it.                                    ·1·
                                                                 ·the plane and do the inflight service?··Would they
·2·
  ······
   ·····A.···If·you·have·any·questions·here·forth,·you         ·2·
                                                                 ·ever be temporarily reassigned to the GO or
·3·
  ·can·reach·out·to·us.··But,·yeah,·I·think·that·was           ·3·
                                                                 ·headquarters?
·4·
  ·maybe·one·day·that·they·would·came·in.                      ·4·
                                                                 ······
                                                                  ·····A.···At·times,·yeah.
·5·
  · · ··Q.· ·And who was the person again -- I think you       ·5·
                                                                 · · ··Q.· ·Can you recall any of those times?··Can --
·6·
  ·mentioned it already, so I apologize.··Who was the          ·6·
                                                                 ·can you recall specifically that ever occurring with
·7·
  ·person on the org chart we looked at that -- that           ·7·
                                                                 ·respect to any flight attendant?
·8·
  ·was -- I think you mentioned one individual was in          ·8·
                                                                 ······
                                                                  ·····A.···Yeah.··I·don't·know·the·specific·names,·but
·9·
  ·charge of overseeing the -- the CBA or being the            ·9·
                                                                 ·yes.
10·
  ·liaison to the union or something like that,                10·
                                                                 · · ··Q.· ·Can you -- whatever is coming to mind,
11·
  ·seeing --                                                   11·
                                                                 ·can you describe for me what the injury was that led
12·
  ······
   ·····A.···It·--·it·would·depend.··You·know,·there's         12·
                                                                 ·to being reassigned temporarily to the GO or
13·
  ·Laura·Rush.··Under·her·would·be·Kari·Thompson.··And         13·
                                                                 ·headquarters?
14·
  ·then·you·had·Nicholas·Kohlhepp·on·the·side·that             14·
                                                                 ······
                                                                  ·····A.···Yeah,·what·the·injury·was·specifically
15·
  ·handled·all·policies·and·procedures;·basically,·the         15·
                                                                 ·or·.·.·.
16·
  ·operating·procedures·for·the·flight·attendants.             16·
                                                                 · · ··Q.· ·Yeah, or just -- or just -- well, whatever
17·
  ···········
   ··········So·in·terms·of·the·collective·bargaining          17·
                                                                 ·the cause was.··Whatever --
18·
  ·agreement,·a·lot·of·the·language·in·there·would·be·--       18·
                                                                 ······
                                                                  ·····A.···It·would·be·attributed·to·work·comp·or
19·
  ·roll·under·the·labor·department,·the·language               19·
                                                                 ·on-the-job·injury,·the·work·comp·program.
20·
  ·specifically.                                               20·
                                                                 · · ··Q.· ·So if somebody was injured on the -- if
21·
  ···········
   ··········The·management·of·the·collective                  21·
                                                                 ·somebody was a flight attendant, they were injured on
22·
  ·bargaining·agreement·was·a·shared·responsibility·with       22·
                                                                 ·the job, they might be temporarily reassigned to the
23·
  ·Kari·Thompson,·Laura·Rush,·and·employee·relations·at        23·
                                                                 ·GO or headquarters?··Am I -- am I describing that
24·
  ·that·time,·and·our·labor·department.                        24·
                                                                 ·right?
25·
  · · ··Q.· ·Did we -- did we -- I don't think we saw          25·
                                                                 ······
                                                                  ·····A.···Yeah.


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                                                          65                                                             67
·1·
  · · ··Q.· ·Okay.··And then what types of work might          ·1·
                                                                 ·due to a work comp issue or something like that.
·2·
  ·they be assigned there?                                     ·2·
                                                                 ·Were there any other reasons?
·3·
  ······
   ·····A.···It·would·just·depend·on·what·was·available,       ·3·
                                                                 ······
                                                                  ·····A.···From·an·HR·perspective,·I·can't·think·of
·4·
  ·what·was·needed.··It·was·pretty·much·administrative.        ·4·
                                                                 ·one.··I·--·I·can't·speak·to·what·the·inflight
·5·
  · · ··Q.· ·Okay.··When this has occurred in the -- in        ·5·
                                                                 ·department·did,·but·on·the·HR·side,·OJI·work·comp
·6·
  ·the past, can you recall how long the employee was --       ·6·
                                                                 ·would·be·the·only·reason.
·7·
  ·was reassigned to the GO or headquarters?                   ·7·
                                                                 · · ··Q.· ·Sure.··And what does OJI mean?
·8·
  · · · · · ·MS. KITSON:··Object to the form.                  ·8·
                                                                 ······
                                                                  ·····A.···On-the-job·injury.··So·--·yeah.
·9·
  ······
   ·····A.···I·don't·know·the·specific·time·frame.··If         ·9·
                                                                 · · ··Q.· ·Okay.··So thinking -- thinking again about
10·
  ·anything,·it·was·always·different.··It·would·be·based       10·
                                                                 ·how a flight attendant's day is actually structured,
11·
  ·upon·restrictions,·the·improvement·of·the·individual.       11·
                                                                 ·do flight attendants ever start in one city and end
12·
  ·Yeah,·so·it·would·--·it·would·vary.                         12·
                                                                 ·their day in another?
13·
  · · ··Q.· ·(BY MR. CRONE)··Okay.··What -- what's --          13·
                                                                 ······
                                                                  ·····A.···Yes.
14·
  ·what's the shortest time you can recall somebody was        14·
                                                                 · · ··Q.· ·And if they do, I assume they don't -- they
15·
  ·reassigned to the GO?                                       15·
                                                                 ·don't fly home.··I mean, do they -- do they stay at
16·
  ······
   ·····A.···I·can't·--·I·can't·think·offhand.··I·mean,        16·
                                                                 ·this other city where they ended?
17·
  ·it·could·have·been·a·month,·could·have·been·two.            17·
                                                                 ······
                                                                  ·····A.···Yes.
18·
  ·Yeah.                                                       18·
                                                                 · · ··Q.· ·Okay.··And where -- where do they stay?
19·
  · · ··Q.· ·Can you recall the longest time you -- that       19·
                                                                 ······
                                                                  ·····A.···At·hotels.
20·
  ·a flight attendant was reassigned to the GO?                20·
                                                                 · · ··Q.· ·Are they on the clock the whole time? off
21·
  ······
   ·····A.···Not·specifically,·no.                             21·
                                                                 ·the clock?··Do you know?
22·
  · · ··Q.· ·Can you recall roughly how many flight            22·
                                                                 ······
                                                                  ·····A.···In·--·in·what·form·off·the·clock?··I
23·
  ·attendants you recall -- now I'm not making sense.          23·
                                                                 ·guess·.·.·.
24·
  ·Let me start over.                                          24·
                                                                 · · ··Q.· ·So -- so let's say the flight attendant
25·
  · · · · · ·Can you recall roughly how many flight            25·
                                                                 ·starts in Denver and ends in Cleveland --

                                                          66                                                             68
·1·
  ·attendants were reassigned to the GO due to a work          ·1·
                                                                 ······
                                                                  ·····A.···Uh-huh.
·2·
  ·comp injury or something like that during the               ·2·
                                                                 · · ··Q.· ·-- and they're going to stay in a hotel
·3·
  ·relevant time period?                                       ·3·
                                                                 ·overnight in Cleveland.··Are they being paid
·4·
  · · · · · ·MS. KITSON:··I'm just going to interpose an       ·4·
                                                                 ·overnight, or are they off on their own time?
·5·
  ·objection that this is outside the scope, because the       ·5·
                                                                 ······
                                                                  ·····A.···They·do·receive·per·diem.
·6·
  ·objection that we lodged and that was accepted is           ·6·
                                                                 · · ··Q.· ·Per diem?
·7·
  ·that we would only be testifying about disability           ·7·
                                                                 ······
                                                                  ·····A.···Uh-huh.
·8·
  ·accommodations, not temporary conditions.                   ·8·
                                                                 · · ··Q.· ·Is it possible for a flight attendant to --
·9·
  · · · · · ·That said, if you want to ask him in his          ·9·
                                                                 ·to stay multiple nights before returning home while
10·
  ·individual capacity if he has any memory of that, I         10·
                                                                 ·working?
11·
  ·just want to make it clear that he's testifying on          11·
                                                                 ······
                                                                  ·····A.···It·is·possible,·yes.
12·
  ·his own behalf and not the company's.                       12·
                                                                 · · ··Q.· ·How many -- how many nights might a flight
13·
  · · · · · ·MR. CRONE:··Yeah.··So the objection's             13·
                                                                 ·attendant stay away from home while working?
14·
  ·noted.                                                      14·
                                                                 ······
                                                                  ·····A.···It·would·be,·again,·depending·on
15·
  · · ··Q.· ·(BY MR. CRONE)··So, Mr. Arellano, do -- do        15·
                                                                 ·preference.··Our·line·of·flight·has·changed
16·
  ·you need me to repeat that question?                        16·
                                                                 ·dramatically·from·that·time·period.··Then,·everything
17·
  ······
   ·····A.···Yes.                                              17·
                                                                 ·predominantly·did·come·through·Denver·since·our·--
18·
  · · ··Q.· ·Okay.··Can you recall roughly how many            18·
                                                                 ·Denver·was·our·hub.
19·
  ·flight attendants were temporarily reassigned to the        19·
                                                                 ···········
                                                                  ··········If·there·was·a·layover,·again,·it·just
20·
  ·GO during the relevant time period?                         20·
                                                                 ·depends·on·the·type·of·flying·and·how·the·lines·were
21·
  ······
   ·····A.···It·would·be·a·handful.··Again,·this·is·just       21·
                                                                 ·built·in·terms·of·the·pairings.··So·yeah.
22·
  ·a·guesstimate.··Eight·to·ten.··Maybe·a·little·bit           22·
                                                                 · · ··Q.· ·Okay.··Now --
23·
  ·more.                                                       23·
                                                                 ······
                                                                  ·····A.···At·max,·possibly·--·maybe·a·little·more,
24·
  · · ··Q.· ·What -- so you had mentioned that a flight        24·
                                                                 ·yeah.
25·
  ·attendant might be reassigned to the GO temporarily         25·
                                                                 · · ··Q.· ·Okay.··I want to -- I want to switch gears


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                                                          69                                                             71
·1·
  ·a little bit and chat about benefits that were              ·1·
                                                                 ·they·would·do·that·through·our·compliance·program.
·2·
  ·provided to flight attendants during this time.··And        ·2·
                                                                 · · ··Q.· ·And was this -- was this part of some
·3·
  ·were flight attendants provided medical insurance?          ·3·
                                                                 ·benefit provided through insurance, or was this just
·4·
  ······
   ·····A.···They·were.                                        ·4·
                                                                 ·something Frontier did on its own?
·5·
  · · ··Q.· ·Was it fully paid by Frontier, or did they        ·5·
                                                                 ······
                                                                  ·····A.···I·guess,·in·the·form·of·"insurance,"·can
·6·
  ·have to chip in?                                            ·6·
                                                                 ·you·explain·or·elaborate?
·7·
  ······
   ·····A.···They·had·to·pay·a·portion.                        ·7·
                                                                 · · ··Q.· ·So like the medical insurance was provided
·8·
  · · ··Q.· ·Okay.··What about dental?                         ·8·
                                                                 ·through Blue Cross or United or something like that;
·9·
  ······
   ·····A.···Yes.                                              ·9·
                                                                 ·is that right?
10·
  · · ··Q.· ·Same?··Did they -- was -- did -- did the          10·
                                                                 ······
                                                                  ·····A.···At·that·time,·I·would·have·to·check·to·see
11·
  ·employee pay a portion?                                     11·
                                                                 ·who·the·provider·was.
12·
  ······
   ·····A.···I·would·have·to·refer·to·the·benefit              12·
                                                                 · · ··Q.· ·I just mean some private insurance provider
13·
  ·package·to·determine·that.                                  13·
                                                                 ·actually --
14·
  · · ··Q.· ·Okay.                                             14·
                                                                 ······
                                                                  ·····A.···Okay.
15·
  ······
   ·····A.···Yeah.                                             15·
                                                                 · · ··Q.· ·-- was -- was retained?
16·
  · · ··Q.· ·Were they provided, do you know, any other        16·
                                                                 ······
                                                                  ·····A.···For,·yeah,·medical·packages.··Yes.
17·
  ·types of insurance --                                       17·
                                                                 · · ··Q.· ·But for the self-disclosure program, is
18·
  ······
   ·····A.···Yes.                                              18·
                                                                 ·this something that Frontier is just paying for, it's

19·
  · · ··Q.· ·-- or benefits --                                 19·
                                                                 ·just doing -- it's created this program of its own

20·
  ······
   ·····A.···Yes.                                              20·
                                                                 ·volition?··There's not a third party involved?

21·
  · · ··Q.· ·-- beyond specifically insurance?··I'm            21·
                                                                 ······
                                                                  ·····A.···That·is·correct.

22·
  ·sorry.                                                      22·
                                                                 · · ··Q.· ·And so anybody who needs assistance could

23·
  ······
   ·····A.···Yeah.··Yes,·we·offered·a·medical·package.         23·
                                                                 ·self-disclose through this program?

24·
  ·We·offered·dental,·vision,·obviously.··We·offered           24·
                                                                 ······
                                                                  ·····A.···Yes.

25·
  ·life·insurance·policies,·short-term·disability,             25·
                                                                 · · ··Q.· ·And then what would happen if they did?

                                                          70                                                             72
·1·
  ·long-term·disability.                                       ·1·
                                                                 ······
                                                                  ·····A.···If·an·employee·did·step·forward,·then·that
·2·
  · · ··Q.· ·Okay.··Did -- did Frontier offer any              ·2·
                                                                 ·then·starts·what·we·call·the·checklist.··There·was·a
·3·
  ·wellness programs?··So not an insurance benefit, but        ·3·
                                                                 ·checklist·of·events·that·the·compliance·coordinator,
·4·
  ·any sort of wellness program that encouraged                ·4·
                                                                 ·specialist,·whoever·the·--·received·the·disclosure.
·5·
  ·employees to live healthy lifestyles and that sort of       ·5·
                                                                 ·That·individual·would·meet·with·the·employee,·review
·6·
  ·thing?                                                      ·6·
                                                                 ·guidelines·then·set·forth,·and·expectations.
·7·
  ······
   ·····A.···We·utilized·quite·heavily·the·EAP·program.        ·7·
                                                                 ···········
                                                                  ··········In·that·point,·that's·where·we·would·then
·8·
  · · ··Q.· ·Is -- is "EAP" employee assistance?               ·8·
                                                                 ·partner·with·the·EAP,·the·employee·assistance
·9·
  ······
   ·····A.···That's·correct,·the·employee·assistance           ·9·
                                                                 ·program,·with·regard·to·the·substance·abuse·piece
10·
  ·program.                                                    10·
                                                                 ·where·we·--·they·would·--·we·would·reach·out·to·them,
11·
  · · ··Q.· ·Okay.                                             11·
                                                                 ·said·an·employee·has·now·self-disclosed.
12·
  ······
   ·····A.···At·that·time,·I·would·have·to·double-check        12·
                                                                 ···········
                                                                  ··········We·would·partner·with·the·EAP·to·then
13·
  ·the·benefit·package,·if·we·did·have·one·of·those            13·
                                                                 ·identify·a·substance·abuse·professional,·an·SAP.··The
14·
  ·programs.                                                   14·
                                                                 ·SAP·would·then·contact·the·individual·and·then·would
15·
  · · ··Q.· ·Did -- did Frontier have any sort of              15·
                                                                 ·review·the·--·the·initial-contact·counseling·and·then
16·
  ·program related to substance abuse?                         16·
                                                                 ·determine·next·steps·from·that·point·forward.
17·
  ······
   ·····A.···Yes.··It·was·our·self-disclosure·program.         17·
                                                                 ···········
                                                                  ··········And·so·the·SAP·would·then·determine·the
18·
  · · ··Q.· ·Okay.··So that's what it was called, the          18·
                                                                 ·severity·of·the·situation;·they·would·identify
19·
  ·self-disclosure program?                                    19·
                                                                 ·recommendations·for·the·individual;·and·they·would
20·
  ······
   ·····A.···Correct.                                          20·
                                                                 ·then·communicate·with·our·compliance·individual.
21·
  · · ··Q.· ·And what was the purpose of that program?         21·
                                                                 ···········
                                                                  ··········And·then·they·would·partner·in·terms·of
22·
  ······
   ·····A.···Anybody·who·felt·they·needed·assistance·due       22·
                                                                 ·what·the·next·steps·were·that·they·recommended,
23·
  ·to·some·type·of·dependability·--·or·a·dependency,·I         23·
                                                                 ·that·they·be·enrolled·in·a·program.··The·SAP
24·
  ·should·say,·they·had·the·ability·to·step·forward·and        24·
                                                                 ·would·determine·the·length·of·the·program·based·on
25·
  ·then·essentially·say,·I'm·--·I·need·assistance.··So         25·
                                                                 ·their·conversation,·which·was·private,·with·the


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                                                          73                                                             75
·1·
  ·individual.                                                 ·1·
                                                                 ·subject to random drug or alcohol tests at any point
·2·
  · · ··Q.· ·And -- and that's what I was going to ask         ·2·
                                                                 ·during her employment with Frontier?
·3·
  ·is is the whole process confidential once an employee       ·3·
                                                                 ······
                                                                  ·····A.···She·would·have·been·subject·to·that·as·part
·4·
  ·self-discloses?                                             ·4·
                                                                 ·of·the·role·of·a·flight·attendant·because·all·--·and
·5·
  ······
   ·····A.···Confidential,·yes.··So·people·who·are             ·5·
                                                                 ·this·goes·back·to·the·DOT,·safety·sensitive.··They
·6·
  ·attached·to·--·and·HR·in·this·case·would·have·access        ·6·
                                                                 ·are·subject·to·the·random·drug·testing.
·7·
  ·to·the·information,·if·needed.                              ·7·
                                                                 · · ··Q.· ·What about through the self-disclosure
·8·
  · · ··Q.· ·So it's confidential within the group --          ·8·
                                                                 ·program?
·9·
  ·within the people that are a part of the                    ·9·
                                                                 ······
                                                                  ·····A.···Yes,·that·would·be·in·addition·to·the
10·
  ·self-disclosure program?                                    10·
                                                                 ·regular·random·drug.··Then·they·go·through·the
11·
  ······
   ·····A.···Yeah,·compliance·and·HR,·but·nobody·outside       11·
                                                                 ·program·as·well.··So·that's·in·addition·to·what·she
12·
  ·of·that.                                                    12·
                                                                 ·would·be·subject·to.
13·
  · · ··Q.· ·Okay.··Was the employee -- was the employee       13·
                                                                 · · ··Q.· ·Do you know if she ever failed to pass one
14·
  ·promised that if they self-disclosed, they wouldn't         14·
                                                                 ·that she took?
15·
  ·lose their job because they self-disclosed?                 15·
                                                                 ······
                                                                  ·····A.···Excuse·me?
16·
  ······
   ·····A.···That,·I·--·I·do·not·know,·no.··I·don't·know       16·
                                                                 · · ··Q.· ·Do you know if she ever failed to pass a
17·
  ·if·anybody·was·promised·that.··Self-disclosure,             17·
                                                                 ·drug or alcohol screening?
18·
  ·ultimately·what·it·is·is,·Hey,·I·need·assistance·with       18·
                                                                 ······
                                                                  ·····A.···To·my·understanding,·no.
19·
  ·an·issue·and·then·guided·through·the·process.··Yeah.        19·
                                                                 · · ··Q.· ·When you were at JetBlue in roughly 2014 to
20·
  · · ··Q.· ·Did Frontier have any concern that -- that        20·
                                                                 ·2015, did JetBlue have a similar self-disclosure
21·
  ·people would be worried about losing their job if           21·
                                                                 ·program?
22·
  ·they -- if they came out and said, I need assistance?       22·
                                                                 ······
                                                                  ·····A.···That,·I·don't·know.
23·
  ······
   ·····A.···No.                                               23·
                                                                 · · ··Q.· ·Is it -- is -- are you aware of whether
24·
  · · · · · ·MS. KITSON:··Object to the form.                  24·
                                                                 ·other airlines have self-disclosure programs, or is
25·
  ······
   ·····A.···And·when·you're·in·the·program,·it·all            25·
                                                                 ·this unique to Frontier, or do you know?

                                                          74                                                             76
·1·
  ·depends,·because·they're·--·once·you·go·through·the         ·1·
                                                                 ······
                                                                  ·····A.···No,·other·airlines·have·them.··But·all·--
·2·
  ·required·steps·identified·by·the·substance·abuse            ·2·
                                                                 ·it·comes·down·to·if·they're·a·second-chance·company.
·3·
  ·provider,·there·is·what·we·call·the·aftercare               ·3·
                                                                 ·That·also·defines·a·different·type·of·regulation·or
·4·
  ·program.                                                    ·4·
                                                                 ·process.··Frontier·is·not·a·second-chance·company.
·5·
  ···········
   ··········The·aftercare·program·is·a·collaboration          ·5·
                                                                 · · ··Q.· ·Okay.··So what -- when -- when you say
·6·
  ·between·the·substance·abuse·provider·and·the·facility       ·6·
                                                                 ·Frontier is not a second-chance company, what exactly
·7·
  ·where·the·individual·went·and·did·their·treatment.          ·7·
                                                                 ·does that mean?
·8·
  ·Combine·these·two,·then·determine·what·that·aftercare       ·8·
                                                                 ······
                                                                  ·····A.···If·you're,·for·example,·under·FAA
·9·
  ·program·is.                                                 ·9·
                                                                 ·regulations,·if·you·test·positive·for·drugs·or
10·
  ···········
   ··········The·aftercare·program·identifies·that·the         10·
                                                                 ·alcohol·either·through·a·test,·random,·reasonable,·or
11·
  ·individual·will·now·go·through·random·drug·testing,         11·
                                                                 ·suspicion,·if·your·results·come·back·positive,
12·
  ·which·is·designed·and·identified·by·the·substance           12·
                                                                 ·ultimately,·our·compliance·department·is·required·to
13·
  ·abuse·provider·based·on·their·dialogue·with·the             13·
                                                                 ·report·that·to·the·FAA.
14·
  ·treatment·center.                                           14·
                                                                 ···········
                                                                  ··········In·that·--·and·so·the·--·typically,·the
15·
  ···········
   ··········And·so·an·individual,·for·year·one,·can           15·
                                                                 ·employee·would·be·released.··If·that·employee·is
16·
  ·say,·I·want·them·to·go·through·24·random·drug·tests.        16·
                                                                 ·released,·that·positive·test·does·follow·them
17·
  ·That's·where·the·compliance·department·then·schedules       17·
                                                                 ·throughout·their·career·should·they·want·to·apply·for
18·
  ·a·drug·test,·or·randoms.                                    18·
                                                                 ·a·DOT·position.
19·
  ···········
   ··········If·the·individual·is·--·tests·positive·in         19·
                                                                 ···········
                                                                  ··········So·it·could·prevent·them·from·applying
20·
  ·that,·then,·yes,·in·that·moment,·they've·now·failed         20·
                                                                 ·with·another·carrier,·unless·the·carrier·was·a
21·
  ·the·program·because·they·tested·positive,·and·that          21·
                                                                 ·second-chance·company.··If·they're·a·second-chance
22·
  ·could·potentially·lead·to·separation.                       22·
                                                                 ·company,·they·could·apply·with·that·airline.
23·
  · · ··Q.· ·Okay.··Got it.··Got it.                           23·
                                                                 ···········
                                                                  ··········In·that·same·scenario,·if·the·employee·had
24·
  ······
   ·····A.···Only·then.··But·being·in·the·program,·no.         24·
                                                                 ·previously·tested·positive,·they·would·not·be
25·
  · · ··Q.· ·Okay.··Do you know if Ms. Brigham was             25·
                                                                 ·eligible·for·hire·at·Frontier,·because·we're·not·a


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                                                          77                                                             79
·1·
  ·second-chance·company.                                      ·1·
                                                                 ·would·have·to·look·at·it,·because·I·think·I·had·a
·2·
  · · ··Q.· ·Got it.··Okay.··So -- so at Frontier, if          ·2·
                                                                 ·portion·there.··I·came·back·from·JetBlue·--·no,·we
·3·
  ·I fail one of these tests, you'll be fired.··And            ·3·
                                                                 ·came·back·in·2012.··2013.··I·think·a·portion·I·did,
·4·
  ·that -- and -- and you couldn't reapply at Frontier.        ·4·
                                                                 ·yes.
·5·
  ·But if you went to a second-chance airline, you             ·5·
                                                                 · · ··Q.· ·Okay.
·6·
  ·could -- you could at least try?                            ·6·
                                                                 ······
                                                                  ·····A.···Yeah.
·7·
  ······
   ·····A.···If·you·--·and,·again,·in·terms·of                 ·7·
                                                                 · · ··Q.· ·Was there any other sort of drug- or
·8·
  ·failure·--·you·would·have·to·then·define·"failure."         ·8·
                                                                 ·alcohol-related programs at Frontier outside of the
·9·
  ·If·you·tested·--·if,·for·whatever·reason,·during·a          ·9·
                                                                 ·self-disclosure program?
10·
  ·reasonable·random,·if·you·tested·a·--·it·depends·on         10·
                                                                 ······
                                                                  ·····A.···In·what·--·just·programs·in·general
11·
  ·the·level.                                                  11·
                                                                 ·or·.·.·.
12·
  ···········
   ··········And·so·if·it's·alcohol,·if·it·was·above·.02       12·
                                                                 · · ··Q.· ·Yeah.··Just any -- any -- any program to
13·
  ·or·.04,·there·was·a·condition.··If·you·were·above           13·
                                                                 ·deal with employees that might have drug or alcohol
14·
  ·.04,·then,·yes,·you·would·be·separated·because·that         14·
                                                                 ·issues generally, outside of this self-disclosure
15·
  ·was·above·the·legal·limit.                                  15·
                                                                 ·program?
16·
  · · ··Q.· ·Okay.                                             16·
                                                                 ······
                                                                  ·····A.···And·you're·talking·about·the·company,
17·
  ······
   ·····A.···If·you·were·below·that·--·I·would·have·to         17·
                                                                 ·correct?
18·
  ·look·at·the·contract·at·the·time.··I·believe·there          18·
                                                                 · · ··Q.· ·Correct.
19·
  ·was·some·language·that·existed·on·there.                    19·
                                                                 ······
                                                                  ·····A.···The·pilots·have·their·own·program,·which·is
20·
  · · ··Q.· ·Yeah.··So -- so an employee could                 20·
                                                                 ·called·the·HIMS·program,·to·be·equivalent·to·our
21·
  ·self-disclose through the self-disclosure program           21·
                                                                 ·self-disclosure·program.··And·that·would·be·--·to·my
22·
  ·that they had a problem with alcohol?                       22·
                                                                 ·knowledge,·that·would·be·the·only·other·program.
23·
  ······
   ·····A.···Uh-huh.                                           23·
                                                                 · · ··Q.· ·Okay.··Do you know, does Frontier still
24·
  · · ··Q.· ·And that wouldn't trigger this                    24·
                                                                 ·have this self-disclosure program in place currently?
25·
  ·second-chance program at that point?                        25·
                                                                 · · · · · ·MS. KITSON:··Object to the form.··I'm going

                                                          78                                                             80
·1·
  ······
   ·····A.···Correct,·because·it·was·brought·in·forward        ·1·
                                                                 ·to instruct the witness not to answer.··It's outside
·2·
  ·through·the·self-disclosure·program,·so·they·have           ·2·
                                                                 ·the relevant time frame.
·3·
  ·protection·under·that.                                      ·3·
                                                                 · · ··Q.· ·(BY MR. CRONE)··So -- so at -- at -- at the
·4·
  · · ··Q.· ·Okay.··Okay.··Got it.                             ·4·
                                                                 ·present date, is -- does the self-disclosure program
·5·
  · · · · · ·During -- during the relevant time period,        ·5·
                                                                 ·exist in any form at Frontier?
·6·
  ·so end of 2011 through end of 2015, who was in charge       ·6·
                                                                 · · · · · ·MS. KITSON:··Same instruction.
·7·
  ·of the self-disclosure program?                             ·7·
                                                                 · · · · · ·MR. CRONE:··So, Danielle, it's -- it's
·8·
  ······
   ·····A.···2011·--·say·that·again.                           ·8·
                                                                 ·tough without seeing you, but is this really a point
·9·
  · · ··Q.· ·So end of 2011 through the end of 2015,           ·9·
                                                                 ·we're going to take to the judge?
10·
  ·the -- the relevant time period that we're in, who          10·
                                                                 · · · · · ·MS. KITSON:··And I would -- again, to make
11·
  ·was in charge of the self-disclosure program?               11·
                                                                 ·a distinction, we're talking about the scope of the
12·
  ······
   ·····A.···I·believe·there·was·some·changes·at·one           12·
                                                                 ·30(b)(6) topic.··So if you want to ask him in his
13·
  ·point.··2011·to·--·we·--·we·had·Chris·Benedict,·who         13·
                                                                 ·personal capacity, that's fine.
14·
  ·was·manager·of·staffing·and·compliance,·so·the·role         14·
                                                                 · · · · · ·MR. CRONE:··I -- I -- yeah, I'm aware that
15·
  ·that·I·had·previously·had,·he·oversaw·--                    15·
                                                                 ·I can do that, but it's -- it's -- it's a
16·
  · · ··Q.· ·Uh-huh.                                           16·
                                                                 ·straightforward yes, no, and it will be in the record
17·
  ······
   ·····A.···--·the·substance·abuse·program·or·the             17·
                                                                 ·in a tidy spot right here.··I mean, do we really want
18·
  ·self-disclosure.··Prior·to·--·at·one·portion,·I·would       18·
                                                                 ·to -- I mean, how -- is the question really --
19·
  ·have·been·in·that·position.                                 19·
                                                                 · · · · · ·MS. KITSON:··Is this your only question, as
20·
  · · ··Q.· ·Okay.                                             20·
                                                                 ·to whether it exists today?
21·
  ······
   ·····A.···Yeah.                                             21·
                                                                 · · · · · ·MR. CRONE:··Yeah.··I just want to know if
22·
  · · ··Q.· ·So it would have been either Chris Benedict       22·
                                                                 ·it exists today or if it's -- or if it's no longer
23·
  ·or yourself during that time period?                        23·
                                                                 ·there.··That's all.
24·
  ······
   ·····A.···I'm·just·trying·to·think·in·my·career·here.       24·
                                                                 · · · · · ·MS. KITSON:··You can answer that.
25·
  ·I·think·it·would·have·been·just·Chris·Benedict.··I          25·
                                                                 · · · · · ·MR. CRONE:··Thank you.


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                                                          81                                                             83
·1·
  ······
   ·····A.···Yes.                                              ·1·
                                                                 ·say·in-house·union,·but·prior·to·AFA·--·it's·always
·2·
  · · · · · ·THE WITNESS:··And do you guys mind if I           ·2·
                                                                 ·been·AFA.
·3·
  ·take a break?··I've been drinking a lot of water.           ·3·
                                                                 · · ··Q.· ·Okay.
·4·
  · · · · · ·MR. CRONE:··I think -- I think now is a           ·4·
                                                                 ······
                                                                  ·····A.···Before·that,·it·was·just·handled
·5·
  ·great time for a break, but why don't we -- is ten          ·5·
                                                                 ·internally·--
·6·
  ·minutes good?                                               ·6·
                                                                 · · ··Q.· ·Okay.
·7·
  · · · · · ·THE WITNESS:··Yes, yes, definitely.               ·7·
                                                                 ······
                                                                  ·····A.···--·through·--
·8·
  · · · · · ·MR. CRONE:··Okay.··We'll see you in -- in         ·8·
                                                                 · · ··Q.· ·Okay.
·9·
  ·ten minutes.··Thanks.                                       ·9·
                                                                 ······
                                                                  ·····A.···It·was·a·committee.··Yeah.
10·
  · · · · · ·THE WITNESS:··Thank you.                          10·
                                                                 · · ··Q.· ·Okay.··Okay.
11·
  · · · · · ·MR. CRONE:··We'll go off record.                  11·
                                                                 · · · · · ·Okay.··So what's your understanding of the
12·
  · · · · · ·THE VIDEOGRAPHER:··The time now is 10:46.         12·
                                                                 ·purpose of the collective bargaining agreement
13·
  ·We're off the record.                                       13·
                                                                 ·between the AFA and Frontier?
14·
  · · · · · ·(Recess from 10:46 a.m. to 10:57 a.m.)            14·
                                                                 ······
                                                                  ·····A.···Pretty·much·it·defines·a·lot·of·the
15·
  · · · · · ·THE VIDEOGRAPHER:··The time now is 10:57.         15·
                                                                 ·expectations·for·--·and·coverages·awarded·to·the
16·
  ·We're back on the record.                                   16·
                                                                 ·flight·attendants.··It·addresses·consistency.··It
17·
  · · ··Q.· ·(BY MR. CRONE)··Mr. Arellano, I want to --        17·
                                                                 ·addresses·bidding·process,·training·requirements
18·
  ·I want to give you a little hope here about how the         18·
                                                                 ·outlined.··A·lot·of·rules·and·regulations,
19·
  ·rest of the day is going so you're not -- I think --        19·
                                                                 ·essentially.··It's·kind·of·their·version·of·the
20·
  ·I think we can easily get to lunch in the next hour         20·
                                                                 ·employee·handbook,·if·you·will.
21·
  ·and take a better break for everybody.                      21·
                                                                 · · ··Q.· ·Okay.··Is -- does -- does Frontier and the
22·
  ······
   ·····A.···Uh-huh.                                           22·
                                                                 ·AFA renegotiate that collective bargaining agreement
23·
  · · ··Q.· ·And then I think, after that, we're looking       23·
                                                                 ·from time to time?
24·
  ·at maybe a couple of hours, and we'll have it wrapped       24·
                                                                 ······
                                                                  ·····A.···When·it·comes·up·for·negotiations,·yes.
25·
  ·up.··I -- I don't think we'll have to sit here the          25·
                                                                 ·When·it·comes·up·for·re-up.

                                                          82                                                             84
·1·
  ·entire day.                                                 ·1·
                                                                 · · ··Q.· ·Is -- is Frontier obligated to comply with
·2·
  · · · · · ·So I don't want to make any promises, but I       ·2·
                                                                 ·whatever agreements are made inside of the collective
·3·
  ·want to give you some sense of where we're -- where         ·3·
                                                                 ·bargaining agreement?
·4·
  ·we're going, so . . .                                       ·4·
                                                                 ······
                                                                  ·····A.···Yes.
·5·
  ······
   ·····A.···Thank·you.                                        ·5·
                                                                 · · ··Q.· ·And then I think -- I think you had
·6·
  · · ··Q.· ·Yeah, no problem.                                 ·6·
                                                                 ·mentioned that it was, I want to say, Laura Rush
·7·
  · · · · · ·And so the self-disclosure program, do you        ·7·
                                                                 ·that was sort of overseeing -- one of the people
·8·
  ·have any idea how -- how much it costs Frontier to          ·8·
                                                                 ·overseeing Frontier's compliance with the collective
·9·
  ·run that program?                                           ·9·
                                                                 ·bargaining agreement.··Is that -- is that correct, or
10·
  ······
   ·····A.···I·do·not.                                         10·
                                                                 ·am I getting that wrong?
11·
  · · ··Q.· ·Okay.··I want to -- I want to switch gears        11·
                                                                 ······
                                                                  ·····A.···I'm·--·I'm·not·sure·she·ensured·compliance.
12·
  ·a little bit and talk a bit more about the collective       12·
                                                                 ·I·think,·overall,·she·was·there·to·run·the·operation
13·
  ·bargaining agreement.··I promised you earlier in the        13·
                                                                 ·as·it·stood·but·yet·being·compliant·with·the·rules
14·
  ·morning that we would.                                      14·
                                                                 ·and·regulations·outlined·in·the·collective·bargaining
15·
  ······
   ·····A.···Yeah.                                             15·
                                                                 ·agreement.
16·
  · · ··Q.· ·I don't want to -- I don't want to let you        16·
                                                                 · · ··Q.· ·All right.
17·
  ·down.                                                       17·
                                                                 ······
                                                                  ·····A.···Yeah.
18·
  · · · · · ·So the -- the -- the union that exists that       18·
                                                                 · · ··Q.· ·I'm sorry.··Was there anybody else doing
19·
  ·represents -- or represented Ms. Brigham during --          19·
                                                                 ·that with her?
20·
  ······
   ·····A.···Uh-huh.                                           20·
                                                                 ······
                                                                  ·····A.···On·the·inflight·side,·you·would·have·--
21·
  · · ··Q.· ·-- during the relative time period, do you        21·
                                                                 ·Kari·Thompson,·at·times,·would·assist·with·that.··And
22·
  ·know if that union always represented Frontier flight       22·
                                                                 ·a·lot·of·that·would·be·--·be·dependent·upon,·let's
23·
  ·attendants, or did they come in at some time, that          23·
                                                                 ·say,·the·scheduling.··If·a·flight·attendant·wanted·a
24·
  ·you can recall?                                             24·
                                                                 ·certain·--·when·they·arrived·late,·they·would·adhere
25·
  ······
   ·····A.···We·did·have·an·in-house·--·I·don't·want·to        25·
                                                                 ·to·the·collective·bargaining·agreement.··They·were


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                                                          85                                                             87
·1·
  ·there·to·enforce·it,·essentially.                           ·1·
                                                                 · · · · · ·MS. KITSON:··I would take it sentence by
·2·
  · · ··Q.· ·Okay.                                             ·2·
                                                                 ·sentence.
·3·
  ······
   ·····A.···Yeah.                                             ·3·
                                                                 · · · · · ·THE WITNESS:··Yeah.
·4·
  · · ··Q.· ·Do you know Adrienne Prince?                      ·4·
                                                                 ······
                                                                  ·····A.···If·I·look·at·Number·5,·I·don't·ever·recall
·5·
  ······
   ·····A.···I·do.                                             ·5·
                                                                 ·the·union·seeking·accommodations.··And,·again,·the
·6·
  · · ··Q.· ·Who was Adrienne Prince during the relevant       ·6·
                                                                 ·reason·--·if·--·if·I·was·in·that·conversation,·due·to
·7·
  ·time period?                                                ·7·
                                                                 ·confidentiality,·we·do·feel·that·that·meeting,·with
·8·
  ······
   ·····A.···She,·at·that·time·--·I·know·she·was·a             ·8·
                                                                 ·the·interactive·process,·was·outside·of·the·realm·of
·9·
  ·steward·at·one·point·and·then·became·the·vice               ·9·
                                                                 ·the·CBA,·so·that·conversation·primarily·was·with
10·
  ·president,·so·I·would·have·to·see·where·she·was·in          10·
                                                                 ·Rebecca.
11·
  ·terms·of·that·time·period.                                  11·
                                                                 ···········
                                                                  ··········So·I·don't·recall·any·conversations·with
12·
  · · ··Q.· ·Whether she was steward or vice president,        12·
                                                                 ·the·union·where·they·proposed·accommodations,·at
13·
  ·those are roles with the AFA?                               13·
                                                                 ·least·to·my·knowledge.
14·
  ······
   ·····A.···With·the·AFA,·correct.                            14·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Okay.··So -- so the
15·
  · · ··Q.· ·Was she, I assume, also then employed by          15·
                                                                 ·allegations on paragraph 5, you don't recall that
16·
  ·Frontier?··Or maybe not.··I'm not sure.                     16·
                                                                 ·happening, but you don't know if that's inaccurate;
17·
  ······
   ·····A.···She·was.··She·was·a·flight·attendant·--·or        17·
                                                                 ·is that fair?
18·
  ·is·a·flight·attendant.··I·believe·she·still·works.          18·
                                                                 ······
                                                                  ·····A.···I·simply·don't·recall,·correct.
19·
  · · ··Q.· ·Okay.··I want to put in front of you              19·
                                                                 · · ··Q.· ·Okay.··And -- and take your time and let me
20·
  ·Exhibit 4.··And so this is -- give me just one second       20·
                                                                 ·know if there's anything else.
21·
  ·here.                                                       21·
                                                                 ······
                                                                  ·····A.···And·I·--·I·don't·agree·with·where·it·says
22·
  · · · · · ·MS. KITSON:··John, can I ask you a favor?         22·
                                                                 ·Ms.·Brigham·was·denied·this·requested·accommodation.
23·
  · · · · · ·MR. CRONE:··Yeah.                                 23·
                                                                 ·I·do·feel·we·requested·her·accommodation·in·the·form
24·
  · · · · · ·MS. KITSON:··Can you e-mail that document,        24·
                                                                 ·of·time·off·through·the·intermittent·FMLA,·which
25·
  ·like shoot it to me via e-mail as you're pulling            25·
                                                                 ·allowed·her·to·manipulate·her·schedule.

                                                          86                                                             88
·1·
  ·these things up one by one just like you would hand         ·1·
                                                                 ···········
                                                                  ··········And·Number·6,·we·did·again·grant·her
·2·
  ·it to me?                                                   ·2·
                                                                 ·accommodation·just·in·the·form·of·IFM,·so·it·--·it
·3·
  · · · · · ·MR. CRONE:··Yeah.                                 ·3·
                                                                 ·allowed·her·to·adjust·her·schedule·as·she·saw·fit
·4·
  · · · · · ·MS. KITSON:··That would be great.                 ·4·
                                                                 ·and,·of·course,·based·within·her·seniority.
·5·
  · · · · · ·MR. CRONE:··Yeah.··No problem.··I'll send         ·5·
                                                                 · · ··Q.· ·Okay.··So I want to -- I want to take both
·6·
  ·it over right now.                                          ·6·
                                                                 ·of those since you just mentioned -- so it's
·7·
  · · · · · ·There you are, Danielle.··That should be          ·7·
                                                                 ·Frontier's position that Ms. Brigham was granted an
·8·
  ·off to you.                                                 ·8·
                                                                 ·a -- an accommodation in the form of IFM?··Am I -- am
·9·
  · · ··Q.· ·(BY MR. CRONE)··And hopefully that should         ·9·
                                                                 ·I hearing you correctly?
10·
  ·be in front of you, Mr. Arellano.                           10·
                                                                 ······
                                                                  ·····A.···No,·in·the·form·of·time·off.
11·
  ······
   ·····A.···Yep.··I've·got·it·in·front·of·me.                 11·
                                                                 · · ··Q.· ·Time off.
12·
  · · ··Q.· ·Great.··Can you give it a review for me?          12·
                                                                 ······
                                                                  ·····A.···Yeah.
13·
  ······
   ·····A.···Yeah.                                             13·
                                                                 · · ··Q.· ·Okay.··And -- I'm sorry.··Go ahead.
14·
  · · ··Q.· ·Thanks.                                           14·
                                                                 ······
                                                                  ·····A.···And·Number·7,·I·do·feel·we·provided·Rebecca
15·
  ······
   ·····A.···Yeah.··Okay.                                      15·
                                                                 ·with·solutions.··And·so,·again,·we·did·accommodate
16·
  · · ··Q.· ·Have you ever -- prior to reviewing that          16·
                                                                 ·her·requests·in·many·forms,·not·only·in·the·form·of
17·
  ·today, have you ever seen that document?                    17·
                                                                 ·time·off,·but·the·ability·to·use·intermittent·FMLA·as
18·
  ······
   ·····A.···No.                                               18·
                                                                 ·she·sees·fit.
19·
  · · ··Q.· ·But you -- you've reviewed it now?                19·
                                                                 ···········
                                                                  ··········We·also·allowed·her·other·opportunities·to
20·
  ······
   ·····A.···Yeah.                                             20·
                                                                 ·look·within·the·job·or·to·see·if·there·was·another
21·
  · · ··Q.· ·And is there anything in that -- is there         21·
                                                                 ·opportunity·that·would·better·assist·her·with·what
22·
  ·any factual statement in that document that you think       22·
                                                                 ·she·was·requesting.
23·
  ·is inaccurate?                                              23·
                                                                 · · ··Q.· ·Okay.··So I want to make sure that we have
24·
  ······
   ·····A.···Let·me·look·at·it·again.                          24·
                                                                 ·this properly summarized.··It's -- it's Frontier's
25·
  · · ··Q.· ·Sure.                                             25·
                                                                 ·position that Ms. Brigham was offered, one, the time


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                                                          89                                                             91
·1·
  ·off you mentioned as an accommodation; is that              ·1·
                                                                 ···········
                                                                  ··········If·it·is·intermittent·FMLA,·they're
·2·
  ·correct?                                                    ·2·
                                                                 ·instructed·that·there's·a·certain·time·period.
·3·
  ······
   ·····A.···Correct.                                          ·3·
                                                                 ·Typically,·it's·15·days·from·the·date·of·that
·4·
  · · ··Q.· ·And then, two, intermittent FMLA leave?           ·4·
                                                                 ·conversation.··They're·provided·with·the·application
·5·
  ······
   ·····A.···Correct.                                          ·5·
                                                                 ·and·the·15·days·marked·and·provided·with·a·deadline,
·6·
  · · ··Q.· ·And, three, the ability to look for               ·6·
                                                                 ·Please·return·the·completed·paperwork·by·this·time
·7·
  ·different jobs --                                           ·7·
                                                                 ·frame.
·8·
  ······
   ·····A.···Yes.                                              ·8·
                                                                 ···········
                                                                  ··········And·then·once·that·application·is·received,
·9·
  · · ··Q.· ·-- within the -- within the organization?         ·9·
                                                                 ·they·then·look·at·it·and·see·if·the·nature·of·the
10·
  ······
   ·····A.···Yeah.··She·was·also·offered·personal·leaves       10·
                                                                 ·request·qualifies·the·individual·for·FMLA·or
11·
  ·of·absence,·vis-a-vis·--·oh,·and·also·non-FMLA              11·
                                                                 ·intermittent·FMLA.
12·
  ·medical·leave·as·well,·which·is·an·additional·to·the        12·
                                                                 ···········
                                                                  ··········They·also·look·at·the·individual's·schedule
13·
  ·FMLA.··So·she·was,·I·believe·--·and·to·my                   13·
                                                                 ·to·see·if·they·worked·a·set·number·of·hours.··They
14·
  ·recollection,·she·had·non-FMLA·medical·leave,·and·I         14·
                                                                 ·looked·at·year·of·service;·if·the·employee·has·been
15·
  ·believe·that·might·have·been·it.                            15·
                                                                 ·here·more·than·a·year,·things·of·that·nature,·to·then
16·
  · · ··Q.· ·Okay.··So I want to make sure we've got it.       16·
                                                                 ·determine·if·they·qualify·or·are·approved·for·the
17·
  ·So you added non-FMLA medical leave, and was there          17·
                                                                 ·leave·of·absence.
18·
  ·something else, or was it just that?                        18·
                                                                 · · ··Q.· ·All right.··With regard to the ability to
19·
  ······
   ·····A.···Non-FMLA·medical·leave,·FMLA·personal             19·
                                                                 ·look for different jobs within the organization, did
20·
  ·leave.                                                      20·
                                                                 ·Frontier ever offer to reassign Ms. Brigham, or -- or
21·
  · · ··Q.· ·Okay.                                             21·
                                                                 ·did they offer the opportunity to -- to allow her to
22·
  ······
   ·····A.···Yeah.                                             22·
                                                                 ·apply for other jobs?
23·
  · · ··Q.· ·Okay.··And then is the time off, the first        23·
                                                                 ······
                                                                  ·····A.···The·opportunity·to·apply.··Typically,·what
24·
  ·thing we listed, is that different from the non-FMLA        24·
                                                                 ·we·did·with·the·interactive·process,·if·there·was·a
25·
  ·medical leave and the FMLA personal leave?··Is              25·
                                                                 ·role·that·the·individual·was·interested,·outside·of

                                                          90                                                             92
·1·
  ·there -- is there also just a category of time off,         ·1·
                                                                 ·Rebecca·Brigham,·but·if·an·individual·said,·I'd·like
·2·
  ·or is that the same?                                        ·2·
                                                                 ·this·role,·we·would·look·and·see·if·they·met·the
·3·
  ······
   ·····A.···It·would·have·been·under·her·personal             ·3·
                                                                 ·essential·functions·of·the·role,·were·able·to
·4·
  ·leave,·definitely.                                          ·4·
                                                                 ·complete·the·essential·functions·of·the·role,·and·if
·5·
  · · ··Q.· ·Okay.··So that would just be regular              ·5·
                                                                 ·they·were·minimally·qualified.
·6·
  ·personal leave?                                             ·6·
                                                                 ···········
                                                                  ··········We,·as·employee·relations,·would·then·have
·7·
  ······
   ·····A.···Time·off·would·also·--·well,·she·had·the          ·7·
                                                                 ·that·conversation·with·the·hiring·manager·and·see·if
·8·
  ·ability·to·use·intermittent·FMLA·in·the·form·that·she       ·8·
                                                                 ·there·was·an·opportunity·to·at·least·award·the
·9·
  ·felt·needed·to·assist·with·her·request·to·adjust·her        ·9·
                                                                 ·individual·the·opportunity·to·interview·for·the
10·
  ·schedules.                                                  10·
                                                                 ·role·--
11·
  · · ··Q.· ·Okay.                                             11·
                                                                 · · ··Q.· ·Okay.
12·
  ······
   ·····A.···So·we·did·allow·her·the·ability·to·use·it         12·
                                                                 ······
                                                                  ·····A.···--·outside·of·just·the·standard·application
13·
  ·outside·of·parameters·for·what·she·was·approved·for.        13·
                                                                 ·process.
14·
  · · ··Q.· ·Okay.··So the intermittent FMLA, thinking         14·
                                                                 · · ··Q.· ·Okay.··Did -- did Frontier -- excuse me.
15·
  ·about that specifically, how does that work?··How           15·
                                                                 ·Did Frontier ever offer to reassign Ms. Brigham to
16·
  ·does one go about obtaining approval to use                 16·
                                                                 ·the GO or headquarters?
17·
  ·intermittent FMLA?                                          17·
                                                                 ······
                                                                  ·····A.···Not·to·my·knowledge.
18·
  ······
   ·····A.···Typically,·the·first·step·is·they·have·a          18·
                                                                 · · ··Q.· ·Did Ms. Brigham ever request that as a
19·
  ·dialogue·with·their·leave-of-absence·department.··In        19·
                                                                 ·reasonable accommodation?
20·
  ·that·dialogue,·the·person·doing·the·intake·meeting          20·
                                                                 ······
                                                                  ·····A.···Yes,·she·did.
21·
  ·will·then·determine·if·the·need·is·either·continuous        21·
                                                                 · · ··Q.· ·Why did Frontier deny that request?
22·
  ·or·intermittent·FMLA.                                       22·
                                                                 ······
                                                                  ·····A.···I'm·not·--·again,·this·is·my·opinion.··I'm
23·
  ···········
   ··········Based·upon·assessment,·the·individual·or          23·
                                                                 ·not·sure·we·denied·the·request.··We·were·trying·to
24·
  ·the·employee·is·then·provided·with·the·application,         24·
                                                                 ·operate·within·the·rules·and·regulations·outlined·in
25·
  ·whether·it·be·intermittent·or·FMLA.                         25·
                                                                 ·the·collective·bargaining·agreement.


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                                                          93                                                             95
·1·
  ···········
   ··········And·in·that·opportunity·--·and,·again,·it's       ·1·
                                                                 · · ··Q.· ·And do you recall whether Frontier granted
·2·
  ·a·complicated·process·in·the·form·of·there's·so·many        ·2·
                                                                 ·that request?
·3·
  ·avenues·that·we·need·to·look·at.··So·when·she               ·3·
                                                                 ······
                                                                  ·····A.···We·did·not.
·4·
  ·requested·that,·we·then·determined·she·was·an·active        ·4·
                                                                 · · ··Q.· ·And why was that?
·5·
  ·employee.··And·as·an·active·employee,·she·was               ·5·
                                                                 ······
                                                                  ·····A.···Due·to·the·collective·bargaining·agreement.
·6·
  ·required·to·go·ahead·and·bid·for·a·schedule.                ·6·
                                                                 · · ··Q.· ·So Frontier thought if -- if Ms. Brigham
·7·
  ···········
   ··········So·being·an·active·employee,·we·were·unable       ·7·
                                                                 ·was allowed to modify her schedule, that would
·8·
  ·to·assign·her·to·a·temporary·ground·assignment·or           ·8·
                                                                 ·violate the terms of the collective bargaining
·9·
  ·another·opportunity,·because·she·was·technically·an         ·9·
                                                                 ·agreement?
10·
  ·active·employee,·and·it·was·only·allowed·for·OGI·or         10·
                                                                 ······
                                                                  ·····A.···I·agree,·yes.
11·
  ·work·comp,·that·opportunity·to·be·reassigned.··That         11·
                                                                 · · ··Q.· ·Okay.··Do you recall Adrienne Prince
12·
  ·option·was·only·afforded·to·individuals·who·sustained       12·
                                                                 ·communicating to Frontier that it would not violate
13·
  ·an·injury.                                                  13·
                                                                 ·the terms of the collective bargaining agreement?
14·
  · · ··Q.· ·Okay.··So because she didn't sustain an           14·
                                                                 ······
                                                                  ·····A.···I·do·not.
15·
  ·injury, she wasn't eligible to be reassigned to the         15·
                                                                 · · ··Q.· ·And sorry.··I'm going to go back just a
16·
  ·GO as --                                                    16·
                                                                 ·little bit.
17·
  ······
   ·····A.···No.                                               17·
                                                                 · · · · · ·Did Frontier think that transferring
18·
  · · ··Q.· ·-- as an accommodation?                           18·
                                                                 ·Ms. Brigham to the GO, reassigning her would violate
19·
  ······
   ·····A.···Since·she·wasn't·in·the·work·comp·program         19·
                                                                 ·the terms of the collective bargaining agreement, or
20·
  ·or·on·OJI,·then·she·was·not·eligible·to·be                  20·
                                                                 ·was that due to the OGI -- or OJI work comp issue?
21·
  ·reassigned.                                                 21·
                                                                 ······
                                                                  ·····A.···It·was·the·OJI·work·comp.··She·was·just·not
22·
  · · ··Q.· ·Okay.                                             22·
                                                                 ·eligible.··At·the·time,·she·wasn't·part·of·the·work
23·
  ······
   ·····A.···Yeah.                                             23·
                                                                 ·comp·program.
24·
  · · ··Q.· ·Any other reason why Frontier felt like it        24·
                                                                 · · ··Q.· ·Okay.··Does Frontier's opinion change at
25·
  ·couldn't reassign her to the GEO -- or the -- excuse        25·
                                                                 ·all today about whether a modified schedule would

                                                          94                                                             96
·1·
  ·me -- the GO as she requested?                              ·1·
                                                                 ·violate the terms of the collective bargaining
·2·
  ······
   ·····A.···No,·not·to·my·knowledge.                          ·2·
                                                                 ·agreement based on your review of Adrienne Prince's
·3·
  · · ··Q.· ·Was -- was Ms. Brigham ultimately                 ·3·
                                                                 ·declaration?
·4·
  ·terminated due to attendance issues?                        ·4·
                                                                 ······
                                                                  ·····A.···Can·you·rephrase·that·again?
·5·
  ······
   ·····A.···Yes.                                              ·5·
                                                                 · · ··Q.· ·Yeah.··Does -- does -- does Frontier's
·6·
  · · ··Q.· ·And was she taking time off work through          ·6·
                                                                 ·opinion change today as to whether or not allowing
·7·
  ·any of these various processes that you had just            ·7·
                                                                 ·Ms. Brigham to modify her schedule would violate
·8·
  ·testified that Frontier offered, so the time off,           ·8·
                                                                 ·the terms of the CBA based on your reading of
·9·
  ·like personal leave, intermittent FMLA, non-FMLA            ·9·
                                                                 ·Adrienne Prince's declaration in Exhibit 4?
10·
  ·medical leave, FMLA personal leave?··Was she using          10·
                                                                 ······
                                                                  ·····A.···No.
11·
  ·all of that time off?                                       11·
                                                                 · · ··Q.· ·Okay.··So the -- the time off for personal
12·
  ······
   ·····A.···She·--·yes,·she·was·utilizing·those               12·
                                                                 ·leave or through intermittent FMLA or -- or non-FMLA
13·
  ·resources,·true.··Yeah.                                     13·
                                                                 ·medical leave or FMLA personal leave -- those
14·
  · · ··Q.· ·But she was still, then, terminated for           14·
                                                                 ·things -- were they offered by Frontier to
15·
  ·attendance issues?                                          15·
                                                                 ·Ms. Brigham, or does she request those things?
16·
  ······
   ·····A.···Correct.                                          16·
                                                                 ······
                                                                  ·····A.···They·were·available·to·her,·so·she·had·to
17·
  · · ··Q.· ·Was she terminated for any other reason           17·
                                                                 ·request·them.··In·certain·cases·--
18·
  ·than attendance?                                            18·
                                                                 · · ··Q.· ·And so --
19·
  ······
   ·····A.···No,·sir.                                          19·
                                                                 ······
                                                                  ·····A.···--·she·was·offered·personal·leave.
20·
  · · ··Q.· ·Did -- did Ms. Brigham request to                 20·
                                                                 · · ··Q.· ·So --
21·
  ·modify her schedule?··Whether or not you recall             21·
                                                                 ······
                                                                  ·····A.···If·she·is·not·eligible·for·an·FMLA·or
22·
  ·Adrienne Prince helping her with it, did Ms. Brigham        22·
                                                                 ·intermittent·FMLA·or·a·non-FMLA·medical·leave,·the
23·
  ·request to modify her schedule as a reasonable              23·
                                                                 ·department·would·offer·her·personal·leave.
24·
  ·accommodation for her alcoholism?                           24·
                                                                 · · ··Q.· ·So the -- so setting the personal leave
25·
  ······
   ·····A.···She·did·request·it,·yes.                          25·
                                                                 ·aside and -- and thinking about the FMLA, whether


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                                                          97                                                             99
·1·
  ·it's intermittent or for personal leave or -- or the        ·1·
                                                                 ·agreement,·certain·terms·of·what·we·are·allowed·to
·2·
  ·medical leave, those things were available to               ·2·
                                                                 ·offer,·in·that·case,·yes.
·3·
  ·Ms. Brigham as they are to any other employee; is           ·3·
                                                                 ···········
                                                                  ··········But,·overall,·the·process·is·designed·to
·4·
  ·that correct?                                               ·4·
                                                                 ·see·what·accommodation·we·can·provide.··But·the
·5·
  ······
   ·····A.···That·is·correct.                                  ·5·
                                                                 ·outcome·also·depends·if·the·individual·is·covered
·6·
  · · ··Q.· ·Okay.··But the personal leave was something       ·6·
                                                                 ·under·the·collective·bargaining.
·7·
  ·different that -- that -- I mean, can -- could any          ·7·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Okay.
·8·
  ·other employee get additional personal leave if they        ·8·
                                                                 ······
                                                                  ·····A.···Do·we·treat·them·differently?··No,·in·that
·9·
  ·were, say, out of FMLA time, or did they have to ask?       ·9·
                                                                 ·form.
10·
  ······
   ·····A.···Yeah.                                             10·
                                                                 · · ··Q.· ·So there's nothing about the nature of
11·
  · · ··Q.· ·Oh, they can?                                     11·
                                                                 ·alcoholism that would cause Frontier to approach the
12·
  ······
   ·····A.···They·had·to·request·it.                           12·
                                                                 ·interactive process any differently than if, say, for
13·
  · · ··Q.· ·Oh, they have to request it.··Okay.··Okay.        13·
                                                                 ·example, somebody broke their leg?
14·
  ······
   ·····A.···And·these·were·approved·by·the·department.        14·
                                                                 ······
                                                                  ·····A.···No.
15·
  · · ··Q.· ·Okay.··And -- and so setting all of the --        15·
                                                                 · · ··Q.· ·I'm pulling up an exhibit.··Sorry.··I'm
16·
  ·the -- the leave, the FMLA leave, intermittent or           16·
                                                                 ·not -- I'm not -- I'm not ignoring you.··I also want
17·
  ·personal FMLA leave, or whatever it is that Frontier        17·
                                                                 ·to get it e-mailed to Danielle.
18·
  ·offered -- or, I mean -- sorry -- was available to          18·
                                                                 · · · · · ·MS. KITSON:··Thank you.
19·
  ·Ms. Brigham to request --                                   19·
                                                                 · · · · · ·MR. CRONE:··Yeah.
20·
  ······
   ·····A.···Okay.                                             20·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Okay.··Mr. Arellano, so I
21·
  · · ··Q.· ·-- did Frontier offer any other reasonable        21·
                                                                 ·sent you, when it gets there, what has been marked
22·
  ·accommodation to Ms. Brigham in response to her             22·
                                                                 ·Exhibit 5.··If you can just review it and let me know
23·
  ·requests?                                                   23·
                                                                 ·once you've reviewed it.
24·
  · · · · · ·MS. KITSON:··Objection.··Asked and                24·
                                                                 ······
                                                                  ·····A.···Okay.
25·
  ·answered.                                                   25·
                                                                 · · · · · ·MS. KITSON:··I'm going to object,

                                                          98                                                            100
·1·
  · · ··Q.· ·(BY MR. CRONE)··I can rephrase that -- it         ·1·
                                                                 ·Mr. Crone.··And you are not permitted to use this
·2·
  ·got a little wordy -- if -- if you need it.··Do you         ·2·
                                                                 ·document.··We have claimed privilege over this
·3·
  ·want me to rephrase?                                        ·3·
                                                                 ·document, and under Rule 26(b)(5), you are not
·4·
  ······
   ·····A.···Yes,·please.                                      ·4·
                                                                 ·permitted to use it until we resolve that claim with
·5·
  · · ··Q.· ·Yeah.··Okay.··Yeah.··So -- so did Frontier        ·5·
                                                                 ·the judge.
·6·
  ·offer any other proposed reasonable accommodations to       ·6·
                                                                 · · · · · ·So I'm happy to call the Court, if you
·7·
  ·Ms. Brigham other than, You can request leave time of       ·7·
                                                                 ·would like -- we can take a break for that later --
·8·
  ·some sort or you can apply for different jobs?              ·8·
                                                                 ·but you are not permitted to ask questions about this
·9·
  ······
   ·····A.···Okay.··That·would·be·it,·yeah.                    ·9·
                                                                 ·document, and I'm instructing the witness not to
10·
  · · ··Q.· ·All right.··And just to make this clear,          10·
                                                                 ·answer.
11·
  ·too, so any -- any employee can apply for any listed        11·
                                                                 · · · · · ·MR. CRONE:··We -- what if we agree that --
12·
  ·jobs, can't they?                                           12·
                                                                 ·that he'll only refer to the part of the document
13·
  ······
   ·····A.···Correct.                                          13·
                                                                 ·that's clearly not privileged?··And so I'm talking
14·
  · · ··Q.· ·Does -- does Frontier consider alcoholism         14·
                                                                 ·about the last couple of sentences.··Would that
15·
  ·to be a disability as defined under the ADA?                15·
                                                                 ·resolve the issue that way?
16·
  · · · · · ·MS. KITSON:··Object to the form.                  16·
                                                                 · · · · · ·MS. KITSON:··No.··I mean, the entire e-mail
17·
  · · · · · ·THE WITNESS:··Do I answer?                        17·
                                                                 ·is a re -- relaying of what has been told to
18·
  ······
   ·····A.···Yes.                                              18·
                                                                 ·Mr. Arellano by outside counsel, Holland & Hart.
19·
  · · ··Q.· ·(BY MR. CRONE)··Does Frontier treat a             19·
                                                                 · · · · · ·MR. CRONE:··Well, I don't -- I don't -- I
20·
  ·disabled person who has alcoholism any differently          20·
                                                                 ·mean, that's not apparent on the face of the e-mail,
21·
  ·than they treat a person with any other disability?         21·
                                                                 ·that's for sure.
22·
  · · · · · ·MS. KITSON:··Object to the form.                  22·
                                                                 · · · · · ·MS. KITSON:··And I'm happy to confer with
23·
  ······
   ·····A.···I·would·have·to·say,·as·part·of·the               23·
                                                                 ·you about the context of the e-mail.··And if you want
24·
  ·interactive·process,·we·also·have·to·keep·in·mind,          24·
                                                                 ·to ask Mr. Arellano the context in which he wrote
25·
  ·if·they're·covered·by·the·collective·bargaining             25·
                                                                 ·this e-mail, that's fine, but he's not going to


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                                                         101                                                            103
·1·
  ·answer any substantive questions about it.                  ·1·
                                                                 ·mean, maybe it doesn't hurt.··I mean, I'm not telling
·2·
  · · · · · ·MR. CRONE:··Okay.··Well, then how do you          ·2·
                                                                 ·you what to do.··I just want to -- I just want to --
·3·
  ·propose we go about resolving the privilege issue           ·3·
                                                                 ·you know, just want to know if -- if -- if it's going
·4·
  ·today?                                                      ·4·
                                                                 ·to fall under the protective order or not, at least
·5·
  · · · · · ·MS. KITSON:··As I just said, you could ask        ·5·
                                                                 ·until we're --
·6·
  ·him if he were at a meeting, if there were attorneys        ·6·
                                                                 · · · · · ·MS. KITSON:··Let me look at it again.··Hold
·7·
  ·there.··You could ask him if all of the information         ·7·
                                                                 ·on.
·8·
  ·in this e-mail is information that was relayed to him       ·8·
                                                                 · · · · · ·MR. CRONE:··Okay.··And I'm sorry, Danielle.
·9·
  ·by Holland & Hart.                                          ·9·
                                                                 ·I just -- I just want to prevent the problem down the
10·
  · · · · · ·You can ask him those types of questions.         10·
                                                                 ·road.
11·
  ·He's not going to answer substantive questions about        11·
                                                                 · · · · · ·MS. KITSON:··No, that's fine.
12·
  ·the content of the e-mail.                                  12·
                                                                 · · · · · ·Hey, John, so, you know, I would say all of
13·
  · · · · · ·MR. CRONE:··Yeah, and -- and so I -- I            13·
                                                                 ·the documents that are produced are subject to the
14·
  ·think that will get us there.                               14·
                                                                 ·protective order in that it governs all document
15·
  · · · · · ·What if I direct him to the exact two             15·
                                                                 ·productions, but we would not mark this document as
16·
  ·sentences I want him to -- that I want to ask a             16·
                                                                 ·confidential per the protective order.
17·
  ·question about and ask whether that was relayed by an       17·
                                                                 · · · · · ·MR. CRONE:··Okay.··Okay.··Got it.··Yep,
18·
  ·attorney at Holland & Hart -- at Holland & Hart or          18·
                                                                 ·yep.··That's helpful.
19·
  ·not?··Can I do that?                                        19·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Okay.··So -- hold on one
20·
  · · · · · ·MS. KITSON:··Let me confer with him               20·
                                                                 ·second.··Okay.··So, Mr. Arellano, the sentence that
21·
  ·quickly.··If we can go on mute, and we'll confer            21·
                                                                 ·starts with "Next steps" -- are you with me there?
22·
  ·off-screen and come right back.                             22·
                                                                 ······
                                                                  ·····A.···Yes.
23·
  · · · · · ·MR. CRONE:··That will work.                       23·
                                                                 · · ··Q.· ·Did you write that sentence?
24·
  · · · · · ·(Short interruption.)                             24·
                                                                 ······
                                                                  ·····A.···Did·I·write·that·sentence?
25·
  · · · · · ·MS. KITSON:··Okay.··So I understand that          25·
                                                                 · · ··Q.· ·Yeah.

                                                         102                                                            104
·1·
  ·the very last sentence that begins with "Next               ·1·
                                                                 ······
                                                                  ·····A.···Yes.
·2·
  ·steps" --                                                   ·2·
                                                                 · · ··Q.· ·Yep.··And -- and then everything above that
·3·
  · · · · · ·MR. CRONE:··Yep.                                  ·3·
                                                                 ·in the e-mail, is it your contention that you're just
·4·
  · · · · · ·MS. KITSON:··Are you with me?··That               ·4·
                                                                 ·relaying what the attorney told you or what -- I
·5·
  ·sentence is not privileged.··So you can ask about           ·5·
                                                                 ·should say what an attorney told you?
·6·
  ·that sentence.                                              ·6·
                                                                 ······
                                                                  ·····A.···Yes.
·7·
  · · · · · ·MR. CRONE:··Okay.··Give me just one second        ·7·
                                                                 · · ··Q.· ·Okay.··So then let's just look at the next
·8·
  ·here.··So -- and then, Danielle, I just wanted --           ·8·
                                                                 ·steps, if we could -- we could do that.
·9·
  ·just to just make sure the record is clear, you're          ·9·
                                                                 · · · · · ·You wrote, If the last occurrence is not
10·
  ·definitely asserting that this is confidential under        10·
                                                                 ·covered by FMLA, then we would proceed with the term
11·
  ·the proposed protective order that I don't remember         11·
                                                                 ·steps.
12·
  ·if we have in place yet?                                    12·
                                                                 · · · · · ·Is that termination, what you're referring
13·
  · · · · · ·MS. KITSON:··I don't believe so.··Did we          13·
                                                                 ·to by "term steps"?
14·
  ·mark it confidential?                                       14·
                                                                 ······
                                                                  ·····A.···Yeah,·term·steps·typically·starts,·under
15·
  · · · · · ·MR. CRONE:··I -- I don't think you did, and       15·
                                                                 ·the·contract·at·that·point·--·it·starts·the
16·
  ·I don't care if we do right now even though -- I            16·
                                                                 ·investigatory·meeting·that·they·outlined·in·the
17·
  ·don't think the protective order is on file yet, or         17·
                                                                 ·contract.··So·that's·the·meeting·with·the·union
18·
  ·maybe it is.··But, I mean, I don't care.··We can act        18·
                                                                 ·representation,·and·it's·kind·of·dialogue·with·the
19·
  ·as if it is, is what I'm saying.                            19·
                                                                 ·flight·attendants·to·get·their·feedback·of·what·took
20·
  · · · · · ·MS. KITSON:··Yeah, and that's fine.··I -- I       20·
                                                                 ·place.
21·
  ·don't think there's anything confidential in it other       21·
                                                                 · · ··Q.· ·Okay.
22·
  ·than if Ms. Brigham wanted to assert that it's              22·
                                                                 ······
                                                                  ·····A.···So·that's·kind·of·the·steps,·correct.
23·
  ·confidential.                                               23·
                                                                 · · ··Q.· ·Okay.··And by "the last occurrence," do you
24·
  · · · · · ·MR. CRONE:··Well, I thought, you know, just       24·
                                                                 ·recall what you're -- you're referring to?··What's
25·
  ·in terms of while we resolved the privilege issue, I        25·
                                                                 ·the occurrence?


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                                                         105                                                            107
·1·
  ······
   ·····A.···The·infraction,·the·date·that·she·had             ·1·
                                                                 ·that directly -- any of that training directly
·2·
  ·missed.                                                     ·2·
                                                                 ·related to the mechanism of how addiction works or
·3·
  · · ··Q.· ·So -- so an absence from work?                    ·3·
                                                                 ·how it should be treated?
·4·
  ······
   ·····A.···An·absence·from·work,·correct.                    ·4·
                                                                 ······
                                                                  ·····A.···Not·to·my·knowledge.
·5·
  · · ··Q.· ·Okay.··And then the -- that last sentence         ·5·
                                                                 · · ··Q.· ·Okay.··I want to hand you a document that's
·6·
  ·there, is that -- where it says, On this one -- so          ·6·
                                                                 ·marked Exhibit 7.··I understand that that's out of
·7·
  ·it's in that same little paragraph.··That's not             ·7·
                                                                 ·order, but I've kind of rearranged things.··And so if
·8·
  ·something the attorney told you, or is that?··I just        ·8·
                                                                 ·we just go out of order a tad, it will -- it will
·9·
  ·want to be really clear.                                    ·9·
                                                                 ·allow me to follow this outline, and it will then, I
10·
  · · · · · ·MS. KITSON:··Where are you?··I'm sorry.           10·
                                                                 ·think, get us out the door quicker today.
11·
  · · · · · ·MR. CRONE:··So right on -- in the same            11·
                                                                 ······
                                                                  ·····A.···Okay.
12·
  ·little "next steps" paragraph.                              12·
                                                                 · · ··Q.· ·So if you don't mind being out of order,
13·
  ······
   ·····A.···Yeah.                                             13·
                                                                 ·let me send this to Danielle.
14·
  · · ··Q.· ·(BY MR. CRONE)··I didn't realize those are        14·
                                                                 · · · · · ·I put Exhibit 7 up here.··There you are.
15·
  ·two separate sentences.··It says, On this one, comma.       15·
                                                                 ·And let me know once you've reviewed that.
16·
  ······
   ·····A.···Yes.                                              16·
                                                                 ······
                                                                  ·····A.···Okay.
17·
  · · ··Q.· ·Is that -- that's your own writing?··The          17·
                                                                 · · ··Q.· ·Okay.··Did you draft Exhibit 7?
18·
  ·attorney didn't tell you that?                              18·
                                                                 ······
                                                                  ·····A.···Excuse·me?
19·
  ······
   ·····A.···Correct.                                          19·
                                                                 · · ··Q.· ·Did you -- did you draft Exhibit 7?
20·
  · · ··Q.· ·Okay.··And so on that one where it says,          20·
                                                                 ······
                                                                  ·····A.···I·did,·yes.
21·
  ·"On this one, let's definitely ensure she has union         21·
                                                                 · · ··Q.· ·And what -- what is that?··What is
22·
  ·representation available," why did you definitely           22·
                                                                 ·Exhibit 7?
23·
  ·want to ensure she had union representation                 23·
                                                                 ······
                                                                  ·····A.···It's·a·response·to·a·grievance·that·was
24·
  ·available?                                                  24·
                                                                 ·filed·through·the·union,·and·this·is·basically·the
25·
  ······
   ·····A.···It's·per·the·contract.··And·so·at·that            25·
                                                                 ·results·of·that·meeting.

                                                         106                                                            108
·1·
  ·point,·because·we·were·beginning·the·steps·as               ·1·
                                                                 · · ··Q.· ·Okay.··And so -- so Ms. Brigham followed --
·2·
  ·outlined·in·the·contract,·we·wanted·to·make·sure·that       ·2·
                                                                 ·or first filed a grievance with the union; is that
·3·
  ·she·had·union·representation.                               ·3·
                                                                 ·correct?
·4·
  · · ··Q.· ·Okay.··So you're just following the terms         ·4·
                                                                 ······
                                                                  ·····A.···When·you·say·"first·filed,"·what·does·that
·5·
  ·of the collective bargaining agreement there?               ·5·
                                                                 ·mean?
·6·
  ······
   ·····A.···Correct.                                          ·6·
                                                                 · · ··Q.· ·So this is -- I'm trying to figure out
·7·
  · · ··Q.· ·Okay.··And the date on the e-mail is              ·7·
                                                                 ·if this is -- this is Frontier's response to
·8·
  ·October 2, 2015; is that correct --                         ·8·
                                                                 ·Ms. Brigham's grievance.··Is that what's happening
·9·
  ······
   ·····A.···Yes.                                              ·9·
                                                                 ·here?
10·
  · · ··Q.· ·-- to your recollection?                          10·
                                                                 ······
                                                                  ·····A.···Yes.
11·
  ······
   ·····A.···That·is·correct,·yes.                             11·
                                                                 · · ··Q.· ·Okay.··And then -- and then -- so what
12·
  · · ··Q.· ·Mr. Arellano, do you have any -- do you           12·
                                                                 ·you're asking for here is Frontier was asking that
13·
  ·have any medical training?                                  13·
                                                                 ·the grievance be denied?··Is that what -- is that
14·
  ······
   ·····A.···In·what·form?                                     14·
                                                                 ·what the purpose of that letter is?
15·
  · · ··Q.· ·Any -- any form at all.                           15·
                                                                 ······
                                                                  ·····A.···No.··It's·more·the·purpose·of·the·results
16·
  ······
   ·····A.···No.                                               16·
                                                                 ·of·that·request.··So·if·we·go·to·Number·1·--
17·
  · · ··Q.· ·No?··What about any training in therapy of        17·
                                                                 · · ··Q.· ·Uh-huh.
18·
  ·any type?                                                   18·
                                                                 ······
                                                                  ·····A.···--·it·was·a·request·communicated·on·the
19·
  ······
   ·····A.···Like·formal·training,·no.                         19·
                                                                 ·grievance·filed.··I'm·not·sure·if·Rebecca·filed·it·or
20·
  · · ··Q.· ·Okay.··Any expertise developed along the          20·
                                                                 ·not,·but·it·was·definitely·on·behalf·of·her·by·the
21·
  ·way on substance abuse or addiction?                        21·
                                                                 ·union.
22·
  ······
   ·····A.···Just·through·the·training·we·received             22·
                                                                 · · ··Q.· ·Okay.
23·
  ·either·through·employment·conferences·or·Web·--·Web         23·
                                                                 ······
                                                                  ·····A.···And·so·the·response·to·that.
24·
  ·conferences·or·Web·training.                                24·
                                                                 · · ··Q.· ·So who is -- who -- who denies or grants
25·
  · · ··Q.· ·Okay.··And was any of that -- was any of          25·
                                                                 ·the grievance?··Was it you or somebody else?


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·1·
  ······
   ·····A.···It's·filed·through·the·union.··So·anytime         ·1·
                                                                 ······
                                                                  ·····A.···Yes.
·2·
  ·there·is·a·result·that·the·flight·attendant·does·not        ·2·
                                                                 · · ··Q.· ·Okay.··And then page 1 to 2 of the
·3·
  ·agree·with,·they·have·the·ability·to·file·the               ·3·
                                                                 ·document, have you seen that?··Do you know what that
·4·
  ·grievance·through·the·union.··And·then·that·then            ·4·
                                                                 ·is?
·5·
  ·comes·to·the·company.                                       ·5·
                                                                 ······
                                                                  ·····A.···Page·2?
·6·
  · · ··Q.· ·And then -- and then does the company             ·6·
                                                                 · · ··Q.· ·Page 1 and 2.
·7·
  ·ultimately decide to grant or deny the grievance, or        ·7·
                                                                 ······
                                                                  ·····A.···Oh,·yes.··That's·the·request·that·then·is
·8·
  ·is there some other party in there?                         ·8·
                                                                 ·elevated·to·the·Assistant·Board·of·Adjustment.
·9·
  ······
   ·····A.···No.··Yeah.··After·the·--·so·we·--·a·meeting       ·9·
                                                                 · · ··Q.· ·Okay.··So if the -- if the employee in this
10·
  ·is·conducted·to·then·discuss·the·grievance,·and·we          10·
                                                                 ·case, Ms. Brigham, doesn't agree with Frontier's
11·
  ·meet·at·the·table·with·the·union.··They·present·their       11·
                                                                 ·position, they can then appeal to this Board of
12·
  ·case.··We·review·the·facts,·all·facts·related.              12·
                                                                 ·Adjustment?
13·
  ···········
   ··········And·then·after·that·--·a·decision·isn't           13·
                                                                 ······
                                                                  ·····A.···That·is·correct.
14·
  ·made·on·the·spot,·but·then·after·the·grievance,·we          14·
                                                                 · · ··Q.· ·Do you know what happened at the Board of
15·
  ·all·collaborate,·review·the·facts·again·of·the·--·the       15·
                                                                 ·Adjustment in this case?
16·
  ·case·and·what·was·presented·at·that·grievance               16·
                                                                 ······
                                                                  ·····A.···That,·I·don't·know.
17·
  ·meeting,·and·then·a·decision·is·rendered.                   17·
                                                                 · · ··Q.· ·Okay.
18·
  · · ··Q.· ·So here, that occurred with Ms. Brigham,          18·
                                                                 ······
                                                                  ·····A.···Even·though·it's·forwarded·to·the·SBAs,
19·
  ·and her grievance was denied?                               19·
                                                                 ·what·we·call·it,·they·determine·if·the·union·wants·to
20·
  ······
   ·····A.···Yes.                                              20·
                                                                 ·proceed·on·their·side.··I·don't·know·if·the·union
21·
  · · ··Q.· ·Okay.··And did you make the decision to           21·
                                                                 ·proceeded·with·it·on·their·end.
22·
  ·deny her grievance, or was it somebody else, or was         22·
                                                                 · · ··Q.· ·Okay.··Okay.
23·
  ·it a team -- excuse me -- a collaborative effort?           23·
                                                                 ······
                                                                  ·····A.···Yeah.
24·
  ······
   ·····A.···It·was·a·collaborative·effort.                    24·
                                                                 · · ··Q.· ·So it becomes -- it's your understanding
25·
  · · ··Q.· ·Do you recall who was in the group?               25·
                                                                 ·that it becomes up to the union at some point to

                                                         110                                                            112
·1·
  ······
   ·····A.···Not·--·not·off·the·bat·right·now.                 ·1·
                                                                 ·decide how far to push it?
·2·
  · · ··Q.· ·But you certainly were?                           ·2·
                                                                 ······
                                                                  ·····A.···That·is·correct.
·3·
  ······
   ·····A.···Yes.                                              ·3·
                                                                 · · ··Q.· ·Okay.··Do you think you've got 20 more
·4·
  · · ··Q.· ·Just to make sure I'm absolutely positive         ·4·
                                                                 ·minutes in you?··We can get to noon and take a lunch
·5·
  ·on how this works, I'm going to hand you -- an even         ·5·
                                                                 ·at noon?
·6·
  ·more out-of-order exhibit.··This one is going to be         ·6·
                                                                 ······
                                                                  ·····A.···I'm·okay·with·that.
·7·
  ·called 17.··Sorry about that.··And let me send it to        ·7·
                                                                 · · ··Q.· ·Okay.··Great.
·8·
  ·Danielle first.                                             ·8·
                                                                 · · · · · ·So let's switch gears here a little bit and
·9·
  · · · · · ·Okay.··And then once you get that, if you         ·9·
                                                                 ·talk about Frontier's policies and procedures related
10·
  ·could take a look at that for me.··I don't know if          10·
                                                                 ·to the ADA, so the Americans With Disabilities Act.
11·
  ·you need to review it in detail.··I just want to ask        11·
                                                                 ······
                                                                  ·····A.···Okay.
12·
  ·you if this is Ms. Brigham's grievance.                     12·
                                                                 · · ··Q.· ·And I just want to ask generally -- and
13·
  · · · · · ·So review it as much as you need to, but          13·
                                                                 ·this is, of course, during the relevant time period,
14·
  ·that -- but that's the question, whether or not this        14·
                                                                 ·so the end of 2011 to the end of 2015.··Generally, if
15·
  ·is Ms. Brigham's grievance, or if you know.                 15·
                                                                 ·Frontier learns that an employee has a disability,
16·
  · · · · · ·I should -- I should direct you to --             16·
                                                                 ·what's the first thing that Frontier does?
17·
  ·Mr. Arellano, I'm sorry.··I should direct you to page       17·
                                                                 ······
                                                                  ·····A.···We·begin·the·interactive·process,·and·that
18·
  ·3 of the document.··That -- my question is if page 3        18·
                                                                 ·means·scheduling·a·--·typically·at·that·time·it·was·a
19·
  ·is her grievance, and then I'll have some other             19·
                                                                 ·face-to-face·meeting·with·the·individual·to·get·more
20·
  ·questions about the --                                      20·
                                                                 ·facts.
21·
  ······
   ·····A.···Page·3?··Okay.                                    21·
                                                                 · · ··Q.· ·So you -- so you start what's called the
22·
  · · ··Q.· ·Sorry about that.                                 22·
                                                                 ·interactive process.··That starts with typically a
23·
  ······
   ·····A.···That·is·the·grievance,·yes.                       23·
                                                                 ·face-to-face meeting?
24·
  · · ··Q.· ·Okay.··Okay.··And then -- so you've seen          24·
                                                                 ······
                                                                  ·····A.···Yeah.
25·
  ·that document before, then, page 3?                         25·
                                                                 · · ··Q.· ·And there you want to gather facts about


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·1·
  ·what exactly?                                               ·1·
                                                                 ·that the end of the -- the process, or is there
·2·
  ······
   ·····A.···Yeah.··Oh,·exactly·what·the·situation·is?         ·2·
                                                                 ·anything else?
·3·
  · · ··Q.· ·Yeah, yeah.··So, what -- yeah, what facts         ·3·
                                                                 ······
                                                                  ·····A.···Oh,·no,·no.··If·--·if·we·do·make·an
·4·
  ·are you after?··What are the important facts?               ·4·
                                                                 ·accommodation,·it's·constant·follow-up·with·the
·5·
  ······
   ·····A.···Ultimately,·when·they·have·a·disability,          ·5·
                                                                 ·individual,·with·the·department,·to·make·sure·that
·6·
  ·we're·trying·to·see·what·it·is·that·they're·seeking,        ·6·
                                                                 ·nothing·has·changed·--
·7·
  ·what·is·their·request·if·they·have·a·request,·and           ·7·
                                                                 · · ··Q.· ·Okay.
·8·
  ·basically·just·truly·gather·information.                    ·8·
                                                                 ······
                                                                  ·····A.···--·and·making·sure·the·manager·is·being
·9·
  · · ··Q.· ·Okay.                                             ·9·
                                                                 ·compliant·with·what·is·recommended.··So·there's
10·
  ······
   ·····A.···Yeah.                                             10·
                                                                 ·constant·follow-up·with·the·employee.
11·
  · · ··Q.· ·Okay.··Then what happens next?                    11·
                                                                 · · ··Q.· ·Okay.
12·
  ······
   ·····A.···At·that·point,·we·then·determine,·based·on        12·
                                                                 ······
                                                                  ·····A.···Yeah.
13·
  ·their·request·--·again,·we·have·to·evaluate·what            13·
                                                                 · · ··Q.· ·Is this the process that was followed with
14·
  ·specifically·that·they're·seeking,·and·then·offer           14·
                                                                 ·Ms. Brigham?
15·
  ·recommendations.                                            15·
                                                                 ······
                                                                  ·····A.···I·do·believe·so.
16·
  ···········
   ··········But·before·we·do·that,·we·always·reveal·--        16·
                                                                 · · ··Q.· ·Do you know, did -- did Frontier become
17·
  ·or·review·what·we·obtained·from·that·meeting·with·the       17·
                                                                 ·aware of Ms. Brigham's disability, or did Ms. Brigham
18·
  ·folks·on·the·HR·side·--                                     18·
                                                                 ·make Frontier aware of her disability?
19·
  · · ··Q.· ·Uh-huh.                                           19·
                                                                 ······
                                                                  ·····A.···And·when·you·say·"Frontier,"·you're
20·
  ······
   ·····A.···--·and·determine·what·can·be·done,·if             20·
                                                                 ·referring·to·my·knowledge?··Their·--·her·supervisors?
21·
  ·anything.                                                   21·
                                                                 ·Managers?··Or·in·general?
22·
  · · ··Q.· ·Okay.··And then at that point, did --             22·
                                                                 · · ··Q.· ·Good question.··Any -- any of her -- anyone
23·
  ·does -- can it go different ways?··So is that -- or I       23·
                                                                 ·supervisory to her -- to Ms. Brigham at Frontier.
24·
  ·should just ask you what -- what -- what happens            24·
                                                                 ······
                                                                  ·····A.···I·believe,·if·--·if·I·recall·conversations
25·
  ·after that?                                                 25·
                                                                 ·with·Rebecca,·Ms.·Brigham,·she·did·disclose·that·she

                                                         114                                                            116
·1·
  ······
   ·····A.···After·the·review?                                 ·1·
                                                                 ·had·shared·her·disability·with·her·supervisors.··Some
·2·
  · · ··Q.· ·Yeah, yeah.                                       ·2·
                                                                 ·of·her·supervisors,·not·all.··I·think·three·specific.
·3·
  ······
   ·····A.···We·then·go·back·to·the·employee,·have,            ·3·
                                                                 · · ··Q.· ·Do you recall who?
·4·
  ·again,·another·conversation,·see·if·anything's              ·4·
                                                                 ······
                                                                  ·····A.···It·would·have·been·--·we·called·her·JJ,·but
·5·
  ·changed·from·the·time·of·the·intake·meeting,·see·if         ·5·
                                                                 ·JaJuan·is·her·name,·Williams,·Stefanie·Coppedge,·and
·6·
  ·there's·any·new·information·that·we·need·to·take·into       ·6·
                                                                 ·Jeff,·and·I'm·blanking·on·his·name.
·7·
  ·consideration,·and·then·hopefully·address·any               ·7·
                                                                 · · ··Q.· ·But Jeff is the first name?
·8·
  ·concerns·or·questions·they·may·have.                        ·8·
                                                                 ······
                                                                  ·····A.···Jeff·is·the·first·name,·yeah.
·9·
  · · ··Q.· ·Does -- and then after that, what happens?        ·9·
                                                                 · · ··Q.· ·Yeah.··Okay.
10·
  ······
   ·····A.···After·that,·if·we·are·making·an                   10·
                                                                 · · · · · ·MS. BRIGHAM:··Last name Farney.
11·
  ·accommodation,·we'll·work·with·the·hiring·manager           11·
                                                                 · · · · · ·MR. CRONE:··Ah, thank you.
12·
  ·or·we'll·work·with·their·manager,·we'll·work·with           12·
                                                                 · · · · · ·THE WITNESS:··Yeah, Farney.
13·
  ·their·department·and·make·sure·that·what·we·agree·to        13·
                                                                 · · · · · ·MR. CRONE:··Okay.
14·
  ·in·terms·of·an·accommodation·--·that·they're·able·to        14·
                                                                 · · · · · ·MS. BRIGHAM:··And I also had talked to
15·
  ·roll·that·out·and·make·sure·that·it's·implemented·and       15·
                                                                 ·Fadia.
16·
  ·followed.                                                   16·
                                                                 · · · · · ·MR. CRONE:··Hey -- hey, Rebecca --
17·
  ···········
   ··········If·there·is·no·accommodation·or·if·there·is       17·
                                                                 · · · · · ·THE WITNESS:··What?
18·
  ·no·agreement,·then·we·close·out·the·case.                   18·
                                                                 · · · · · ·MR. CRONE:··-- it's -- it's not your turn
19·
  · · ··Q.· ·And then is that the end of the process, or       19·
                                                                 ·to testify today.
20·
  ·is there any more to it?                                    20·
                                                                 · · · · · ·MS. BRIGHAM:··Oh.
21·
  ······
   ·····A.···In·what·form,·I·guess?                            21·
                                                                 · · · · · ·MR. CRONE:··Thanks for --
22·
  · · ··Q.· ·Just after -- so if you make the                  22·
                                                                 · · · · · ·MS. BRIGHAM:··Sorry.
23·
  ·accommodation, you said you'll work with a -- a             23·
                                                                 · · · · · ·MR. CRONE:··No, you're okay.··Thanks for
24·
  ·manager to implement it and make sure it's followed.        24·
                                                                 ·getting the last name in there.··That's appreciated.
25·
  ·If there isn't, you close out the case, and then is         25·
                                                                 ·But you'll get -- you'll get your turn.


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                                                         117                                                            119
·1·
  · · ··Q.· ·(BY MR. CRONE)··Okay.··So the last name was       ·1·
                                                                 ·made a request to Frontier to be transferred to the
·2·
  ·correct that -- that -- that Rebecca --                     ·2·
                                                                 ·GO or headquarters as a reasonable accommodation?
·3·
  ······
   ·····A.···Yeah.··Farney,·yeah.                              ·3·
                                                                 · · · · · ·MS. KITSON:··Asked and answered.
·4·
  · · ··Q.· ·Okay.                                             ·4·
                                                                 · · · · · ·You can answer.
·5·
  ······
   ·····A.···And·I·guess·Fadia·Daphis,·too,·then.              ·5·
                                                                 · · · · · ·THE WITNESS:··Oh.
·6·
  · · ··Q.· ·Okay.··Yeah.··Well, then -- perfect.              ·6·
                                                                 ······
                                                                  ·····A.···A·request·to·transfer·to·the·GO?··That,·I
·7·
  · · · · · ·And then so after Ms. Brigham shared this         ·7·
                                                                 ·don't·know.··I·know·she·requested·to·see·if·there's
·8·
  ·with her supervisors, then the process that you just        ·8·
                                                                 ·other·responsibilities·that·she·could·do·instead·of
·9·
  ·described to me is -- is -- is what happened?               ·9·
                                                                 ·flying.··I·don't·know·if·it·was·specific·to·the·GO.
10·
  ······
   ·····A.···No.··That·--·at·that·point,·I'm·not·sure          10·
                                                                 · · ··Q.· ·(BY MR. CRONE)··But a different --
11·
  ·exactly·how·long·the·supervisors·were·aware·or·when         11·
                                                                 ·different position, in any event, than a flight
12·
  ·they·were·notified.··It·was·just·when·it·was·brought        12·
                                                                 ·attendant?
13·
  ·to·my·attention·by·Rebecca.                                 13·
                                                                 ······
                                                                  ·····A.···I·don't·know·if·different·position;·just
14·
  · · ··Q.· ·Okay.                                             14·
                                                                 ·different·duties.
15·
  ······
   ·····A.···Yes.                                              15·
                                                                 · · ··Q.· ·Okay.··And was it Frontier's position,
16·
  · · ··Q.· ·So you -- so you think there might have           16·
                                                                 ·then -- I think you testified before last break that
17·
  ·been some gap between them being notified and this          17·
                                                                 ·it's Frontier's position that that would violate the
18·
  ·interactive process beginning?                              18·
                                                                 ·collective bargaining agreement?
19·
  ······
   ·····A.···That,·I·don't·know.··I·really·don't·know          19·
                                                                 · · · · · ·MS. KITSON:··Objection.
20·
  ·the·time·frame·associated·with·--                           20·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Is that correct?
21·
  · · ··Q.· ·Okay.                                             21·
                                                                 · · · · · ·MS. KITSON:··Misstates prior testimony.
22·
  ······
   ·····A.···Or·the·time·then,·yeah.                           22·
                                                                 · · · · · ·THE REPORTER:··I'm sorry; I didn't hear the
23·
  · · ··Q.· ·But at some point it did occur, the               23·
                                                                 ·objection.
24·
  ·interactive process?                                        24·
                                                                 · · · · · ·MS. KITSON:··Misstates prior testimony.
25·
  ······
   ·····A.···Oh,·yes,·100·percent.                             25·
                                                                 · · · · · ·THE REPORTER:··Thank you.

                                                         118                                                            120
·1·
  · · ··Q.· ·Okay.··Are there -- are there any -- so the       ·1·
                                                                 · · ··Q.· ·(BY MR. CRONE)··And -- and I don't want to
·2·
  ·interactive process, as -- as you've described it to        ·2·
                                                                 ·misstate your testimony, so that's why I'm just
·3·
  ·me, are there any reasons for Frontier to deviate           ·3·
                                                                 ·asking the question.
·4·
  ·from following that process?                                ·4·
                                                                 · · · · · ·Is -- did -- did Frontier believe that a
·5·
  ······
   ·····A.···In·--·in·what·form?                               ·5·
                                                                 ·transfer of duties, maybe -- I mean, you're just
·6·
  · · ··Q.· ·Are -- are there any employees with               ·6·
                                                                 ·saying it -- maybe it wasn't necessarily to the GO,
·7·
  ·certain, you know, issues or disabilities or                ·7·
                                                                 ·but a -- but a -- a reassignment of duties would
·8·
  ·requested accommodations?··Just any reason at all why       ·8·
                                                                 ·violate the collective bargaining agreement?
·9·
  ·Frontier might deviate from following the interactive       ·9·
                                                                 ······
                                                                  ·····A.···Give·me·a·second.··I'm·trying·to·.·.·.
10·
  ·process as -- as you've outlined it?                        10·
                                                                 · · ··Q.· ·That's fine.
11·
  ······
   ·····A.···Not·to·my·knowledge,·no.··I·mean,·one             11·
                                                                 ······
                                                                  ·····A.···It's·--·it's·hard·to·answer·this·question
12·
  ·thing·that·we·--·we're·just·having·to·take·into             12·
                                                                 ·because·--·not·"reassignment·of·duties."··It's·what
13·
  ·consideration·the·collective·bargaining·agreement.          13·
                                                                 ·she·was·requesting·is·more·specific.··That·was·only
14·
  ·But·outside·of·that,·all·cases·are·typically·handled        14·
                                                                 ·specific·to·the·work·comp·department·and·OGI.
15·
  ·the·same.                                                   15·
                                                                 ···········
                                                                  ··········So·to·say·"reassignment·of·duties,"·it's·--
16·
  · · ··Q.· ·Okay.··Taking into consideration the              16·
                                                                 ·it's·just·--·it's·hard·to·answer·that.··That's·the
17·
  ·collective bargaining agreement, is -- when you say         17·
                                                                 ·position.··It's·more·so·--·she·wasn't·on·work·comp,
18·
  ·that, are you -- do you mean whether or not Frontier        18·
                                                                 ·so·when·the·request·came·through,·it·was·hard·to
19·
  ·can comply with the request the employee may have           19·
                                                                 ·honor·that·request·when·she,·technically,·wasn't·in
20·
  ·made or whether or not Frontier can come up with a --       20·
                                                                 ·the·work·comp·program.
21·
  ·with a possible solution for the employee, or both?         21·
                                                                 · · ··Q.· ·Okay.··But by "hard to honor," do you mean
22·
  ······
   ·····A.···It's·more·with·--·complying·with·the              22·
                                                                 ·it would violate the collective bargaining agreement
23·
  ·request.                                                    23·
                                                                 ·to honor the request, or it was just hard to do it?
24·
  · · ··Q.· ·And so in this case, with respect to Ms. --       24·
                                                                 ······
                                                                  ·····A.···Again,·it's·a·complicated·question.··How·we
25·
  ·Ms. Brigham's request, did you understand her to have       25·
                                                                 ·define·eligible·and·not·eligible·is·based·on·their


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                                                         121                                                            123
·1·
  ·active·status·as·deemed·by·the·HR·department.               ·1·
                                                                 ·program,·two·cases,·because·she·wasn't·--·she·hadn't
·2·
  ···········
   ··········Active·status·is·anybody·not·on·a                 ·2·
                                                                 ·sustained·an·injury·that·removed·her·from·service,
·3·
  ·continuous·leave·of·absence.··And·so·in·Rebecca's           ·3·
                                                                 ·and·the·other·piece·is·it·was·only·awarded·to
·4·
  ·case,·she·was·considered·to·be·active,·and·so·--·and,       ·4·
                                                                 ·those·--·that·--·reassignment·was·only·offered·to
·5·
  ·therefore,·then·that·triggers·rules·and·regulations         ·5·
                                                                 ·individuals·on·a·work·comp·status.
·6·
  ·associated·with·bidding·in·the·contract.                    ·6·
                                                                 · · ··Q.· ·Okay.··Okay.
·7·
  ···········
   ··········And·so·in·that·moment·was·she·eligible·to         ·7·
                                                                 ······
                                                                  ·····A.···It·all·determines·on·that·status·of·the
·8·
  ·bid·for·a·regular·site?··No,·because·she·had·a·bid          ·8·
                                                                 ·individual.··It's·hard·to·--
·9·
  ·for·a·line·of·flying.··And·so·how·--·we·have·to·carve       ·9·
                                                                 · · ··Q.· ·Okay.
10·
  ·out·that·question·to·--·to·then·take·a·position.            10·
                                                                 ······
                                                                  ·····A.···So·yeah.
11·
  · · ··Q.· ·Yeah, but was she -- but was she requesting       11·
                                                                 · · ··Q.· ·Yeah, and I think -- I think we're covering
12·
  ·to bid differently?··I -- I -- I was asking about the       12·
                                                                 ·some ground we already covered, so I think we --
13·
  ·request to -- to work at the GO instead of her normal       13·
                                                                 ·we've closed that loop.
14·
  ·duties, so to be reassigned.                                14·
                                                                 ······
                                                                  ·····A.···Okay.
15·
  ······
   ·····A.···Yeah,·but·you·were·asking·if·it·was·a             15·
                                                                 · · ··Q.· ·I -- I appreciate the explanation.
16·
  ·violation·of·the·contract.                                  16·
                                                                 ······
                                                                  ·····A.···Yeah.
17·
  · · ··Q.· ·Correct.                                          17·
                                                                 · · ··Q.· ·I -- the last question on -- on this topic:
18·
  ······
   ·····A.···And·so·in·order·for·me·to·respond,·at·that        18·
                                                                 ·When -- in the interactive process that you outlined
19·
  ·moment,·she·was·considered·an·active·employee.              19·
                                                                 ·for me --
20·
  · · ··Q.· ·Okay.                                             20·
                                                                 ······
                                                                  ·····A.···Yeah.
21·
  ······
   ·····A.···So·as·an·active·employee,·she·had·to·then         21·
                                                                 · · ··Q.· ·-- and you had said, you know, we have to
22·
  ·follow·the·requirements·of·eligible·to·bid·in·order         22·
                                                                 ·take into consideration the CBA, is that what you're
23·
  ·to·bid·for·a·line.··So·in·that·point,·it·made·her·not       23·
                                                                 ·talking about, what you just described here?··So
24·
  ·eligible·for·a·temporary·ground·assignment.··And·so         24·
                                                                 ·you -- you looked at Ms. Brigham's request, and then
25·
  ·it's·not·--·it's·hard·for·me·to·answer·yes·or·no·to         25·
                                                                 ·the issue with the work comp and OJI is taking into

                                                         122                                                            124
·1·
  ·that·question.                                              ·1·
                                                                 ·consideration the collective bargaining agreement; is
·2·
  · · ··Q.· ·Yeah, and -- and I appreciate you taking          ·2·
                                                                 ·that fair?
·3·
  ·the time to explain it.··And -- and so that -- I            ·3·
                                                                 ······
                                                                  ·····A.···In·--·in·one·moment·--·in·one·factor,·I
·4·
  ·guess I still want to -- I want to zero in on this,         ·4·
                                                                 ·should·say,·but·it's·also·looking·at·her·status.
·5·
  ·though.                                                     ·5·
                                                                 ·We·have·to·look·at·her·status·to·make·that
·6·
  · · · · · ·So is that -- would that have violated --         ·6·
                                                                 ·determination.··And·her·status·goes,·then,·back·to
·7·
  ·so not being eligible to bid on a temporary ground          ·7·
                                                                 ·the·contract.··If·she's·an·active·employee·per·the
·8·
  ·assignment, would that violate the CBA, or is -- or         ·8·
                                                                 ·collective·bargaining·agreement,·she's·required·to
·9·
  ·is it a policy or something?··I'm trying to figure          ·9·
                                                                 ·submit·a·bid.
10·
  ·out why she couldn't do it.                                 10·
                                                                 · · ··Q.· ·Okay.
11·
  ······
   ·····A.···Yeah.··So·it·would,·in·that·case·--·since         11·
                                                                 ······
                                                                  ·····A.···And·if·she·then·doesn't·submit·a·bid,·then
12·
  ·she's·eligible·to·bid·and·she·didn't·submit·the·bid,        12·
                                                                 ·other·pieces·then·kick·in.··And·so·it's·kind·of·a·--
13·
  ·then·that·then·triggers·other·pieces·of·the·contract.       13·
                                                                 ·that's·how·we·need·to·determine·--·it·all·goes·back
14·
  ·So·with·every·piece·of·the·contract,·there's·a              14·
                                                                 ·to·what·was·her·status·at·the·time?
15·
  ·tentacle·attached·to·it.··One·leads·to·another.             15·
                                                                 · · ··Q.· ·Yeah.
16·
  · · ··Q.· ·Uh-huh.                                           16·
                                                                 ······
                                                                  ·····A.···So·if·she·was·on·intermittent·FMLA·leave,
17·
  ······
   ·····A.···And·so·the·request·isn't·as·simple·as,·Is         17·
                                                                 ·she·was·not·considered·to·be·on·a·leave·of·absence;
18·
  ·she·eligible·for·this?··We·then·have·to·kind·of             18·
                                                                 ·therefore,·making·her·an·active·individual,·an·active
19·
  ·dissect.··We·have·to·look·at·the·contract·and·what·--       19·
                                                                 ·bidder.
20·
  ·what·her·status·was·at·that·time.                           20·
                                                                 · · ··Q.· ·Okay.··Do you happen to know -- can you
21·
  ···········
   ··········She·was·an·active·employee,·thus,·not             21·
                                                                 ·recall what other provisions of the collective
22·
  ·making·her·eligible·for·a·--·any·type·of·--·of              22·
                                                                 ·bargaining agreement are then triggered by this
23·
  ·temporary·ground·assignment·because·she·was                 23·
                                                                 ·request?
24·
  ·considered·active,·if·that·makes·sense.                     24·
                                                                 ······
                                                                  ·····A.···Yes.··The·--·basically,·it·comes·out·to
25·
  ···········
   ··········So·she·was·ineligible·for·the·work·comp           25·
                                                                 ·eligible·to·bid.··If·she's·eligible·to·bid,·then·at


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                                                         125                                                            127
·1·
  ·that·point·she's·required·to·then·follow·the·rules          ·1·
                                                                 ······
                                                                  ·····A.···Okay.
·2·
  ·and·regulations·associated·with·bidding.                    ·2·
                                                                 · · ··Q.· ·-- and I think that will -- that will get
·3·
  ···········
   ··········Now,·if·she·elected·not·to·bid,·then              ·3·
                                                                 ·us to lunch and put us in good shape to -- to still
·4·
  ·there's·what·they·call·the·default·bid.··If·she·had·a       ·4·
                                                                 ·get done in the midafternoon instead of evening --
·5·
  ·default·bid,·that·would·then·kick·in.··If·she·did·not       ·5·
                                                                 ······
                                                                  ·····A.···Okay.
·6·
  ·have·a·default·bid,·then·she·was·assigned·a                 ·6·
                                                                 · · ··Q.· ·-- hopefully.
·7·
  ·schedule·--                                                 ·7·
                                                                 · · · · · ·So for flight attendants such as
·8·
  · · ··Q.· ·Okay.                                             ·8·
                                                                 ·Rebecca Brigham during the relevant time period,
·9·
  ······
   ·····A.···--·whether·she·bid·for·one·or·not.··And           ·9·
                                                                 ·does Frontier maintain a -- a personnel file on those
10·
  ·that·was·then·determined·by·what·was·left,·what·was         10·
                                                                 ·employees?
11·
  ·not·bid·for·anybody.··Then·the·scheduling·department        11·
                                                                 ······
                                                                  ·····A.···Yes.
12·
  ·then·puts·together·a·schedule·for·her.                      12·
                                                                 · · ··Q.· ·Do you know what's in a -- in one of those
13·
  · · ··Q.· ·Okay.                                             13·
                                                                 ·personnel files?
14·
  ······
   ·····A.···Yes.                                              14·
                                                                 ······
                                                                  ·····A.···Are·you·just·referring·to·a·personnel·file
15·
  · · ··Q.· ·So could she bid, then -- so when she's           15·
                                                                 ·in·general,·the·HR·personnel·file?
16·
  ·active, could she -- could she -- just setting aside        16·
                                                                 · · ··Q.· ·Yeah, yeah.··Just that.··Do you know -- do
17·
  ·the disability and all of that, just in a normal day,       17·
                                                                 ·you know what documents are stored in there?
18·
  ·could she bid for a temporary ground assignment             18·
                                                                 ······
                                                                  ·····A.···Yeah.··We·would·include·anything·collected
19·
  ·whenever she wanted?                                        19·
                                                                 ·during·the·employment·process:·driver's·license,·any
20·
  ······
   ·····A.···No.··That·was·not·part·of·the·process.            20·
                                                                 ·certification·provided,·résumé.
21·
  ·It's·not·a·--·it's·not·a·bid·for·it.                        21·
                                                                 ···········
                                                                  ··········It·would·include·any·disciplinary
22·
  · · ··Q.· ·So when she asks to be reassigned to the          22·
                                                                 ·notifications,·if·anything·were·registered·throughout
23·
  ·GO, this isn't something she could have just done           23·
                                                                 ·their·tenure·with·the·company.··Any·performance
24·
  ·through this bidding process anyway; is that correct?       24·
                                                                 ·appraisals,·if·anything·was·administered,·would·be·in
25·
  ······
   ·····A.···Correct.··It's·not·outlined·in·the                25·
                                                                 ·that·file.

                                                         126                                                            128
·1·
  ·collective·bargaining·agreement.                            ·1·
                                                                 ···········
                                                                  ··········Social·security·card,·I·think,·would·be·in
·2·
  · · ··Q.· ·So the -- so the process that you're --           ·2·
                                                                 ·there·if·we·were·presented·one·during·the·employment
·3·
  ·that you just described didn't really prevent her           ·3·
                                                                 ·process.··And·I·believe·that·would·be·it·in·terms·of
·4·
  ·from asking to be reassigned to the GO, at least            ·4·
                                                                 ·personnel·file.
·5·
  ·through the process that was available under the            ·5·
                                                                 · · ··Q.· ·Okay.··What about in Ms. Brigham's case
·6·
  ·collective bargaining agreement, that is, the bidding       ·6·
                                                                 ·where she made a self-disclosure and then the
·7·
  ·process?                                                    ·7·
                                                                 ·subsequent reasonable accommodation process occurred
·8·
  ······
   ·····A.···I'm·not·understanding·the·question.               ·8·
                                                                 ·that we discussed?··Would that be in the file, or
·9·
  · · ··Q.· ·So her -- so her -- she couldn't have             ·9·
                                                                 ·would that be somewhere else?
10·
  ·requested to be reassigned to the GO through the            10·
                                                                 ······
                                                                  ·····A.···That·would·be·somewhere·else.
11·
  ·bidding process?··That wasn't possible, correct?            11·
                                                                 · · ··Q.· ·Where would that -- where would those types
12·
  ······
   ·····A.···No,·but·she·did·request·it·via·in·person          12·
                                                                 ·of documents be stored?
13·
  ·when·she·and·I·spoke.··So·she·did·request·it,·but·not       13·
                                                                 ······
                                                                  ·····A.···I·believe·that·might·be·--·so·the
14·
  ·through·the·bidding·process,·correct.                       14·
                                                                 ·compliance·department·at·that·time·had·their·own
15·
  · · ··Q.· ·Okay.··Okay.··And then -- and so she made         15·
                                                                 ·tracking·method·because·they·were·considered·DOT,·and
16·
  ·that request face to face with you?                         16·
                                                                 ·so·during·an·audit,·they·had·to·account·for·any
17·
  ······
   ·····A.···Yes,·I·do·recall·that.                            17·
                                                                 ·records,·things·of·that·nature,·so·they·would·be
18·
  · · ··Q.· ·What about her request for a modified             18·
                                                                 ·filed·within·the·compliance·files,·which·were·under
19·
  ·schedule?··Did she make that face to face with you,         19·
                                                                 ·secured·lock·and·key,·per·DOT·regulations.
20·
  ·or was that made some other way?                            20·
                                                                 · · ··Q.· ·Okay.
21·
  ······
   ·····A.···I·believe·she·did,·had·--·in·that·same            21·
                                                                 ······
                                                                  ·····A.···So·those·were·kept·separate·from·the
22·
  ·conversation·had·asked·that·she·could·only·bid·a            22·
                                                                 ·personnel·file.
23·
  ·certain·type·of·trip.··So·yes.                              23·
                                                                 · · ··Q.· ·Okay.··Do you know how long the -- those
24·
  · · ··Q.· ·Okay.··I've got a couple of quick questions       24·
                                                                 ·secured lock-and-key DOT files -- do you know how
25·
  ·in a different ballpark --                                  25·
                                                                 ·long they're maintained?


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                                                         129                                                            131
·1·
  ······
   ·····A.···They're·kept·in·place·during·the·tenure·of        ·1·
                                                                 ·Ms. Brigham's supervisors, so the org chart we looked
·2·
  ·the·individual.··That's·--·that's·all·I·know·right          ·2·
                                                                 ·at, and, you know, we sort of went through that
·3·
  ·now,·yeah.                                                  ·3·
                                                                 ·structure.··I'm just talking about those people,
·4·
  · · ··Q.· ·Do you know if -- if all of that                  ·4·
                                                                 ·okay?
·5·
  ·information that would have been in the lock-and-key        ·5·
                                                                 ······
                                                                  ·····A.···Okay.
·6·
  ·file with regard to Ms. Brigham -- do you know if           ·6·
                                                                 · · ··Q.· ·How, generally, do members of that
·7·
  ·it's been disclosed in this lawsuit?                        ·7·
                                                                 ·management team, if it's fair to call them that,
·8·
  ······
   ·····A.···I·believe·so,·yes.                                ·8·
                                                                 ·communicate?··Is it by e-mail? verbally?··Something
·9·
  · · ··Q.· ·So nothing -- nothing was lost or destroyed       ·9·
                                                                 ·else?
10·
  ·after she -- after Ms. Brigham was terminated?              10·
                                                                 ······
                                                                  ·····A.···Both.··Both·e-mail·or·verbally,·by·phone.
11·
  ······
   ·····A.···Not·to·my·knowledge,·no.                          11·
                                                                 · · ··Q.· ·Okay.··And for everything that -- for all
12·
  · · · · · ·MR. CRONE:··Okay.··I think, unless anybody        12·
                                                                 ·communications that are done by e-mail, are those
13·
  ·disagrees, we made it to lunch.                             13·
                                                                 ·e-mails saved by Frontier?
14·
  · · · · · ·Danielle, do you want to take a full hour,        14·
                                                                 ······
                                                                  ·····A.···They're·saved·as·part·of·the·--·yeah,·when
15·
  ·or do you want -- I could -- I could probably do 45         15·
                                                                 ·you·send·an·e-mail,·it·goes·into·your·"sent,"·things
16·
  ·minutes, if you really want to.                             16·
                                                                 ·of·that·nature.
17·
  · · · · · ·MS. KITSON:··I'm going to defer to Jerry.         17·
                                                                 · · ··Q.· ·Okay.··And what about, are verbal
18·
  · · · · · ·How long do you want to take?                     18·
                                                                 ·communications ever documented after the fact in
19·
  · · · · · ·THE WITNESS:··I'm good whichever.                 19·
                                                                 ·a memorandum or something like that?
20·
  · · · · · ·MS. KITSON:··Okay.··Let's just take an            20·
                                                                 ······
                                                                  ·····A.···By·supervisors?
21·
  ·hour.                                                       21·
                                                                 · · ··Q.· ·Yes.
22·
  · · · · · ·MR. CRONE:··Okay.··Okay.··So we -- we can         22·
                                                                 ······
                                                                  ·····A.···That,·I·don't·know.··I·don't·know·if
23·
  ·go off the record.··Sorry; I should have mentioned          23·
                                                                 ·they·.·.·.
24·
  ·that.··And I'll see you at 1:00.                            24·
                                                                 · · ··Q.· ·Okay.··And are there any -- you know, apart
25·
  · · · · · ·THE VIDEOGRAPHER:··The time now is 11:58.         25·
                                                                 ·from e-mail communications and verbal communications,

                                                         130                                                            132
·1·
  ·We're off the record.                                       ·1·
                                                                 ·is there any other way that the management team would
·2·
  · · · · · ·(Recess from 11:58 a.m. to 12:56 p.m.)            ·2·
                                                                 ·typically communicate?··So I'm not asking for some
·3·
  · · · · · ·THE VIDEOGRAPHER:··The time now is 12:56.         ·3·
                                                                 ·weird, random, one day somebody used a messenger or a
·4·
  ·We're back on the record.                                   ·4·
                                                                 ·pigeon for fun.··I just mean the -- the regular
·5·
  · · · · · ·MR. CRONE:··Thank you.                            ·5·
                                                                 ·course of business.
·6·
  · · ··Q.· ·(BY MR. CRONE)··So, Mr. Arellano, I think         ·6·
                                                                 ······
                                                                  ·····A.···Can·you·explain?··I'm·lost.
·7·
  ·we all got back from lunch.··Were you able to get           ·7·
                                                                 · · ··Q.· ·Yeah.··Might -- might somebody use, say, a
·8·
  ·a -- a break and chance to eat something?                   ·8·
                                                                 ·text message or something like that?
·9·
  ······
   ·····A.···Definitely.                                       ·9·
                                                                 ······
                                                                  ·····A.···That,·I·don't·know.··I·mean,·back·then,·I
10·
  · · ··Q.· ·Good.··And I just want to reiterate again,        10·
                                                                 ·don't·know·if·our·phones·had·text·capabilities,
11·
  ·if there are any issues, in your mind, related to           11·
                                                                 ·but·--·yeah.
12·
  ·sitting in a room with other people, please let me          12·
                                                                 · · ··Q.· ·Okay.··Do -- does Frontier issue company
13·
  ·know.··I don't want you to be there if you don't want       13·
                                                                 ·phones to management personnel?
14·
  ·to be.                                                      14·
                                                                 ······
                                                                  ·····A.···No.
15·
  ······
   ·····A.···Okay.··Thank·you.                                 15·
                                                                 · · ··Q.· ·No.··Okay.··So now we're going to -- now
16·
  · · ··Q.· ·Okay.··And when we left off, I was asking         16·
                                                                 ·we're going to switch gears a bit, and I want to ask
17·
  ·you some questions about documents, the personnel           17·
                                                                 ·you some questions that hopefully will allow you to
18·
  ·file and such.··Do -- do you remember those                 18·
                                                                 ·explain to me sort of the circumstances surrounding
19·
  ·questions?                                                  19·
                                                                 ·other employees, employees not necessarily being
20·
  ······
   ·····A.···Yes,·I·do.                                        20·
                                                                 ·Rebecca Brigham --
21·
  · · ··Q.· ·So I have a few more similar questions            21·
                                                                 ······
                                                                  ·····A.···Okay.
22·
  ·related to how members of management at Frontier            22·
                                                                 · · ··Q.· ·-- and reasonable accommodations they
23·
  ·communicated during the relevant time period.               23·
                                                                 ·sought and those types of things.
24·
  ······
   ·····A.···Okay.                                             24·
                                                                 ······
                                                                  ·····A.···Okay.
25·
  · · ··Q.· ·I'm also only asking questions about              25·
                                                                 · · ··Q.· ·So I'm going to hand you, via -- you know,


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                                                         133                                                            135
·1·
  ·via Zoom here, a document that was disclosed in the         ·1·
                                                                 · · ··Q.· ·Okay.··Okay.··So if you look at the 2020
·2·
  ·virtual binder.                                             ·2·
                                                                 ·tab, and there's -- there's an employee name at
·3·
  ······
   ·····A.···Okay.                                             ·3·
                                                                 ·the -- in the Last and First Name.··It says
·4·
  · · · · · ·MR. CRONE:··And so I think, unless the            ·4·
                                                                 ·Minnie Mouse.··Is this a real employee, or is this an
·5·
  ·court reporter corrects me, I think we could mark           ·5·
                                                                 ·example?
·6·
  ·this one 2-1, unless -- do we already have a 2-1?           ·6·
                                                                 ······
                                                                  ·····A.···Example.
·7·
  · · · · · ·THE REPORTER:··I'll have to look.··Sorry.         ·7·
                                                                 · · ··Q.· ·Okay.··Got it.··Okay.··Good.
·8·
  ·I don't --                                                  ·8·
                                                                 · · · · · ·And so I want to look at the 2012 tab, if
·9·
  · · · · · ·MR. CRONE:··That's okay.··I just -- for           ·9·
                                                                 ·you can navigate to the 2012 tab.
10·
  ·some reason, I don't remember if we did.                    10·
                                                                 ······
                                                                  ·····A.···Okay.
11·
  · · · · · ·THE VIDEOGRAPHER:··I have a 2-1 marked.           11·
                                                                 · · ··Q.· ·Okay.··And my question here, first, is is
12·
  · · · · · ·THE REPORTER:··Yeah, I was going to say, I        12·
                                                                 ·there a -- is there a document like this that covers
13·
  ·thought so too.··Yes.                                       13·
                                                                 ·the latter part of 2011?
14·
  · · · · · ·MR. CRONE:··This will be 2-2.··Sorry about        14·
                                                                 ······
                                                                  ·····A.···I·would·have·to·check.··That,·I·don't·know
15·
  ·that.                                                       15·
                                                                 ·offhand.
16·
  · · · · · ·And, Danielle, this is Tab 71 in the              16·
                                                                 · · ··Q.· ·Okay.
17·
  ·virtual binder.                                             17·
                                                                 ······
                                                                  ·····A.···Yeah.
18·
  · · · · · ·MS. KITSON:··Okay.                                18·
                                                                 · · ··Q.· ·And looking at the 2012 tab, at Line 5 --
19·
  · · · · · ·MR. CRONE:··Okay.··And I will send this           19·
                                                                 ·or excuse me -- Line 5, there's an employee named
20·
  ·over.                                                       20              .··Are -- do you see where I'm looking
21·
  · · ··Q.· ·(BY MR. CRONE)··So that's on its way to           21·
                                                                 ·at there?
22·
  ·you, Mr. Arellano.··It's an Excel spreadsheet.··Let         22·
                                                                 ······
                                                                  ·····A.···Yes.
23·
  ·me know when you have it opened.                            23·
                                                                 · · ··Q.· ·Okay.··So I want to make sure I understand
24·
  ······
   ·····A.···Okay.··It's·open.                                 24·
                                                                 ·how this works.··So if I look at her row, which is
25·
  · · ··Q.· ·Okay.··And is this one of the documents you       25·
                                                                 ·Line 5, and then I start to scroll over to the

                                                         134                                                            136
·1·
  ·reviewed in preparation for today's deposition?             ·1·
                                                                 ·right --
·2·
  ······
   ·····A.···Yes.                                              ·2·
                                                                 ······
                                                                  ·····A.···Uh-huh.
·3·
  · · ··Q.· ·Okay.··And when I open this document, it --       ·3·
                                                                 · · ··Q.· ·-- I see that -- it looks like under --
·4·
  ·it opens to Tab 2020.··Are -- is your spreadsheet           ·4·
                                                                 ·under the -- the column Reasonable Accommodation,
·5·
  ·also on Tab 2020?                                           ·5·
                                                                 ·there's a -- there's an X mark under Modified Work
·6·
  ······
   ·····A.···It·is.                                            ·6·
                                                                 ·Schedule.··Do you see that?
·7·
  · · ··Q.· ·Okay.··And so this document -- is this --         ·7·
                                                                 ······
                                                                  ·····A.···Standby.··Modified·--·okay.··Yeah.
·8·
  ·is this document something you created in preparation       ·8·
                                                                 · · ··Q.· ·Does that mean -- does that mean that
·9·
  ·for this deposition, or did this document already           ·9                  was granted a modified work schedule as
10·
  ·exist?                                                      10·
                                                                 ·a reasonable accommodation?
11·
  ······
   ·····A.···It·was·already·in·existence.                      11·
                                                                 ······
                                                                  ·····A.···Based·on·this,·I·would·have·to·assume·so,
12·
  · · ··Q.· ·Okay.··Is this document something that            12·
                                                                 ·yes.
13·
  ·Frontier has maintained over the years, or was it           13·
                                                                 · · ··Q.· ·Okay.··And then when you -- when you go a
14·
  ·created more recently?                                      14·
                                                                 ·little bit farther to the right, it says, Slide -- I
15·
  ······
   ·····A.···No,·it's·been·maintained·over·the·years.          15·
                                                                 ·assume that means sliding, but correct me if I'm
16·
  · · ··Q.· ·Okay.··And who maintains this document?··Do       16·
                                                                 ·wrong -- ten-hour schedule, two hours in the morning
17·
  ·you know?                                                   17·
                                                                 ·to accommodate her not driving in the dark.
18·
  ······
   ·····A.···It·depends·on·--·ERMs,·the·employee               18·
                                                                 ······
                                                                  ·····A.···Uh-huh.
19·
  ·relations·managers,·predominantly·are·the·ones              19·
                                                                 · · ··Q.· ·Is that -- is that additional comment
20·
  ·navigating·around·this·document,·and·any·interactive        20·
                                                                 ·there -- that's one of those ERMs putting that
21·
  ·process·will·be·documented·on·here.                         21·
                                                                 ·information in?
22·
  · · ··Q.· ·Okay.··And so they're all able to access,         22·
                                                                 ······
                                                                  ·····A.···Correct.
23·
  ·like, a shared spreadsheet document of some sort and        23·
                                                                 · · ··Q.· ·Okay.··Is there any way to figure out who
24·
  ·type the information in?                                    24·
                                                                 ·drafted that particular comment?
25·
  ······
   ·····A.···Correct.                                          25·
                                                                 ······
                                                                  ·····A.···Yes.··If·you·scroll·to·the·left·--


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                                                         137                                                            139
·1·
  · · ··Q.· ·Uh-huh.                                           ·1·
                                                                 ·nothing.··But then it says, Interactive Checklist
·2·
  ······
   ·····A.···--·under·Client·Manager·--                        ·2·
                                                                 ·Used, and it says no?
·3·
  · · ··Q.· ·Yep.                                              ·3·
                                                                 ······
                                                                  ·····A.···Where·do·you·see·that?
·4·
  ······
   ·····A.···--·it·would·have·been·that·individual,            ·4·
                                                                 · · ··Q.· ·So I'm still on Row 5, which is
·5·
  ·Peggy·Decker.                                               ·5·
                                                                 ·              .
·6·
  · · ··Q.· ·Oh, got it.··Okay.··So then -- so the             ·6·
                                                                 ······
                                                                  ·····A.···Okay.
·7·
  ·client manager is the specific manager working with         ·7·
                                                                 · · ··Q.· ·All the way to the right, then, of the
·8·
  ·this particular employee,                 ?                 ·8·
                                                                 ·Findings and Recommendations.··There's three more
·9·
  ······
   ·····A.···Correct.                                          ·9·
                                                                 ·columns.··They're AE, AI --
10·
  · · ··Q.· ·Okay.··And then -- and then the manager, is       10·
                                                                 ······
                                                                  ·····A.···Oh,·yeah.
11·
  ·that the -- is that just the employee's immediate           11·
                                                                 · · ··Q.· ·Okay.··So the -- so the EEOC Charge Filed
12·
  ·supervisor, or is that somebody else?                       12·
                                                                 ·column, I assume that's a yes or no whether or not
13·
  ······
   ·····A.···That's·the·immediate·supervisor,·correct.         13·
                                                                 ·the employee filed a complaint of discrimination with
14·
  · · ··Q.· ·Okay.··Okay.··And then staying -- staying         14·
                                                                 ·the EEOC?
15·
  ·on Line 5 with                 there --                     15·
                                                                 ······
                                                                  ·····A.···That·is·correct.
16·
  ······
   ·····A.···Yes.                                              16·
                                                                 · · ··Q.· ·Okay.··And then the next one, Notification
17·
  · · ··Q.· ·-- on the Type where it says Non-OJI, does        17·
                                                                 ·Letter, what's that about?
18·
  ·that mean it's not an on-the-job injury?                    18·
                                                                 ······
                                                                  ·····A.···Notification·Letter,·that·I·would·--·yeah,
19·
  ······
   ·····A.···That·is·correct.··It's·not·OJI-specific·to        19·
                                                                 ·I'm·unsure·on·that·specific·column.
20·
  ·the·accommodation.                                          20·
                                                                 · · ··Q.· ·Okay.
21·
  · · ··Q.· ·Okay.··Got it.··And then the next column,         21·
                                                                 ······
                                                                  ·····A.···The·only·thing·that·I·can·think·of·is·if
22·
  ·Medical Issue, there's a column for vision                  22·
                                                                 ·there·was·a·follow-up·letter·that·went·out·to·the
23·
  ·impairment?                                                 23·
                                                                 ·individual.
24·
  ······
   ·····A.···Uh-huh.                                           24·
                                                                 · · ··Q.· ·Okay.
25·
  · · ··Q.· ·And so -- and then as -- and then the next        25·
                                                                 ······
                                                                  ·····A.···But,·again,·I'm·not·sure·specifically,·back

                                                         138                                                            140
·1·
  ·set of columns are all the various accommodations           ·1·
                                                                 ·in·2012,·how·it·was·used.
·2·
  ·that Ms. Worthey received.                                  ·2·
                                                                 · · ··Q.· ·Okay.
·3·
  · · · · · ·So here is it -- in reading this, is it --        ·3·
                                                                 ······
                                                                  ·····A.···Yeah.
·4·
  ·is it fair that she was granted a modified work             ·4·
                                                                 · · ··Q.· ·And then the column for Interactive
·5·
  ·schedule, intermittent FMLA, and that's it?                 ·5·
                                                                 ·Checklist Used, here it says no.
·6·
  ······
   ·····A.···No.··Typically·the·way·we·use·this                ·6·
                                                                 ······
                                                                  ·····A.···Yes.
·7·
  ·document·is·anything·that·was·captured·during·that          ·7·
                                                                 · · ··Q.· ·Do you know what that interactive checklist
·8·
  ·conversation,·then·we·would·mark·with·the·X.··And           ·8·
                                                                 ·is?
·9·
  ·then·the·result·would·be·noted·in·the·column                ·9·
                                                                 ······
                                                                  ·····A.···No.
10·
  ·Comments.                                                   10·
                                                                 · · ··Q.· ·Okay.··Is it safe to assume there's some
11·
  · · ··Q.· ·Oh, got it.··Okay.                                11·
                                                                 ·document that the ERM can use to check off something
12·
  ······
   ·····A.···Yes.                                              12·
                                                                 ·task-related to the interactive process?
13·
  · · ··Q.· ·So these were -- so those things were             13·
                                                                 ······
                                                                  ·····A.···It's·hard·to·say.··That·can·mean·a·lot·of
14·
  ·brought up --                                               14·
                                                                 ·things,·but,·yet·again,·yeah,·I·wouldn't·--·I·don't
15·
  ······
   ·····A.···Yes.                                              15·
                                                                 ·want·to·just·assume,·so·--
16·
  · · ··Q.· ·-- and then you -- and then you can read          16·
                                                                 · · ··Q.· ·Okay.
17·
  ·the comments to see that she got a modified work            17·
                                                                 ······
                                                                  ·····A.···--·yeah.
18·
  ·schedule?                                                   18·
                                                                 · · ··Q.· ·Okay.··Okay.··And then -- so here, is it --
19·
  ······
   ·····A.···Yes.                                              19·
                                                                 ·so this -- this spreadsheet that existed at least as
20·
  · · ··Q.· ·Okay.                                             20·
                                                                 ·far back as 2012 and then up to 2016 -- we have that
21·
  ······
   ·····A.···Yes.                                              21·
                                                                 ·data --
22·
  · · ··Q.· ·Okay.··Got it.··Okay.                             22·
                                                                 ······
                                                                  ·····A.···Uh-huh.
23·
  · · · · · ·And then to the right of those comments, it       23·
                                                                 · · ··Q.· ·-- it's tracking -- and I don't want to --
24·
  ·says EEOC Charge Filed, question mark.··There's             24·
                                                                 ·I mean, my math is just -- is not that good, but
25·
  ·nothing for this one.··Notification Letter, there's         25·
                                                                 ·it -- it tracks Columns A through AG, so that's


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·1·
  ·roughly 30 or more data points, is that fair, for            ·1·
                                                                  ·injury, right?
·2·
  ·each employee?                                               ·2·
                                                                  ······
                                                                   ·····A.···Right.··She·was·a·--
·3·
  ······
   ·····A.···I·--·say·that·again,·now.··You·lost·me.            ·3·
                                                                  · · ··Q.· ·Okay.··And then --
·4·
  · · ··Q.· ·Yeah.··So I'm trying to -- I'm trying to --        ·4·
                                                                  ······
                                                                   ·····A.···She·was·a·reservations·agent.
·5·
  ·so it looks like, for each employee, there's roughly         ·5·
                                                                  · · ··Q.· ·Got it.
·6·
  ·30 or more potential --                                      ·6·
                                                                  ······
                                                                   ·····A.···Yeah.
·7·
  ······
   ·····A.···Oh.                                                ·7·
                                                                  · · ··Q.· ·And then for -- like, for example, on Line
·8·
  · · ··Q.· ·-- data points that are being tracked.             ·8·
                                                                  ·9, that's                .··That has "OJI" checked, so
·9·
  ······
   ·····A.···Got·it.··Oh,·I·see·what·you're·saying.             ·9              , then, did suffer an on-the-job injury?
10·
  · · ··Q.· ·Yeah.··Okay.                                       10·
                                                                  ······
                                                                   ·····A.···That·is·correct.
11·
  ······
   ·····A.···Perfect.··Yes.                                     11·
                                                                  · · ··Q.· ·Okay.··Okay.
12·
  · · ··Q.· ·Okay.··Thanks.                                     12·
                                                                  · · · · · ·Okay.··So we can turn to Tab 2013.
13·
  · · · · · ·And so do you know if -- if any employee           13·
                                                                  ······
                                                                   ·····A.···Okay.
14·
  ·on this 2012 tab suffered from the disability of             14·
                                                                  · · ··Q.· ·And in looking at the spreadsheet for 2013,
15·
  ·alcoholism?                                                  15·
                                                                  ·is it fair to say all the same data points are being
16·
  ······
   ·····A.···No,·but·I·can·check·for·you,·if·you'd·like.        16·
                                                                  ·tracked that were tracked in 2012?
17·
  ·I·would·have·to·look·at·the·notes.                           17·
                                                                  ······
                                                                   ·····A.···Let·me·just·double-check.
18·
  · · ··Q.· ·Got it.··Okay.··Well, before we -- before          18·
                                                                  · · ··Q.· ·Sure.
19·
  ·we do that -- and it -- and it might be worth it to          19·
                                                                  ······
                                                                   ·····A.···I·believe·so.
20·
  ·do that.··A quick question, sort of, while we're --          20·
                                                                  · · ··Q.· ·Okay.··And then, just as another example
21·
  ·while we're kind of on these general questions.              21·
                                                                  ·to make sure I'm looking at this right, Line 6 is
22·
  · · · · · ·Are these -- are these employees on Tab            22·
                                                                  ·                  .··Do you see that employee?
23·
  ·2012, are these employees just in Denver, or are they        23·
                                                                  ······
                                                                   ·····A.···I·do.
24·
  ·employees based anywhere in the company?                     24·
                                                                  · · ··Q.· ·And it says that she suffered a non-OJI,
25·
  ······
   ·····A.···Back·in·2012,·it·would·have·been·--·we·only        25·
                                                                  ·and it sounds like she was also granted a modified

                                                          142                                                               144
·1·
  ·had·our·hub·in·Denver,·so·it·would·include·--·well,          ·1·
                                                                  ·schedule.
·2·
  ·outside·of·our·customer·service,·so·it·would·include         ·2·
                                                                  · · · · · ·Is that -- is that -- am I reading that
·3·
  ·everybody.··It·would·be·companywide.                         ·3·
                                                                  ·right?
·4·
  · · ··Q.· ·Okay.··So -- so when I look at this tab for        ·4·
                                                                  ······
                                                                   ·····A.···Let·me·double-check.··So·what·was·your
·5·
  ·2012, that means that, starting with                   on    ·5·
                                                                  ·question·again?··That·she·was·offered·a·modified?
·6·
  ·Row 5 and ending with                on Row 24 -- so         ·6·
                                                                  · · ··Q.· ·That she was granted a modified schedule,
·7·
  ·that would mean 19 employees companywide requested           ·7·
                                                                  ·and she also was non-OJI.
·8·
  ·accommodations that were captured on this spreadsheet        ·8·
                                                                  ······
                                                                   ·····A.···Was·non-OJI.··It·looks·like·they·did·have·a
·9·
  ·for 2012?                                                    ·9·
                                                                  ·discussion,·but·the·notes·just·indicate·there·was·a
10·
  ······
   ·····A.···My·understanding,·yes.                             10·
                                                                  ·scheduled·adjustment.··So·I'm·not·sure·--·I·can't
11·
  · · ··Q.· ·Okay.··Okay.··Now, back to the question            11·
                                                                  ·speak·to·what·the·actual·adjustment·was,·though.
12·
  ·about whether any of these employees in 2012 on              12·
                                                                  · · ··Q.· ·Sure.
13·
  ·this spreadsheet suffered from the disability of             13·
                                                                  ······
                                                                   ·····A.···Yeah.
14·
  ·alcoholism.··If there's any way for you to answer            14·
                                                                  · · ··Q.· ·But the schedule must have changed in some
15·
  ·that, that would be great.                                   15·
                                                                  ·way?··That's what adjusted would mean?
16·
  ······
   ·····A.···Can·you·give·me·a·chance·just·to·go·through        16·
                                                                  ······
                                                                   ·····A.···Correct.
17·
  ·the·notes·really·quick?                                      17·
                                                                  · · ··Q.· ·Okay.··And then same for                   ,
18·
  · · ··Q.· ·Yeah, please do.··Yes.                             18·
                                                                  ·who's on Line 7 right below                      ?
19·
  ······
   ·····A.···Okay.··I·don't·see·anything·on·here·that           19·
                                                                  ······
                                                                   ·····A.···Yes.
20·
  ·would·identify·that.                                         20·
                                                                  · · ··Q.· ·Looks like she was also non-OJI and also
21·
  · · ··Q.· ·Okay.··Thanks.··And we can -- before we            21·
                                                                  ·received a modified schedule?
22·
  ·turn the tab, at -- at               , it -- it shows        22·
                                                                  ······
                                                                   ·····A.···Yes.
23·
  ·here that non-OJI is checked for her?                        23·
                                                                  · · ··Q.· ·Okay.··And then -- and then
24·
  ······
   ·····A.···Uh-huh.                                            24·
                                                                  ·                  , Line 11, she's an inflight employee;
25·
  · · ··Q.· ·That means she didn't suffer an on-the-job         25·
                                                                  ·is that correct?··Does that mean flight attendant?


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                                                         145                                                            147
·1·
  ······
   ·····A.···That·is·correct.                                  ·1·
                                                                 ···········
                                                                  ··········So·in·this·case,·we·had·her·--·see·if·she
·2·
  · · ··Q.· ·Okay.··And she -- she was OJI, so she had         ·2·
                                                                 ·wanted·the·offer·of·the·role·of·reservations·agent.
·3·
  ·an on-the-job injury, and she received a modified           ·3·
                                                                 ·So·we·extended·her·the·offer,·which·would·then
·4·
  ·schedule; is that correct?                                  ·4·
                                                                 ·require·her·to·transfer·to·a·role,·which·means·change
·5·
  ······
   ·····A.···Let·me·double-check.                              ·5·
                                                                 ·of·job·title,·not·just·job·functions.
·6·
  · · ··Q.· ·Okay.                                             ·6·
                                                                 ···········
                                                                  ··········She·would·transfer·from·the·flight
·7·
  ······
   ·····A.···So·yes·to·your·question.                          ·7·
                                                                 ·attendant·role·into·the·department·of·reservations.
·8·
  · · ··Q.· ·Okay.··Thank you.                                 ·8·
                                                                 ·So·we·extended·her·the·offer·for·a·reservations·--
·9·
  · · · · · ·Okay.··So let's --                                ·9·
                                                                 ·reservations·agent,·and·she·declined.
10·
  · · · · · ·MS. KITSON:··I'm sorry; can you read back         10·
                                                                 · · ··Q.· ·Okay.··And what was -- what was
11·
  ·the question?                                               11                disability?··Can you tell from this?
12·
  · · · · · ·THE REPORTER:··Sure.                              12·
                                                                 ······
                                                                  ·····A.···No,·I·cannot·tell·from·this.
13·
  · · · · · ·(The following question was read by the           13·
                                                                 · · ··Q.· ·All -- but we can -- we can tell that it
14·
  ·reporter:··"And she -- she was OJI, so she had an           14·
                                                                 ·was -- it was an on-the-job injury of some sort; we
15·
  ·on-the-job injury, and she received a modified              15·
                                                                 ·just don't know what exactly?
16·
  ·schedule; is that correct?")                                16·
                                                                 ······
                                                                  ·····A.···Correct.
17·
  ······
   ·····A.···No.                                               17·
                                                                 · · ··Q.· ·Okay.··Okay.
18·
  · · ··Q.· ·(BY MR. CRONE)··I'm sorry.··She was -- she        18·
                                                                 · · · · · ·Okay.··If we could, for 2013, same tab, is

19·
  ·was offered a modified schedule; is that -- is that         19·
                                                                 ·there a way for you to tell if any of these people

20·
  ·correct?                                                    20·
                                                                 ·had alcoholism as a disability?

21·
  ······
   ·····A.···Not·a·modified·schedule.··If·I·look·at            21·
                                                                 ······
                                                                  ·····A.···Can·you·allow·me·--·can·you·give·me·an

22·
  ·this·--·and·I'm·looking·at·the·notes·--                     22·
                                                                 ·opportunity·to·read·through·the·notes?

23·
  · · ··Q.· ·Uh-huh.                                           23·
                                                                 · · ··Q.· ·Yep, yep.··No problem.

24·
  ······
   ·····A.···--·we·would·try·to·facilitate·an                  24·
                                                                 ······
                                                                  ·····A.···Okay.··Not·that·I·see.

25·
  ·opportunity·for·her·to·move·into·a·role.··I·know·we         25·
                                                                 · · ··Q.· ·Okay.··Could you turn to Tab 2014?

                                                         146                                                            148
·1·
  ·possibly·discussed·modified·schedule,·but·it's·hard         ·1·
                                                                 ······
                                                                  ·····A.···Okay.
·2·
  ·to·determine·if·one·was·offered·or·provided.                ·2·
                                                                 · · ··Q.· ·And Tab 2014 looks like a slower year in
·3·
  · · ··Q.· ·Sounds like -- I'm sorry.··Go ahead.              ·3·
                                                                 ·the reasonable accommodation business, and so it
·4·
  ······
   ·····A.···No,·go·ahead.                                     ·4·
                                                                 ·seems like there's fewer employees here, but it looks
·5·
  · · ··Q.· ·I'm looking at -- so for                    --    ·5·
                                                                 ·to be like roughly all the same data points are being
·6·
  ·I'm looking -- I just want to make sure we're on the        ·6·
                                                                 ·tracked for each one; is that fair?
·7·
  ·same thing.··I'm at Row 11, and then I'm over in            ·7·
                                                                 ······
                                                                  ·····A.···I·believe·so.
·8·
  ·Column AD, which is the Findings, Recommendations.          ·8·
                                                                 · · ··Q.· ·Okay.··And can you tell me, in 2014,
·9·
  · · · · · ·And right at the bottom of that paragraph,        ·9·
                                                                 ·whether any of these employees had alcoholism as --
10·
  ·in red it says, 3/29/13,           was offered to -- to     10·
                                                                 ·as a disability?
11·
  ·position of reservations agent -- I think that's a          11·
                                                                 ······
                                                                  ·····A.···Let·me·read·through·those·real·quick.
12·
  ·typo --                                                     12·
                                                                 · · ··Q.· ·Sure.··Thank you.
13·
  ······
   ·····A.···Yeah.                                             13·
                                                                 ······
                                                                  ·····A.···Okay.··I·don't·see·any·on·there.
14·
  · · ··Q.· ·-- offered the position of reservations           14·
                                                                 · · ··Q.· ·Okay.··Now can we turn to Tab 2015?
15·
  ·agent to begin on 4/8/13.··After much discussion,           15·
                                                                 ······
                                                                  ·····A.···Yes.
16·
  ·          has elected to decline the offer.                 16·
                                                                 · · ··Q.· ·Okay.··So Tab 2015 is where Rebecca Brigham
17·
  ······
   ·····A.···Yeah.··So·--                                      17·
                                                                 ·appears at Row 10.··Do you see that?
18·
  · · ··Q.· ·Yes.··I'm sorry.··No, I was just going to         18·
                                                                 ······
                                                                  ·····A.···I·do.
19·
  ·ask if that's what you're trying to clarify, what           19·
                                                                 · · ··Q.· ·Okay.··And the column for Date Notified By
20·
  ·that is.                                                    20·
                                                                 ·EE, which is Column I, does that mean date notified
21·
  ······
   ·····A.···Yeah.··Ultimately,·during·the·interactive         21·
                                                                 ·by employee?
22·
  ·process,·if·it's·deemed·that·the·individual·cannot          22·
                                                                 ······
                                                                  ·····A.···Yes.
23·
  ·meet·the·essential·functions·of·the·role,·in·that           23·
                                                                 · · ··Q.· ·Okay.··And then for Rebecca Brigham, which
24·
  ·case,·we·try·to·see·if·there's·another·role·that·they       24·
                                                                 ·is Row 10, at -- at the date filed, it says June 4,
25·
  ·can·potentially·perform.                                    25·
                                                                 ·2015.


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                                                         149                                                            151
·1·
  · · · · · ·Does that mean the date Frontier was first        ·1·
                                                                 ·point·I·was·handling·the·case.··Another·point,·when·I
·2·
  ·notified about the existence of her disability or the       ·2·
                                                                 ·left·and·came·back,·somebody·else·was·handling·the
·3·
  ·request for a reasonable accommodation or something         ·3·
                                                                 ·case.
·4·
  ·else?                                                       ·4·
                                                                 ···········
                                                                  ··········But·it's·always·the·same·person,·or
·5·
  ······
   ·····A.···Let·me·--·let·me·read·the·notes.                  ·5·
                                                                 ·different·people·--·whoever·was·handling·that·case
·6·
  · · ··Q.· ·Sure.··Thank you.                                 ·6·
                                                                 ·was·able·to·make·comments.
·7·
  ······
   ·····A.···Typically,·it's·down·in·the·notes.                ·7·
                                                                 · · ··Q.· ·Okay.··Okay.
·8·
  · · ··Q.· ·Yeah.··No problem.                                ·8·
                                                                 ······
                                                                  ·····A.···If·that·makes·sense.
·9·
  ······
   ·····A.···I·would·have·to·look·at·the·date·when·HR          ·9·
                                                                 · · ··Q.· ·It does.··Thank you.
10·
  ·was·aware;·not·when·the·company·was·notified.               10·
                                                                 ······
                                                                  ·····A.···Yeah.
11·
  · · ··Q.· ·Okay.                                             11·
                                                                 · · ··Q.· ·And then on these other rows where the
12·
  ······
   ·····A.···Because·I·think·she·had·notified·the              12·
                                                                 ·client manager is noted as you, Jerry, you input the
13·
  ·supervisors·prior·to·that.                                  13·
                                                                 ·information there as well, but you never used the
14·
  · · ··Q.· ·Okay.··All right.··So this is -- so that          14·
                                                                 ·phrase "N/A," did you?
15·
  ·Date Filed column means date HR is aware?                   15·
                                                                 ······
                                                                  ·····A.···So·what·is·the·question?··I'm·sorry.
16·
  ······
   ·····A.···Yes.                                              16·
                                                                 · · ··Q.· ·So the -- the question is anywhere on this
17·
  · · ··Q.· ·Okay.··All right.··And then at -- for             17·
                                                                 ·spreadsheet where the client manager is noted as
18·
  ·Rebecca Brigham again, so staying on Line -- or Row         18·
                                                                 ·Jerry, that's you inputting this information,
19·
  ·12 --                                                       19·
                                                                 ·correct?
20·
  ······
   ·····A.···Okay.                                             20·
                                                                 ······
                                                                  ·····A.···It·--·yes.··But,·again,·it·depends·on·who
21·
  · · ··Q.· ·-- at Column Q, it says -- that's the             21·
                                                                 ·was·handling·the·case·at·the·time.··So·if·my·name·was
22·
  ·Modify Work Schedule column under the reasonable            22·
                                                                 ·listed,·not·every·time·did·the·client·manager·go·in
23·
  ·accommodation umbrella.··Do you see where I'm at            23·
                                                                 ·there·and·change·the·name·if·they·had·overseen·or
24·
  ·there?                                                      24·
                                                                 ·were·jumping·in.··So·--·but·it·was·just·more·updating
25·
  ······
   ·····A.···Yes.                                              25·
                                                                 ·the·common·field.

                                                         150                                                            152
·1·
  · · ··Q.· ·And in Rebecca's column there, it says N/A.       ·1·
                                                                 · · ··Q.· ·Okay.··But you'd agree that whoever put the
·2·
  ·Do you see that?                                            ·2·
                                                                 ·information in, nobody had used the term "N/A"
·3·
  ······
   ·····A.···I·do.                                             ·3·
                                                                 ·anywhere else on this document, did they?
·4·
  · · ··Q.· ·Do you know why it says N/A there?                ·4·
                                                                 ······
                                                                  ·····A.···Let·me·just·verify.··One·second.
·5·
  ······
   ·····A.···Typically,·N/A,·not·applicable,·since·it          ·5·
                                                                 ···········
                                                                  ··········Yes,·I·would·agree.
·6·
  ·wasn't·necessarily·associated·with·a·work·comp·claim        ·6·
                                                                 · · ··Q.· ·Okay.··In the Findings and Recommendation
·7·
  ·or·OJI,·on-the-job·injury.                                  ·7·
                                                                 ·for Rebecca Brigham -- so we're at Row 10 and Column
·8·
  · · ··Q.· ·Okay.··I don't see N/A in that column for         ·8·
                                                                 ·AF.··Sort of in the middle of that -- that paragraph
·9·
  ·any other employee on any other tab for any year in         ·9·
                                                                 ·it says -- it's the third line down.··It says,
10·
  ·this spreadsheet.                                           10·
                                                                 ·Ms. Brigham failed to provide medical documentation
11·
  · · · · · ·Can you explain why it's only in                  11·
                                                                 ·supporting her position.
12·
  ·Rebecca Brigham's row?                                      12·
                                                                 · · · · · ·Do you see where I'm at?
13·
  ······
   ·····A.···If·you·give·me·a·second,·let·me·just·kind         13·
                                                                 ······
                                                                  ·····A.···Yes.
14·
  ·of·review·that.                                             14·
                                                                 · · ··Q.· ·What medical document -- what medical
15·
  · · ··Q.· ·Yeah.                                             15·
                                                                 ·documentation did Ms. Brigham fail to provide?
16·
  ······
   ·····A.···Honestly,·I·don't·know.                           16·
                                                                 ······
                                                                  ·····A.···Let·me·just·read·the·comments·real·quickly.
17·
  · · ··Q.· ·Okay.··But you -- you -- you did fill in          17·
                                                                 · · ··Q.· ·Sure.
18·
  ·this information because you're noted as the client         18·
                                                                 ······
                                                                  ·····A.···Got·it.··So,·ultimately,·when·I·say·on
19·
  ·manager.··Jerry, in -- in Column G, that's you,             19·
                                                                 ·there,·Ms.·Brigham·failed·to·provide·medical
20·
  ·right?                                                      20·
                                                                 ·documentation·supporting·her·position,·she·was
21·
  ······
   ·····A.···Yes.                                              21·
                                                                 ·requesting·herself·to·--·looks·like·here·--
22·
  · · ··Q.· ·Okay.                                             22·
                                                                 ·overnights·--·flying·overnights,·staying·overnights
23·
  ······
   ·····A.···The·only·piece·with·this,·because·of·the          23·
                                                                 ·in·hotels,·things·of·that·nature.
24·
  ·case·that·had·been·--·it·was·a·long·case·for·Rebecca.       24·
                                                                 ···········
                                                                  ··········So·when·we·look·at·her·accommodation,·we
25·
  ·There·were·different·responsibilities,·so·at·one            25·
                                                                 ·look·at·what·is·provided·on·the·certification·form.


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                                                        153                                                            155
·1·
  · · ··Q.· ·Okay.                                            ·1·
                                                                ······
                                                                 ·····A.···Correct.
·2·
  ······
   ·····A.···On·the·certification·form,·it·does·not           ·2·
                                                                · · ··Q.· ·And then a couple columns down, AD, where
·3·
  ·mention·no·flying·overnights.··And·so·as·part·of·the       ·3·
                                                                ·it says Termed, again, that means terminated?
·4·
  ·interactive·process,·we·would·have·looked·at·that·as       ·4·
                                                                ······
                                                                 ·····A.···And·where·was·that·again?··I'm·sorry.
·5·
  ·well.                                                      ·5·
                                                                · · ··Q.· ·Column AD.··It's just a few to the right
·6·
  ···········
   ··········And·so,·ultimately,·that's·stating·that          ·6·
                                                                ·from the Reasonable Accommodation -- or just one to
·7·
  ·there·was·no·medical·documentation·to·support·her          ·7·
                                                                ·the right from the Reasonable Accommodations.
·8·
  ·position·that·she·was·not·allowed·to·fly·overnights.       ·8·
                                                                ······
                                                                 ·····A.···Yeah.··Typically,·we·use·that·term·in·terms
·9·
  · · ··Q.· ·Okay.··So --                                     ·9·
                                                                ·of·what·the·status·would·be,·so·it·goes·back·to·their
10·
  ······
   ·····A.···Or·layovers,·I·should·say.                       10·
                                                                ·status·at·that·time.··Or·if·there·was·an·update
11·
  · · ··Q.· ·Oh, yeah.··Sorry.                                11·
                                                                ·regarding·the·outcome,·then·yes.
12·
  · · · · · ·So specifically what you were referring to       12·
                                                                · · ··Q.· ·Okay.··And -- and here that means
13·
  ·here is that you didn't have -- Frontier didn't have       13·
                                                                ·terminated?
14·
  ·documentation that Ms. Brigham couldn't do overnight       14·
                                                                ······
                                                                 ·····A.···Yes.
15·
  ·flights, overnight trips?                                  15·
                                                                · · ··Q.· ·Yeah.··Okay.
16·
  ······
   ·····A.···Medical·documentation.                           16·
                                                                · · · · · ·For 2015, can you tell me if anybody else
17·
  · · ··Q.· ·Medical documentation.··Okay.                    17·
                                                                ·had alcoholism as a disability?
18·
  ······
   ·····A.···Yeah.                                            18·
                                                                ······
                                                                 ·····A.···One·moment,·please.··Let·me·read·through

19·
  · · ··Q.· ·Okay.··So -- so for these on Ms. -- on --        19·
                                                                ·the·comments.

20·
  ·on Ms. Brigham's row here, Row 10 --                       20·
                                                                · · ··Q.· ·Sure.

21·
  ······
   ·····A.···Yeah.                                            21·
                                                                ······
                                                                 ·····A.···So·what·was·your·question·again?··Can·you

22·
  · · ··Q.· ·-- under the Reasonable Accommodation            22·
                                                                ·ask·that·last·one?

23·
  ·umbrella, so that's Columns -- looks like Columns Q        23·
                                                                · · ··Q.· ·Yeah.··Was there anybody else in 2015, at

24·
  ·through AC?                                                24·
                                                                ·least on this spreadsheet, that had alcoholism as

25·
  ······
   ·····A.···Yeah.                                            25·
                                                                ·their stated disability?

                                                        154                                                            156
·1·
  · · ··Q.· ·So there's -- we had already discussed           ·1·
                                                                ······
                                                                 ·····A.···So·let·me·rephrase·that.··According·to·the
·2·
  ·there's "N/A" under Modified Work Schedule.                ·2·
                                                                ·notes,·it·doesn't·reference·if·anybody·was·on·there.
·3·
  ······
   ·····A.···Uh-huh.                                          ·3·
                                                                ·Just·based·on·the·notes,·I·don't·see·that·on·the
·4·
  · · ··Q.· ·There's an X under FMLA Intermittent.            ·4·
                                                                ·notes.
·5·
  ······
   ·····A.···Uh-huh.                                          ·5·
                                                                · · ··Q.· ·Got it.··Yeah, I mean, except for
·6·
  · · ··Q.· ·And I think you had mentioned -- was she         ·6·
                                                                ·Ms. Brigham, we know --
·7·
  ·granted that?                                              ·7·
                                                                ······
                                                                 ·····A.···Yes.
·8·
  ······
   ·····A.···She·was·granted·intermittent·FMLA,·correct.      ·8·
                                                                · · ··Q.· ·Yeah, yeah, yeah.
·9·
  · · ··Q.· ·Okay.··And -- and was she granted it, or         ·9·
                                                                · · · · · ·Okay.··And then last question with respect
10·
  ·was she just allowed to apply to use it?                   10·
                                                                ·to Row 10, Ms. Brigham and this -- and Tab 2015.
11·
  ······
   ·····A.···Can·you·explain?                                 11·
                                                                ······
                                                                 ·····A.···Yes.
12·
  · · ··Q.· ·So could she have applied to use                 12·
                                                                · · ··Q.· ·On the right of the Findings and
13·
  ·intermittent FMLA whether or not the interactive           13·
                                                                ·Recommendations where the EEOC Charge Filed column is
14·
  ·process ever occurred?                                     14·
                                                                ·at, there's no check mark.
15·
  ······
   ·····A.···Yes.                                             15·
                                                                · · · · · ·Does that mean, at the time of this
16·
  · · ··Q.· ·Okay.··And then there's an X under Explore       16·
                                                                ·document's creation, Ms. Brigham hadn't yet filed
17·
  ·Other Positions With Frontier?                             17·
                                                                ·her charge, or -- or -- or whoever was filling this
18·
  ······
   ·····A.···Uh-huh.                                          18·
                                                                ·out didn't know about it?
19·
  · · ··Q.· ·So is this what you mentioned earlier, she       19·
                                                                ······
                                                                 ·····A.···Could·be·that·they·did·know,·did·not·know.
20·
  ·could have applied for other positions?                    20·
                                                                ·It·just·wasn't·checked.
21·
  ······
   ·····A.···Not·only·could·she·have·applied,·but·we·did      21·
                                                                · · ··Q.· ·Got it.
22·
  ·mention·other·opportunities·that·she·should·consider.      22·
                                                                ······
                                                                 ·····A.···So·don't·know.··Yeah.
23·
  · · ··Q.· ·And she could have applied for these other       23·
                                                                · · ··Q.· ·Okay.··And then under Notification Letter,
24·
  ·opportunities whether or not the interactive process       24·
                                                                ·that's not checked either.··So whatever that
25·
  ·ever occurred, right?                                      25·
                                                                ·notification letter is, safe to assume it didn't


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                                                         157                                                            159
·1·
  ·happen yet or whoever was filling this out didn't           ·1·
                                                                 · · · · · ·MS. KITSON:··Object to the form.
·2·
  ·know about it?                                              ·2·
                                                                 ······
                                                                  ·····A.···Yeah,·I'm·not·sure.··Again,·it·just·depends
·3·
  ······
   ·····A.···It·--·yeah.··It's·hard·to·say.                    ·3·
                                                                 ·on·the·individual·filling·this·out,·and·when·they·did
·4·
  · · ··Q.· ·And what about the Interactive Checklist          ·4·
                                                                 ·such,·say·that·a·list·was·or·was·not·used.··It's·just
·5·
  ·Used?··That's not checked either here.··Does that           ·5·
                                                                 ·the·box·was·not·checked.
·6·
  ·mean no interactive checklist was used --                   ·6·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Okay.
·7·
  ······
   ·····A.···Not·--                                            ·7·
                                                                 ······
                                                                  ·····A.···Yeah.
·8·
  · · ··Q.· ·-- with --                                        ·8·
                                                                 · · ··Q.· ·Well, for 2016, it -- it still notes Jerry
·9·
  ······
   ·····A.···Not·necessarily.··Just·depends·on·the             ·9·
                                                                 ·as the client manager.··Did -- did you fill this out?
10·
  ·individual,·whoever's·working·the·case,·if·they             10·
                                                                 ······
                                                                  ·····A.···Some·pieces·I·would·have;·some·pieces·not.
11·
  ·checked·that·box·or·not.                                    11·
                                                                 ·If·you·recall,·I·was·not·here·during·a·certain·time
12·
  · · ··Q.· ·And one of those individuals here would           12·
                                                                 ·period·as·well·--
13·
  ·have been yourself, right?                                  13·
                                                                 · · ··Q.· ·Uh-huh.
14·
  ······
   ·····A.···Correct.                                          14·
                                                                 ······
                                                                  ·····A.···--·that·Rebecca's·case·was·still·being
15·
  · · ··Q.· ·Yeah.··Do you recall using an interactive         15·
                                                                 ·handled.··So,·again,·I·--·yeah,·it's·hard·to·say.
16·
  ·checklist with Ms. Brigham?                                 16·
                                                                 ·But,·for·the·most·part,·a·lot·of·that·is·my·comments
17·
  ······
   ·····A.···I'm·trying·to·recall.··Not·a·checklist            17·
                                                                 ·as·well.
18·
  ·per·se,·but·just·more,·during·the·process,·we·would         18·
                                                                 · · ··Q.· ·Okay.··And there's a -- there's a tab --

19·
  ·document·her·file.                                          19·
                                                                 ·sorry.··Hold on.··Let me find this.

20·
  · · ··Q.· ·Okay.                                             20·
                                                                 · · · · · ·Never mind.··You've already answered that

21·
  ······
   ·····A.···And·I·also·refer·to·that·in·terms·of·what         21·
                                                                 ·question, so we're going to -- we're going to skip

22·
  ·steps·we·were·with·her,·so·--·yeah.                         22·
                                                                 ·that one.

23·
  · · ··Q.· ·Okay.··Okay.··Let's flip to Tab 2016.··And        23·
                                                                 · · · · · ·Okay.··So is it -- for the -- for the --

24·
  ·Rebecca Brigham remains on -- on -- on this for the         24·
                                                                 ·for the years that we looked at and that are relevant

25·
  ·year 2016, so my only questions are related to her.         25·
                                                                 ·to this deposition, so definitely the 2012, 2013,

                                                         158                                                            160
·1·
  ·And she's at Row 10 still.                                  ·1·
                                                                 ·2014, and 2015 tabs --
·2·
  ······
   ·····A.···Okay.                                             ·2·
                                                                 ······
                                                                  ·····A.···Uh-huh.
·3·
  · · ··Q.· ·And if we -- if we move over to the right         ·3·
                                                                 · · ··Q.· ·-- you weren't able to identify any -- at
·4·
  ·to those same columns we were just discussing --            ·4·
                                                                 ·least based on the notes, you weren't able to
·5·
  ······
   ·····A.···Uh-huh.                                           ·5·
                                                                 ·identify any employees that suffered from the
·6·
  · · ··Q.· ·-- right next to the Findings and                 ·6·
                                                                 ·disability of alcoholism?
·7·
  ·Recommendations, so Columns AG and AH --                    ·7·
                                                                 ······
                                                                  ·····A.···Based·on·--·go·ahead.
·8·
  ······
   ·····A.···Uh-huh.                                           ·8·
                                                                 · · ··Q.· ·I'm sorry.··Go ahead.··I'm sorry.
·9·
  · · ··Q.· ·-- there now it says the EEOC charge is           ·9·
                                                                 ······
                                                                  ·····A.···Just·based·on·what·was·on·that·document,
10·
  ·filed.                                                      10·
                                                                 ·no.
11·
  ······
   ·····A.···Uh-huh.                                           11·
                                                                 · · ··Q.· ·Got it.··Does that seem -- does that seem
12·
  · · ··Q.· ·Now, is -- whoever's filling this out would       12·
                                                                 ·atypical for you, or -- or is that expected, in your
13·
  ·check that because now they've seen an EEOC charge;         13·
                                                                 ·review of those years?
14·
  ·is that fair?                                               14·
                                                                 · · · · · ·MS. KITSON:··Object to the form.
15·
  ······
   ·····A.···Yes.                                              15·
                                                                 ······
                                                                  ·····A.···Yeah,·because·I·think·at·--·when·--·when
16·
  · · ··Q.· ·And the Notification Letter is checked, so        16·
                                                                 ·you·read·the·document,·it·identifies·that·that's·part
17·
  ·whatever that is, that must have occurred by now,           17·
                                                                 ·of·the·self-disclosure·program.
18·
  ·too, right?                                                 18·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Uh-huh.
19·
  ······
   ·····A.···Right.                                            19·
                                                                 ······
                                                                  ·····A.···I·don't·know·if·any·of·the·other
20·
  · · ··Q.· ·But the Interactive Checklist is still not        20·
                                                                 ·individuals·were·part·of·the·self-disclosure
21·
  ·used -- or Interactive Checklist Used, question mark,       21·
                                                                 ·program.
22·
  ·is still not checked.                                       22·
                                                                 · · ··Q.· ·Got it.··So it may just be that the notes
23·
  · · · · · ·Fair to say, by this point, whoever's             23·
                                                                 ·aren't thorough enough to reflect others?
24·
  ·filling this out has decided the interactive                24·
                                                                 ······
                                                                  ·····A.···I'm·not·sure,·yeah.··Ultimately,·we
25·
  ·checklist was not used?                                     25·
                                                                 ·identify·the·situation.··In·that·case,·Rebecca·was·in


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                                                         161                                                            163
·1·
  ·the·self-disclosure·program,·which·would·then               ·1·
                                                                 ·have·had·with·any·employee·under·the·inflight·or
·2·
  ·highlight·that.                                             ·2·
                                                                 ·flight·employment·group·would·be·documented·in
·3·
  ···········
   ··········If·it's·not·noted·on·any·of·the·other             ·3·
                                                                 ·P-tracker.
·4·
  ·individuals,·I·would·have·to·assume·that·they·were          ·4·
                                                                 · · ··Q.· ·Okay.··Okay.··Do you know if all that
·5·
  ·not·part·of·that·program.                                   ·5·
                                                                 ·information has been turned over in this lawsuit?
·6·
  · · ··Q.· ·Okay.··Okay.                                      ·6·
                                                                 ······
                                                                  ·····A.···To·my·understanding,·yes.
·7·
  ······
   ·····A.···Yeah.                                             ·7·
                                                                 · · ··Q.· ·Okay.··Okay.··I'm going to -- I'm going to
·8·
  · · ··Q.· ·That's fair enough.··Thank you.                   ·8·
                                                                 ·send over Exhibit 6.
·9·
  · · · · · ·We can set that exhibit aside, whatever           ·9·
                                                                 · · · · · ·MR. CRONE:··And, Danielle, I'll e-mail it
10·
  ·that means, closing the window or -- or -- or               10·
                                                                 ·to you.
11·
  ·whatever.··So . . .                                         11·
                                                                 · · · · · ·MS. KITSON:··Can we take a break at the
12·
  · · · · · ·Okay.··So I want to -- I want to turn --          12·
                                                                 ·next convenient time, too, John?
13·
  ·turn your attention to -- to a different topic now,         13·
                                                                 · · · · · ·MR. CRONE:··Yeah, absolutely.··If you want,
14·
  ·which is more specifically Frontier's decision to           14·
                                                                 ·I only have a couple on this one, and we -- and then
15·
  ·terminate Ms. Brigham in the -- towards the end of          15·
                                                                 ·we can definitely do a break easily there.
16·
  ·2015.                                                       16·
                                                                 · · · · · ·MS. KITSON:··Thanks.
17·
  ······
   ·····A.···Okay.                                             17·
                                                                 ······
                                                                  ·····A.···Okay.··I·have·it·up.
18·
  · · ··Q.· ·And so you had noted earlier that the             18·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Excellent.··So can you give

19·
  ·documents in a -- in a -- in a flight attendant's           19·
                                                                 ·it a quick review for me?

20·
  ·personnel file were stored in -- in one of two              20·
                                                                 ······
                                                                  ·····A.···You·bet.

21·
  ·places.··Would that include any documents related to        21·
                                                                 · · ··Q.· ·Yeah.

22·
  ·the basis for her termination, for Ms. Brigham's            22·
                                                                 ······
                                                                  ·····A.···Okay.

23·
  ·termination?                                                23·
                                                                 · · ··Q.· ·Okay.··And so you wrote this e-mail, right?

24·
  ······
   ·····A.···Can·you·explain·a·little·more?                    24·
                                                                 ······
                                                                  ·····A.···Right.

25·
  · · ··Q.· ·Yeah.··So I -- I -- we were talking               25·
                                                                 · · ··Q.· ·Okay.··So in the middle at the -- at the

                                                         162                                                            164
·1·
  ·generally about what's in an -- in an employee's            ·1·
                                                                 ·first bullet point, you had wrote -- at the end of
·2·
  ·personnel file.··Do -- do you recall that?                  ·2·
                                                                 ·that sentence it says, The company has continued to
·3·
  ······
   ·····A.···Yes.                                              ·3·
                                                                 ·make exceptions for her.
·4·
  · · ··Q.· ·And then there was -- there was the -- the        ·4·
                                                                 · · · · · ·Do you see that?
·5·
  ·second sort of part of the file that was under lock         ·5·
                                                                 ······
                                                                  ·····A.···Yes.
·6·
  ·and key that has to do with the -- with the --              ·6·
                                                                 · · ··Q.· ·And what exceptions are you referring to
·7·
  ······
   ·····A.···Compliance?                                       ·7·
                                                                 ·there?
·8·
  · · ··Q.· ·-- the drug -- yeah.··And -- and so in --         ·8·
                                                                 ······
                                                                  ·····A.···Well·--·well,·it·depends·on·this·time.··So
·9·
  ·in either of those places, is that where -- all the         ·9·
                                                                 ·when·Rebecca·would·be·approved,·let's·just·say,·8
10·
  ·documents related -- that would go into an employee's       10·
                                                                 ·days·per·month,·a·lot·of·the·times·she·would·have
11·
  ·personnel file related to why they were terminated,         11·
                                                                 ·exceeded·that;·she·would·call·in·10,·11,·sometimes·up
12·
  ·would they live in one of those two places?                 12·
                                                                 ·to·12.··And·so·in·those·cases,·we·would·make
13·
  ······
   ·····A.···No.                                               13·
                                                                 ·exceptions·for·her·to·go·above·what·the·medical
14·
  · · ··Q.· ·No?··So -- so there's more -- there's             14·
                                                                 ·documentation·supported.
15·
  ·somewhere elsewhere they might exist?                       15·
                                                                 · · ··Q.· ·Okay.··And so that's -- that's what you're
16·
  ······
   ·····A.···It's·called·a·P-tracker.                          16·
                                                                 ·talking about when you -- when you -- in -- in the
17·
  · · ··Q.· ·Okay.··Can you explain what that is?              17·
                                                                 ·second bullet point where it says, We're also willing
18·
  ······
   ·····A.···P-tracker·is·the·--·basically,·the                18·
                                                                 ·to provide her new FML -- FMLA paperwork to allow for
19·
  ·department·file.                                            19·
                                                                 ·the ability to increase the number of days she's
20·
  · · ··Q.· ·Uh-huh.                                           20·
                                                                 ·allowed to use, that's what you're talking about
21·
  ······
   ·····A.···Anything·that·we·felt·that·would·not·go           21·
                                                                 ·there?
22·
  ·into·the·personnel·file:·comments,·notes.··But·it           22·
                                                                 ······
                                                                  ·····A.···Yes.··And·it's·more·to·drive·consistency.
23·
  ·also·tracks·any·accolades,·performance·issues,              23·
                                                                 ·Typically,·just·generally,·we·try·and·hold
24·
  ·discussions,·letters,·things·of·that·nature.                24·
                                                                 ·individuals,·Hey,·if·you're·approved·for·five·days,
25·
  ···········
   ··········Or·any·discussions·that·the·supervisors·may       25·
                                                                 ·make·sure·you·remain·within·that.


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                                                        165                                                            167
·1·
  ···········
   ··········But·if·we·see·a·pattern·of·individuals           ·1·
                                                                ·up, let me know.
·2·
  ·utilizing·more·than·they're·approved·for,·we·ask·them      ·2·
                                                                ······
                                                                 ·····A.···It·is·open.
·3·
  ·to·recertify·or·just·provide·us·updated·medical            ·3·
                                                                · · ··Q.· ·Okay.··Great.··Okay.··So have you seen this
·4·
  ·information·to·support·their·need.                         ·4·
                                                                ·document before?
·5·
  · · ··Q.· ·Okay.··So -- so here, Ms. Brigham was --         ·5·
                                                                ······
                                                                 ·····A.···I·can't·say·I·have.
·6·
  ·she wasn't approved prior to -- to take off the            ·6·
                                                                · · ··Q.· ·Okay.··Do you mind reading it --
·7·
  ·amount of days that she was taking?··Is that what          ·7·
                                                                ······
                                                                 ·····A.···Yeah.
·8·
  ·you're saying here?                                        ·8·
                                                                · · ··Q.· ·-- quickly?··Thanks.
·9·
  ······
   ·····A.···Based·on·the·medical·documentation,·the          ·9·
                                                                ······
                                                                 ·····A.···Will·do.··Okay.
10·
  ·doctor·would·have·indicated.··If·she·was·approved·or       10·
                                                                · · ··Q.· ·So here, Ms. Coppedge appears to be telling
11·
  ·can·take·a·maximum·of·eight,·we·typically·just             11·
                                                                ·Ms. Brigham that there's going to be an investigatory
12·
  ·approved·what·the·medical·professional·was·providing       12·
                                                                ·meeting pursuant to the CBA on a certain date; is
13·
  ·us.                                                        13·
                                                                ·that fair?
14·
  · · ··Q.· ·Okay.                                            14·
                                                                ······
                                                                 ·····A.···Yes.
15·
  ······
   ·····A.···Whatever's·on·there·is·what·--·what·--           15·
                                                                · · ··Q.· ·Okay.··And what's an investigatory meeting?
16·
  ·what·--·we·would·try·and·document·that.                    16·
                                                                ······
                                                                 ·····A.···That·is·a·meeting·--·it's·called·a
17·
  · · ··Q.· ·Okay.··So somewhere out there, there's a --      17·
                                                                ·fact-finding.··Ultimately,·it's·an·opportunity·to
18·
  ·a medical certification that says Ms. Brigham should       18·
                                                                ·discuss·either·concerns·from·management·and·allow
19·
  ·have X number of days off per month?                       19·
                                                                ·the·individual,·in·this·case·Rebecca,·or·flight
20·
  ······
   ·····A.···Yes.··And·the·employee·certification·form,       20·
                                                                ·attendant,·to·then·either·answer·questions,·voice
21·
  ·whether·that·be·intermittent·or·FMLA,·there·is·a           21·
                                                                ·concerns,·or·just·basically·dialogue·with·the
22·
  ·section·of·that·notification·that·includes·frequency,      22·
                                                                ·individual.
23·
  ·frequency·of·use·I·believe·it·specifically·says.··And      23·
                                                                · · ··Q.· ·Okay.··So prior to this investigatory
24·
  ·under·the·frequency,·the·provider·would·indicate·how       24·
                                                                ·meeting with Ms. Brigham, management would not have
25·
  ·many·times·per·month,·per·week,·and·things·of·that         25·
                                                                ·yet made up its mind to terminate Ms. Brigham; is

                                                        166                                                            168
·1·
  ·nature.                                                    ·1·
                                                                ·that fair?
·2·
  · · ··Q.· ·Okay.                                            ·2·
                                                                ······
                                                                 ·····A.···Yeah.
·3·
  ······
   ·····A.···So·we·basically·--·we·don't·make                 ·3·
                                                                · · ··Q.· ·Okay.
·4·
  ·adjustments·in·--·on·that.··We·just·basically·--·if        ·4·
                                                                ······
                                                                 ·····A.···That·--·that's·the·purpose·of·the
·5·
  ·you·request·or·the·nature·of·the·request·qualifies         ·5·
                                                                ·investigatory·meeting.
·6·
  ·the·individual·for·intermittent·FMLA,·we'll·then           ·6·
                                                                · · ··Q.· ·Got it.··Okay.
·7·
  ·approve·for·the·frequency·documented·by·the·medical        ·7·
                                                                · · · · · ·And that, here, was set to occur on
·8·
  ·professional.                                              ·8·
                                                                ·November 3, 2015.··Do you know if it did occur on
·9·
  · · ··Q.· ·Got it.··Okay.                                   ·9·
                                                                ·that date?
10·
  · · · · · ·MR. CRONE:··Now is a great time to go off        10·
                                                                ······
                                                                 ·····A.···That,·I·don't.
11·
  ·the record and take that break.                            11·
                                                                · · ··Q.· ·Okay.··And the letter here is dated
12·
  · · · · · ·THE WITNESS:··All right.··Thank you.             12·
                                                                ·October 30, 2015.··So by October 30, 2015, management
13·
  · · · · · ·THE VIDEOGRAPHER:··The time now is 1:48.         13·
                                                                ·hadn't yet made up its mind to terminate Ms. Brigham?
14·
  ·We're off the record.                                      14·
                                                                ······
                                                                 ·····A.···That's·my·understanding.
15·
  · · · · · ·(Recess from 1:48 p.m. to 1:59 p.m.)             15·
                                                                · · ··Q.· ·Okay.··Let's set -- let's set that aside,
16·
  · · · · · ·THE VIDEOGRAPHER:··The time now is 1:59.         16·
                                                                ·and I want to -- sorry.··I want to -- I want to pull
17·
  ·We're back on the record.                                  17·
                                                                ·up -- this is going to be a little out of order
18·
  · · ··Q.· ·(BY MR. CRONE)··While we were off the            18·
                                                                ·again.··Sorry about that.··I'm going to send you

19·
  ·record, I went ahead and sent you Exhibit 8.               19·
                                                                ·what's -- what's going to be labeled Exhibit 10.··I'm

20·
  ······
   ·····A.···Oh.                                              20·
                                                                ·sending it to Danielle, and now I will send it to

21·
  · · ··Q.· ·So hopefully you can pull that up.               21·
                                                                ·you.

22·
  · · · · · ·MR. CRONE:··And, Danielle, I e-mailed            22·
                                                                · · · · · ·Okay.··Once you have Exhibit 10, if you

23·
  ·Exhibit 8 to you as well.                                  23·
                                                                ·could -- it's a short e-mail letter.··If you could

24·
  · · · · · ·MS. KITSON:··Great.                              24·
                                                                ·review it.··Let me know when you've done that.

25·
  · · ··Q.· ·(BY MR. CRONE)··So once you have it pulled       25·
                                                                ······
                                                                 ·····A.···Okay.··I·just·opened·it·up,·so·I'm·going·to


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                                                         169                                                            171
·1·
  ·read·it·now.                                                ·1·
                                                                 · · ··Q.· ·Yeah, no problem.··There you -- I have it
·2·
  · · ··Q.· ·Thanks.                                           ·2·
                                                                 ·there.
·3·
  ······
   ·····A.···Okay.                                             ·3·
                                                                 ······
                                                                  ·····A.···Okay.··The·one·that·has·the·next·steps?
·4·
  · · ··Q.· ·So Exhibit 10 is an e-mail from Shelly --         ·4·
                                                                 · · ··Q.· ·Yeah.··Just that line because, again, I --
·5·
  ·how do you pronounce her last name?··Is it "Leyner"?        ·5·
                                                                 ·I don't want to wade into that privileged area.··Just
·6·
  ·"Leyner"?                                                   ·6·
                                                                 ·the next steps.
·7·
  ······
   ·····A.···"Leyner."                                         ·7·
                                                                 ······
                                                                  ·····A.···Uh-huh.
·8·
  · · ··Q.· ·"Leyner" -- to yourself; is that correct?         ·8·
                                                                 · · ··Q.· ·Do you see where you had wrote on -- so,
·9·
  ······
   ·····A.···It's·to·the·inflight·department.                  ·9·
                                                                 ·first of all, this is on October 2, 2015; is that
10·
  · · ··Q.· ·Oh, and -- and you're cc'd.··Yeah.                10·
                                                                 ·correct?
11·
  ······
   ·····A.···Yeah.                                             11·
                                                                 ······
                                                                  ·····A.···Yes.
12·
  · · ··Q.· ·Okay.··Do you recall receiving this e-mail?       12·
                                                                 · · ··Q.· ·And here you wrote, Next steps.··If the
13·
  ······
   ·····A.···Yes.                                              13·
                                                                 ·last occurrence is not covered by FMLA, then we
14·
  · · ··Q.· ·Okay.··And the date is October 27, 2015; is       14·
                                                                 ·proceed with the term steps.
15·
  ·that correct?                                               15·
                                                                 ······
                                                                  ·····A.···Uh-huh.
16·
  ······
   ·····A.···Looks·like·it,·yes.                               16·
                                                                 · · ··Q.· ·So here, are you saying that if the last
17·
  · · ··Q.· ·And what is Ms. Leyner telling not just           17·
                                                                 ·occurrence isn't covered by FMLA, then you're going
18·
  ·you, but -- but you by way of copy on this e-mail?          18·
                                                                 ·to fire Ms. Brigham?
19·
  ······
   ·····A.···Basically,·that·the·infraction·that               19·
                                                                 ······
                                                                  ·····A.···No.··Term·steps·will·always·refer·to·the
20·
  ·occurred·23-25·did·not·meet·their·criteria·for·--·to        20·
                                                                 ·section·of·the·contract·--·the·investigatory·meeting.
21·
  ·be·recorded·to·intermittent·FMLA.                           21·
                                                                 ·It·was·just·a·side·term·that·--·we·referred·to·that
22·
  · · ··Q.· ·And what did that mean for Ms. Brigham on         22·
                                                                 ·investigatory·meeting·as·term·steps.··So·it·was·the
23·
  ·October 27?                                                 23·
                                                                 ·beginning·process·of·that.
24·
  ······
   ·····A.···Can·you·repeat·that?                              24·
                                                                 · · ··Q.· ·Okay.
25·
  · · ··Q.· ·What did that mean for Ms. Brigham as of          25·
                                                                 ······
                                                                  ·····A.···But·no,·not·--·not·that·she·was·going·to·be

                                                         170                                                            172
·1·
  ·October 27, 2015?                                           ·1·
                                                                 ·terminated.
·2·
  ······
   ·····A.···That·meant·that·the·nature·--·so,                 ·2·
                                                                 · · ··Q.· ·Okay.
·3·
  ·essentially,·she·would·have·requested·intermittent          ·3·
                                                                 ······
                                                                  ·····A.···That·decision·is·never·rendered·until·all
·4·
  ·FMLA,·and·the·request·was·not·necessarily·accepted;         ·4·
                                                                 ·the·facts·are·determined·and·the·employee·is·allowed
·5·
  ·therefore,·they·were·notifying·the·department·that·it       ·5·
                                                                 ·to·weigh·in·in·case·there's·something·that·we·have
·6·
  ·would·remain·as·a·sick·call.                                ·6·
                                                                 ·missed.
·7·
  · · ··Q.· ·Does that mean that she would be                  ·7·
                                                                 · · ··Q.· ·So if there was something you had missed,
·8·
  ·terminated?                                                 ·8·
                                                                 ·for example, that would recode the absence described
·9·
  ······
   ·····A.···No.··That·means·that·the·instance·would           ·9·
                                                                 ·in -- in Exhibit 10 by Ms. Leyner, that could change
10·
  ·be·--·fall·under·the·dependability·policy.                  10·
                                                                 ·the outcome?··Is that what you're saying?
11·
  · · ··Q.· ·Okay.··Can you pull up Exhibit 5 again?··Do       11·
                                                                 ······
                                                                  ·····A.···Yeah,·depending·on·what·the·employee
12·
  ·you have that still at your fingertips?                     12·
                                                                 ·presented.··Correct.
13·
  ······
   ·····A.···Do·you·know·which·one·it·was?                     13·
                                                                 · · ··Q.· ·Okay.··Okay.··I'm going to -- I'm going to
14·
  · · ··Q.· ·It was -- it was Number 5, and it was the         14·
                                                                 ·go out of order a little bit again, so sorry about
15·
  ·e-mail that we were arguing about whether a portion         15·
                                                                 ·that.··This one is going to be called Exhibit 15.
16·
  ·was privileged.··And I don't want to look at that           16·
                                                                 ·And let me send it to Danielle first.··Then I will
17·
  ·part at all.··I want to look at that last sentence          17·
                                                                 ·send it to you.··I'm getting a little more efficient
18·
  ·that we agreed was okay to look at.                         18·
                                                                 ·at this, I think, and that ought to show up to you in
19·
  ······
   ·····A.···Okay.··One·second.                                19·
                                                                 ·a second.
20·
  · · ··Q.· ·I can resend it, if need be.                      20·
                                                                 ······
                                                                  ·····A.···Okay.
21·
  ······
   ·····A.···I'm·just·going·through·all·the·attachments        21·
                                                                 · · ··Q.· ·And then the same thing.··Once you get it,
22·
  ·real·quick.··I·think·I·might·have·closed·it.                22·
                                                                 ·if you could review it real quick and let me know
23·
  · · ··Q.· ·Okay.··I'm going to -- I'll get you another       23·
                                                                 ·once you've done that.
24·
  ·copy.                                                       24·
                                                                 ······
                                                                  ·····A.···Okay.··I·have·it.
25·
  ······
   ·····A.···Okay.··Thank·you.                                 25·
                                                                 · · ··Q.· ·Thank you.··Oh, you know what?··I -- I just


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                                                         173                                                            175
·1·
  ·noticed something, Mr. Arellano.··I'm sorry.··The           ·1·
                                                                 ·supervisor,·but·she·was·an·inflight·supervisor.
·2·
  ·very bottom of this exhibit has that same e-mail            ·2·
                                                                 · · ··Q.· ·Got it.··Okay.··And it was way earlier in
·3·
  ·where a good portion of it is privileged.                   ·3·
                                                                 ·the day when you mentioned her name, so it's a while
·4·
  ······
   ·····A.···Okay.                                             ·4·
                                                                 ·back I asked you that.
·5·
  · · ··Q.· ·So the same -- same sort of caution.··I           ·5·
                                                                 ······
                                                                  ·····A.···Yeah.
·6·
  ·don't want to look at any of that stuff.··Just --           ·6·
                                                                 · · ··Q.· ·And here, where -- where Ms. Williams is
·7·
  ·just anything else.                                         ·7·
                                                                 ·writing to Shelly Leyner, I understand you're not
·8·
  ······
   ·····A.···Okay.··Go·ahead.                                  ·8·
                                                                 ·copied on this, but I'm -- I'm interested in your
·9·
  · · ··Q.· ·So at the top of that Exhibit 15, there           ·9·
                                                                 ·opinion.
10·
  ·you're writing an e-mail to Shelly Leyner on                10·
                                                                 ······
                                                                  ·····A.···Okay.
11·
  ·October 2, 2015; is that correct?                           11·
                                                                 · · ··Q.· ·It says -- is -- here is -- do you
12·
  ······
   ·····A.···That·is·correct.                                  12·
                                                                 ·know what Ms. Williams is referring to, this
13·
  · · ··Q.· ·And you wrote, Hi Shelly, Let's ensure we         13·
                                                                 ·leave-of-absence paperwork for a medical condition?
14·
  ·have our i's dotted and t's crossed before moving           14·
                                                                 ······
                                                                  ·····A.···Can·I·read·it·real·quickly?
15·
  ·forth with term.                                            15·
                                                                 · · ··Q.· ·Oh, yeah, please do.··Yeah.
16·
  ······
   ·····A.···Correct.                                          16·
                                                                 ······
                                                                  ·····A.···Okay.··And·so·what·was·your·question·again?
17·
  · · ··Q.· ·Again, here are you referring to                  17·
                                                                 ·I'm·sorry.
18·
  ·terminating Ms. Brigham, or are you referring to the        18·
                                                                 · · ··Q.· ·Yeah.··This -- so here it looks like
19·
  ·steps taken towards --                                      19·
                                                                 ·Ms. Williams is referring to leave-of-absence
20·
  ······
   ·····A.···Referring·to·the·steps.··Typically,·what·we       20·
                                                                 ·paperwork for a medical condition that will require
21·
  ·would·do,·anytime·anybody·reached·that·termination          21·
                                                                 ·her schedule to be cleared for the month.··"She
22·
  ·level·or·step·or·initiating·that·fact-finding,·we           22·
                                                                 ·expressed to me that it is urgent."
23·
  ·wanted·to·make·sure·we·had·our·facts·so·that·we             23·
                                                                 · · · · · ·Do you know what -- what Ms. Williams is
24·
  ·wouldn't·waste·everybody's·time·if·they·came·in·and         24·
                                                                 ·referring to?
25·
  ·we·missed·something.                                        25·
                                                                 ······
                                                                  ·····A.···Yeah.··I·believe·either·on·that·same·day·or

                                                         174                                                            176
·1·
  ···········
   ··········So·in·reference·to·this·"ensure·we·have·our       ·1·
                                                                 ·the·day·prior,·we·had·met·with·--·or·even·after·--
·2·
  ·i's·dotted·and·t's·crossed,"·I·wanted·to·ensure·that        ·2·
                                                                 ·with·Ms.·Rebecca·Brigham·in·terms·of·what·was·going
·3·
  ·any·infraction·was·properly·coded·that·she·had              ·3·
                                                                 ·on·with·her·situation.
·4·
  ·requested·and·that·everything·had·been·taken·care·of,       ·4·
                                                                 · · ··Q.· ·Got it.··So --
·5·
  ·so·that·way·we·didn't·waste·her·time·or·our·time·to         ·5·
                                                                 ······
                                                                  ·····A.···So·I·believe·she·was·approved·for·FMLA,
·6·
  ·go·to·that·meeting·and·then·determine,·Oh,·we·forgot        ·6·
                                                                 ·continuous·leave.
·7·
  ·to·recode·this·occurrence·over·to·intermittent·FMLA.        ·7·
                                                                 · · ··Q.· ·Okay.··Got it.··So is this when -- is
·8·
  · · ··Q.· ·Okay.                                             ·8·
                                                                 ·this -- is this right around the time, then, that
·9·
  ······
   ·····A.···Yeah.                                             ·9·
                                                                 ·Ms. Brigham went to a monthlong treatment out of
10·
  · · ··Q.· ·I am -- if you give me just a second here,        10·
                                                                 ·state?
11·
  ·I'm actually getting rid of stuff here.··So -- so           11·
                                                                 ······
                                                                  ·····A.···To·my·understanding,·yes.
12·
  ·this will save us some time if you just bear with me        12·
                                                                 · · ··Q.· ·Okay.
13·
  ·for a minute here.                                          13·
                                                                 ······
                                                                  ·····A.···So·that·would·have·entered·her·into·the
14·
  · · · · · ·Okay.··I'm going to apologize again for the       14·
                                                                 ·self-disclosure·program.
15·
  ·order.··I'm going to send you a document that is            15·
                                                                 · · ··Q.· ·Got it.··Okay.
16·
  ·labeled Exhibit 21.                                         16·
                                                                 · · · · · ·Okay.··We're going to back up to a document
17·
  ······
   ·····A.···Okay.                                             17·
                                                                 ·that's now titled Exhibit 13.··Give me just one
18·
  · · ··Q.· ·Okay.··And same -- same thing as always.          18·
                                                                 ·second here.
19·
  ·Once you get it and review it, let me know.                 19·
                                                                 · · · · · ·Okay.··When that shows up for you,
20·
  ······
   ·····A.···Let·me·see·--·oh,·there·it·is.··Okay.··I'm        20·
                                                                 ·Mr. Arellano, if you could review that and let me
21·
  ·in·there·now.                                               21·
                                                                 ·know once you have.
22·
  · · ··Q.· ·Okay.··And is that -- is this e-mail from         22·
                                                                 ······
                                                                  ·····A.···Okay.··I·have·it.··I'm·going·to·read·it
23·
  ·JJ Williams -- is this the other supervisor that you        23·
                                                                 ·now.
24·
  ·had mentioned was one of Ms. Brigham's supervisors?         24·
                                                                 · · ··Q.· ·Thank you.
25·
  ······
   ·····A.···She·--·I·don't·know·if·she·was·Brigham's          25·
                                                                 ······
                                                                  ·····A.···Okay.


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                                                         177                                                            179
·1·
  · · ··Q.· ·Okay.··Have you ever seen this document           ·1·
                                                                 ·it's·just·--·it's·hard·for·me·to·answer·that·question
·2·
  ·before?                                                     ·2·
                                                                 ·honestly.··I·wouldn't·know.
·3·
  ······
   ·····A.···Not·--·not·this·specific·document,·no.            ·3·
                                                                 · · ··Q.· ·Do you -- do you ever trust managers who --
·4·
  · · ··Q.· ·But do -- do you know what it -- what this        ·4·
                                                                 ·who work below you -- do you ever trust their opinion
·5·
  ·document is?                                                ·5·
                                                                 ·on -- on -- on -- on an employee's performance that
·6·
  ······
   ·····A.···It·looks·--·possibly·a·document·that·was          ·6·
                                                                 ·you have not directly observed?
·7·
  ·used·right·after·her·hire.··She·was·a·probationary          ·7·
                                                                 ······
                                                                  ·····A.···Yeah.··They·would·have·the·best·information
·8·
  ·flight·attendant·at·the·time.··So·other·than·that,          ·8·
                                                                 ·on·that·employee's·performance,·true.
·9·
  ·I·--·yeah,·I'm·not·sure·what·method·it·would·have           ·9·
                                                                 · · ··Q.· ·Okay.··And so here, whichever manager
10·
  ·been·used.                                                  10·
                                                                 ·filled this out, I mean, do you -- do you trust this
11·
  · · ··Q.· ·On -- at -- at the bottom of the second           11·
                                                                 ·evaluation was filled out accurately?
12·
  ·page where there's bolded Personnel File -- do you          12·
                                                                 ······
                                                                  ·····A.···Sure.
13·
  ·see where I'm at there?··Then under it it says,             13·
                                                                 · · ··Q.· ·Okay.··I'm going to hand you -- I think we
14·
  ·Number of Complimentary Letters --                          14·
                                                                 ·might actually be in order for at least one.··The
15·
  ······
   ·····A.···Uh-huh.                                           15·
                                                                 ·next one is Exhibit 14.··And same as always, if you
16·
  · · ··Q.· ·-- 2, and a bunch of exclamation points;          16·
                                                                 ·can give that a review when you receive it and let me
17·
  ·Number of Complaint Letters, zero.··And then there's        17·
                                                                 ·know once you have.
18·
  ·some comments, and whoever filled this out said,            18·
                                                                 ······
                                                                  ·····A.···Give·me·--

19·
  ·Rebecca has two very nice kudos letters in her file         19·
                                                                 · · ··Q.· ·And I'm sorry.··And, Mr. Arellano, I'm

20·
  ·and her IOE eval has raving review.··The two missed         20·
                                                                 ·sorry.··This one also has that other e-mail.··I just

21·
  ·trips in no way affect her performance or attitude.         21·
                                                                 ·scrolled through it.··I see it now.

22·
  ·She obviously loves this job.                               22·
                                                                 ······
                                                                  ·····A.···Okay.

23·
  ······
   ·····A.···Okay.                                             23·
                                                                 · · ··Q.· ·The one we've argued about.··So same kind

24·
  · · ··Q.· ·Was -- you know, based on your experience         24·
                                                                 ·of deal, if you could just not pay attention to most

25·
  ·and your time at Frontier, was Ms. Brigham off to a         25·
                                                                 ·of that e-mail.

                                                         178                                                            180
·1·
  ·great start?··Was she off to a good -- good start           ·1·
                                                                 ······
                                                                  ·····A.···Okay.
·2·
  ·when she started the position?                              ·2·
                                                                 · · · · · ·MS. KITSON:··And I think, John, what
·3·
  ······
   ·····A.···It's·hard·for·me·to·say·because·I·didn't          ·3·
                                                                 ·happened, just for your -- I -- I think -- we have a
·4·
  ·manage·Ms.·Brigham,·so·I·really·can't·speak·to·that         ·4·
                                                                 ·redaction tool in our document review system, and I
·5·
  ·at·all.··Yeah.                                              ·5·
                                                                 ·think what happened is maybe the redactions didn't
·6·
  · · ··Q.· ·This is -- this isn't enough for you?             ·6·
                                                                 ·get applied before final production.··So we will swap
·7·
  · · · · · ·MS. KITSON:··Object to the form.                  ·7·
                                                                 ·those out with redacted versions.
·8·
  · · ··Q.· ·(BY MR. CRONE)··Well, not -- well -- well,        ·8·
                                                                 · · · · · ·MR. CRONE:··Yeah, and that's okay.··I just
·9·
  ·I was going to follow it up with what other pieces of       ·9·
                                                                 ·want to -- I just want you to know I'm not trying
10·
  ·information would you need to know?                         10·
                                                                 ·to -- I'm not trying to throw this thing all over
11·
  · · · · · ·MS. KITSON:··Object to the form.                  11·
                                                                 ·there.··I just didn't -- didn't know it was there.
12·
  ······
   ·····A.···Yeah,·I·--·I·just·--·I·just·can't·make·that       12·
                                                                 ·I'm actually just interested in the top.
13·
  ·assessment.··It's·hard·for·me·to·answer·if·she·was·or       13·
                                                                 · · ··Q.· ·(BY MR. CRONE)··But, of course, take a look
14·
  ·was·not.                                                    14·
                                                                 ·it all, Mr. Arellano.
15·
  · · ··Q.· ·(BY MR. CRONE)··Yeah, and then -- so -- so        15·
                                                                 ······
                                                                  ·····A.···Okay.
16·
  ·then I'll -- I'll follow it up with a question.             16·
                                                                 · · ··Q.· ·So this is an e-mail from you to
17·
  ·What -- what additional information would allow you         17·
                                                                 ·Stefanie Coppedge; is that correct?
18·
  ·to you make that assessment?                                18·
                                                                 ······
                                                                  ·····A.···Yes.
19·
  ······
   ·····A.···I·don't·--·that,·I·don't·know.··I·think,          19·
                                                                 · · ··Q.· ·The -- the -- the top portion?
20·
  ·overall,·the·inflight·managers/supervisors·had·access       20·
                                                                 ······
                                                                  ·····A.···Yeah.
21·
  ·to·information·that·I·wouldn't·have.··That's·through        21·
                                                                 · · ··Q.· ·And that's dated October 6, 2015?
22·
  ·everyday·engagement,·interaction,·compliance·with·the       22·
                                                                 ······
                                                                  ·····A.···Correct.
23·
  ·contract.                                                   23·
                                                                 · · ··Q.· ·Okay.··So at the second paragraph, you
24·
  ···········
   ··········This·doesn't·address·a·lot·of·these·issues        24·
                                                                 ·wrote, The other piece I'm noticing is that all her
25·
  ·or·concerns·or·--·or·anything·like·that.··Yet·again,        25·
                                                                 ·overnights (August and September) seem to only occur


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                                                         181                                                            183
·1·
  ·over the weekends.··This seems to be a change in            ·1·
                                                                 ·at Frontier?
·2·
  ·pattern from her previous months.                           ·2·
                                                                 ······
                                                                  ·····A.···No.
·3·
  · · · · · ·I want to just take that -- those two             ·3·
                                                                 · · ··Q.· ·But at this time, she was a drug and
·4·
  ·sentences.··What do you -- what do you mean there?          ·4·
                                                                 ·alcohol specialist; is that correct?
·5·
  ·What -- what -- what are you getting at?                    ·5·
                                                                 ······
                                                                  ·····A.···Yeah.··Based·on·the·signature·line,·yes.
·6·
  ······
   ·····A.···Just,·simply,·part·of·the·--·what·we·do·on        ·6·
                                                                 · · ··Q.· ·Okay.··And do you know where
·7·
  ·our·side·is·kind·of·assess·patterns,·look·at                ·7·
                                                                 ·Cassandra Micklich is employed now?
·8·
  ·situations,·look·at·schedules.                              ·8·
                                                                 ······
                                                                  ·····A.···I·do·not.
·9·
  ···········
   ··········In·an·effort·to·better·help·Rebecca·and           ·9·
                                                                 · · ··Q.· ·Okay.··What is Cassandra asking you?··I --
10·
  ·give·her·some·better·guidance,·I·would·have·reviewed        10·
                                                                 ·I read this, and I couldn't quite make sense of it.
11·
  ·her·schedule·to·assess·and·kind·of·see·if·there's·any       11·
                                                                 ·I was hoping you could help.
12·
  ·change·in·pattern,·change·in·bidding,·and·any               12·
                                                                 ······
                                                                  ·····A.···Looks·like·she·had·a·conversation·with
13·
  ·specific·trips·that·should·have·occurred·to·help·us         13·
                                                                 ·Rebecca,·asking·about·calling·in·well·if·she·called
14·
  ·have·a·better·understanding.··And·in·that·case,·I·was       14·
                                                                 ·off·for·a·trip.
15·
  ·simply·highlighting·that.                                   15·
                                                                 ···········
                                                                  ··········And·so·in·the·contract,·there's·two
16·
  · · ··Q.· ·Okay.··And then you go on to write, I was         16·
                                                                 ·conditions.··If·you·are·calling·in·sick·for·a·trip,
17·
  ·auditing her Crew Trac schedule and find that she           17·
                                                                 ·basically,·it·prevents·you·from·calling·in·well·and
18·
  ·dropped a four-day (9/18/15 through 9/21/15) and then       18·
                                                                 ·picking·up·the·remainder·of·the·trip.··However,·if
19·
  ·adds a three-day (9/18/15 to 9/20/15).··I also              19·
                                                                 ·you're·approved·for·intermittent·FMLA,·intermittent
20·
  ·noticed this a few times for the August bid month.          20·
                                                                 ·FMLA·would·allow·you·to·pick·up·the·trip,·depending
21·
  ·The question that arises, is she truly doing                21·
                                                                 ·on·the·type·of·trip·and·how·long·--·the·longevity·of
22·
  ·everything (bidding accordingly) to help herself?           22·
                                                                 ·the·trip.
23·
  ·I'm not so sure anymore.                                    23·
                                                                 ···········
                                                                  ··········And·I·think·Rebecca·--·I·mean·Cassie·or
24·
  · · · · · ·What did you mean by that?                        24·
                                                                 ·Cassandra·is·trying·to·clarify,·if·she·did·this,
25·
  ······
   ·····A.···Well,·I·was·just·answering·--·or·asking·the       25·
                                                                 ·could·she·call·in·well.··But·it·would·depend.··If

                                                         182                                                            184
·1·
  ·question,·and·I·was·trying·to·seek·clarification.           ·1·
                                                                 ·she's·calling·in·sick,·then·the·option·would·be·no.
·2·
  ·If·--·she·had·a·--·looked·like·a·four-day·and·then          ·2·
                                                                 ·If·she's·requesting·intermittent·FMLA,·the·answer
·3·
  ·she·dropped·that·same·trip·but·right·over·that·trip         ·3·
                                                                 ·would·be·yes.
·4·
  ·that·she·dropped,·she·picked·up·a·three-day·on·the          ·4·
                                                                 · · ··Q.· ·Okay.
·5·
  ·same·time·period.                                           ·5·
                                                                 ······
                                                                  ·····A.···And·so·in·this·case,·anything·related·to
·6·
  ···········
   ··········And·so·recapping·conversations·that·she·and       ·6·
                                                                 ·schedules,·operational·procedures,·we·always·refer
·7·
  ·I·had,·she·didn't·want·to·do·layovers.··And·so·my           ·7·
                                                                 ·them·to·the·inflight·supervisor·or·manager·or
·8·
  ·question·was·why·would·one·pick·up·a·three-day?             ·8·
                                                                 ·department·to·answer·those·questions.
·9·
  · · ··Q.· ·Did you not trust that she was doing              ·9·
                                                                 · · ··Q.· ·Okay.··And so that's why your response
10·
  ·everything to help herself at this point?                   10·
                                                                 ·to -- to Cassie, Cassandra, was, Good question.··I
11·
  ······
   ·····A.···Oh,·definitely.··I·was·just·kind·of               11·
                                                                 ·would recommend she reach out to her inflight
12·
  ·verifying.                                                  12·
                                                                 ·supervisor?
13·
  · · ··Q.· ·Okay.··Next one is -- let me make sure.           13·
                                                                 ······
                                                                  ·····A.···Correct.
14·
  ·Next one is Exhibit 16.··Okay.··Same -- same drill,         14·
                                                                 · · ··Q.· ·Okay.··Thank you.··We can set that aside.
15·
  ·Mr. Arellano.                                               15·
                                                                 · · · · · ·I'm trying to get rid of a couple more
16·
  ······
   ·····A.···Okay.··Give·me·one·second.··Okay.··I'm·in         16·
                                                                 ·here.··Just got rid of two more, if that makes you
17·
  ·there·now.                                                  17·
                                                                 ·feel good.
18·
  · · ··Q.· ·Great.··Thanks.··Yes.··If you could take a        18·
                                                                 ······
                                                                  ·····A.···Okay.
19·
  ·look and let me know once you've reviewed.                  19·
                                                                 · · · · · ·MS. KITSON:··I like it.
20·
  ······
   ·····A.···Okay.                                             20·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Okay.··Where -- okay.
21·
  · · ··Q.· ·So at the bottom where Cassandra Micklich         21·
                                                                 ·This -- so the next one out of order, of course,
22·
  ·is writing you an e-mail, that's July 10, 2015,             22·
                                                                 ·still, because I've -- I've taken stuff out and
23·
  ·right?                                                      23·
                                                                 ·whatever, but this one's going to be Exhibit 20.
24·
  ······
   ·····A.···July·10,·2015,·correct.                           24·
                                                                 · · · · · ·And when you receive it, Mr. Arellano, same
25·
  · · ··Q.· ·Yeah.··Is Cassandra Micklich still employed       25·
                                                                 ·drill.··If you can review and let me know once you've


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                                                         185                                                            187
·1·
  ·reviewed.                                                   ·1·
                                                                 ·Is that your -- I mean, is that correct, in your
·2·
  ······
   ·····A.···Okay.··I'm·in·there·now.                          ·2·
                                                                 ·recollection?
·3·
  · · ··Q.· ·Thank you.                                        ·3·
                                                                 ······
                                                                  ·····A.···That·is·correct.
·4·
  ······
   ·····A.···Okay.                                             ·4·
                                                                 · · ··Q.· ·Okay.··And then if we scroll up a little
·5·
  · · ··Q.· ·Okay.··So at the -- at the bottom of              ·5·
                                                                 ·bit higher, it looks like we're at -- still at
·6·
  ·this e-mail string, you see the e-mail from                 ·6·
                                                                 ·September 28, 2015.
·7·
  ·Rebecca Brigham to Laura Rush?                              ·7·
                                                                 · · · · · ·You wrote back and said, Yes.··Not sure
·8·
  ······
   ·····A.···Yes.                                              ·8·
                                                                 ·what more we can do for her.··Can you see how many
·9·
  · · ··Q.· ·And that's dated September 28, 2015?              ·9·
                                                                 ·FMLA days she has accrued?
10·
  ······
   ·····A.···Right.                                            10·
                                                                 · · · · · ·And you wrote that back to Ms. Leyner; is
11·
  · · ··Q.· ·And Rebecca says, Hi -- Hey there, Laura.         11·
                                                                 ·that correct?
12·
  ·I was wondering if you were available anytime               12·
                                                                 ······
                                                                  ·····A.···Correct.
13·
  ·this week to meet me -- with me regarding my                13·
                                                                 · · ··Q.· ·Okay.··And here, can you recall, as of
14·
  ·self-disclosure and if we can find a solution for           14·
                                                                 ·September 28, 2015, whether or not there was more
15·
  ·my calling in for overnights.··Thanks, Rebecca              15·
                                                                 ·that you could have done for -- in response to
16·
  ·Brigham #413206.                                            16·
                                                                 ·Ms. Brigham's request in this e-mail?
17·
  · · · · · ·Laura Rush then responds:··Hey Rebecca, Any       17·
                                                                 ······
                                                                  ·····A.···I·believe·so,·and·that's·the·reason·I·was
18·
  ·accommodation requests must go through Shelly Leyner        18·
                                                                 ·asking,·Can·you·see·how·many·FMLA·days·she·has
19·
  ·in HR.··Unfortunately, inflight is unable to do             19·
                                                                 ·accrued?
20·
  ·anything else at this time.                                 20·
                                                                 · · ··Q.· ·Okay.
21·
  · · · · · ·So I want to stop there and ask you, is           21·
                                                                 ······
                                                                  ·····A.···Fortunately,·with·that,·FMLA·days·roll·off
22·
  ·Laura Rush's response correct?                              22·
                                                                 ·regarding·intermittent,·and·then·that·way,·when·they
23·
  ······
   ·····A.···Well,·not·necessarily.··And·the·reason·why        23·
                                                                 ·roll·off,·she's·accruing·more.··Ultimately,·that·was
24·
  ·I·say·that,·she·doesn't·--·she's·not·requesting·--·in       24·
                                                                 ·the·direction,·Hey,·can·you·do·another·audit·and·see
25·
  ·the·e-mail,·just·based·on·the·language,·she's·not           25·
                                                                 ·if·she·has·accrued·any·additional·time?

                                                         186                                                            188
·1·
  ·requesting·an·accommodation.··It's·just·simply·she          ·1·
                                                                 ···········
                                                                  ··········So,·in·essence,·to·answer·your·question,
·2·
  ·wanted·to·discuss·with·Laura.                               ·2·
                                                                 ·yes,·we·could·have·done·more·in·that·case·had·she·had
·3·
  ···········
   ··········And·so·it's·hard·for·me·to·identify·if            ·3·
                                                                 ·more·days·on·top.··Other·option:··She·could·have
·4·
  ·Laura,·in·that·respect,·is·incorrect,·because·Rebecca       ·4·
                                                                 ·exercised·personal·leave·as·an·option·as·well.
·5·
  ·does·not·identify·she's·wanting·to·discuss·an               ·5·
                                                                 · · ··Q.· ·Okay.··Any -- any other options?
·6·
  ·accommodation.                                              ·6·
                                                                 ······
                                                                  ·····A.···Definitely·she·could·have·gone·on
·7·
  · · ··Q.· ·Okay.··So --                                      ·7·
                                                                 ·continuous·leave·if·she·was·looking·to·be·out·for
·8·
  ······
   ·····A.···Is·that·what·you·were·referring·to?               ·8·
                                                                 ·additional·time.··So,·yeah,·other·options·for·sure.
·9·
  · · ··Q.· ·I'm sorry; I didn't mean to cut you off.          ·9·
                                                                 · · ··Q.· ·Okay.··So the next one is -- is Exhibit 23.
10·
  ·Please --                                                   10·
                                                                 ·I'll send it to Danielle.··Okay.··And then same
11·
  ······
   ·····A.···Is·that·what·you·were·referring·to,·or            11·
                                                                 ·thing.··Once you get it, if you could review it and
12·
  ·something·else?                                             12·
                                                                 ·then let me know.
13·
  · · ··Q.· ·It is, yes.··So -- thank you.                     13·
                                                                 ······
                                                                  ·····A.···Okay.··I'm·in·there·now.
14·
  · · · · · ·And then -- and then as we scroll up, it          14·
                                                                 · · ··Q.· ·Okay.··Thank you.
15·
  ·looks like Shelly then e-mails you on September 28,         15·
                                                                 ······
                                                                  ·····A.···Okay.
16·
  ·2015.··Do you see where I'm at?                             16·
                                                                 · · ··Q.· ·Okay.··So here it looks like, if you
17·
  ······
   ·····A.···Yes.                                              17·
                                                                 ·scroll down to the bottom of the e-mail chain, on
18·
  · · ··Q.· ·And Shelly says, Hi Jerry.··Shall we --           18·
                                                                 ·September 5, 2014, you asked Shelly Leyner to get a
19·
  ·Shall we call a meeting?                                    19·
                                                                 ·list of all active employees who have been on
20·
  ······
   ·····A.···Okay.                                             20·
                                                                 ·approved LOA -- that means leave of absence, right?
21·
  · · ··Q.· ·And she's forwarded you Ms. Brigham's             21·
                                                                 ······
                                                                  ·····A.···Correct.
22·
  ·e-mail; is that correct?                                    22·
                                                                 · · ··Q.· ·-- greater than 180 days.··So is that -- is
23·
  ······
   ·····A.···Yes.                                              23·
                                                                 ·that what you were asking Ms. Leyner?
24·
  · · ··Q.· ·Okay.··And at this time, Ms. Leyner is the        24·
                                                                 ······
                                                                  ·····A.···Yes,·for·basically·180·days,·anybody·who
25·
  ·super -- supervisor of disability program management.       25·
                                                                 ·was·out·on·continuous·LOA.


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                                                         189                                                            191
·1·
  · · ··Q.· ·Got it.··Okay.··And then she responded with       ·1·
                                                                 ·termination steps?
·2·
  ·this chart.··And -- and that's on September 19, 2014.       ·2·
                                                                 ······
                                                                  ·····A.···Termination·steps·or·a·final·termination
·3·
  ·Do you see that response?                                   ·3·
                                                                 ·warning?
·4·
  ······
   ·····A.···September·19,·the·little·chart,·yes.              ·4·
                                                                 · · ··Q.· ·I'm sorry.··Final termination warning.
·5·
  · · ··Q.· ·Yeah.··So my question is it looks like -- I       ·5·
                                                                 ······
                                                                  ·····A.···I·do·believe·she·had·a·few·final
·6·
  ·just want to know if I'm reading this right.··So it         ·6·
                                                                 ·termination·warnings.
·7·
  ·looks like that she's got this list of what would be        ·7·
                                                                 · · ··Q.· ·Okay.··And -- and it -- to your
·8·
  ·names, but it looks like, where it's highlighted in         ·8·
                                                                 ·recollection, this all has to do with the
·9·
  ·black, are -- is that all Rebecca Brigham, and then         ·9·
                                                                 ·dependability policy?
10·
  ·the ones that aren't highlighted in black are other         10·
                                                                 ······
                                                                  ·····A.···It·related·to·dependability,·yes.
11·
  ·people?··Or am I looking at this wrong?                     11·
                                                                 · · ··Q.· ·Okay.
12·
  ······
   ·····A.···I·would·have·to·--·yeah.··I'm·just·going·to       12·
                                                                 ······
                                                                  ·····A.···I'm·not·sure·about·the·written·warning.
13·
  ·kind·of·go·through·this·now·because·this·document           13·
                                                                 ·Depending·on·the·infraction,·people·can·skip·steps.
14·
  ·typically·would·highlight·--·it·just·has·her·name.          14·
                                                                 · · ··Q.· ·Okay.··Okay.
15·
  ···········
   ··········No.··The·way·this·looks,·it·would·be·a            15·
                                                                 ······
                                                                  ·····A.···And·so·she·could·have·gone·from·a
16·
  ·spreadsheet·that·would·document·and·reflect·flight          16·
                                                                 ·documented·verbal·warning·to·a·final·termination
17·
  ·attendants,·not·just·Rebecca,·but·anybody·who·had           17·
                                                                 ·warning,·depending·on·how·many·occurrences·she·had.
18·
  ·continuous·leave·for·a·period·of·time.                      18·
                                                                 · · ··Q.· ·Okay.
19·
  ···········
   ··········And·if·you·look·at·that,·you·look·at·the          19·
                                                                 ······
                                                                  ·····A.···So·.·.·.
20·
  ·base-type·--·base-type·changes·for·individuals·there        20·
                                                                 · · ··Q.· ·And so any of these absences prior to her
21·
  ·as·well,·so·I·think·it·was·others.··Not·only·Rebecca,       21·
                                                                 ·self-disclosure, do -- do you have any recollection
22·
  ·but·others.                                                 22·
                                                                 ·what they were, why she was absent --
23·
  · · ··Q.· ·Okay.··Got it.··Okay.··Thank you.                 23·
                                                                 ······
                                                                  ·····A.···No.
24·
  · · · · · ·And then are you aware of whether                 24·
                                                                 · · ··Q.· ·-- or anything like that?
25·
  ·Ms. Brigham had any performance-related issues prior        25·
                                                                 ······
                                                                  ·····A.···No.

                                                         190                                                            192
·1·
  ·to her self-disclosure?                                     ·1·
                                                                 · · ··Q.· ·Okay.
·2·
  ······
   ·····A.···Can·you·define·"performance"?                     ·2·
                                                                 ······
                                                                  ·····A.···I·do·not.
·3·
  · · ··Q.· ·So anything that would have caused her to         ·3·
                                                                 · · ··Q.· ·Okay.··Now I will hand you Exhibit 12, and
·4·
  ·be disciplined formally or informally, counseled            ·4·
                                                                 ·let me send it to Danielle.··Okay.··And same drill as
·5·
  ·verbally, anything -- anything that would have --           ·5·
                                                                 ·always.··Give it a review and let me know once you've
·6·
  ·would have -- well, let's start there.··So -- so            ·6·
                                                                 ·reviewed.
·7·
  ·anything that would have resulted in discipline.            ·7·
                                                                 ······
                                                                  ·····A.···I'm·opening·it·up·now.
·8·
  ······
   ·····A.···I·believe·so.··That·would·have·been·--·that       ·8·
                                                                 · · ··Q.· ·Thank you.
·9·
  ·I·know·of,·dependability.                                   ·9·
                                                                 ······
                                                                  ·····A.···Okay.
10·
  · · ··Q.· ·Okay.··And so can you -- can you explain          10·
                                                                 · · ··Q.· ·Okay.··This Investigation Notes and
11·
  ·what you mean by that?                                      11·
                                                                 ·Tracking Form, do you know what this form is?··Have
12·
  ······
   ·····A.···Dependability·is·any·--·is·our·attendance         12·
                                                                 ·you seen these before?
13·
  ·policy.··If·there·was·any·infraction·that·violated          13·
                                                                 ······
                                                                  ·····A.···I·have,·yes.
14·
  ·anything·identified·in·the·dependability·policy,·it         14·
                                                                 · · ··Q.· ·What are these forms used for?
15·
  ·would·have·yielded·a·performance·counseling·either          15·
                                                                 ······
                                                                  ·····A.···This·was·actually·my·form.··I·created·this
16·
  ·via·documentation·of·a·verbal·warning,·written              16·
                                                                 ·anytime·I·tracked·my·conversations·with·employees,·so
17·
  ·warning,·final·termination·warning.                         17·
                                                                 ·this·would·have·been·in·her·file·that·I·housed·in·the
18·
  · · ··Q.· ·Okay.··And do you know if -- if, prior to         18·
                                                                 ·HR·department.
19·
  ·her self-disclosure, she received any verbal                19·
                                                                 · · ··Q.· ·Okay.··And --
20·
  ·counseling related to the dependability?                    20·
                                                                 ······
                                                                  ·····A.···Just·a·reminder·of·what·I·--·what·--
21·
  ······
   ·····A.···I·believe·so.                                     21·
                                                                 ·previous·conversations.
22·
  · · ··Q.· ·And then what about a -- a -- a written           22·
                                                                 · · ··Q.· ·Got it.··Okay.··And this is -- and you know
23·
  ·warning?                                                    23·
                                                                 ·it's your form because it's your handwriting,
24·
  ······
   ·····A.···That,·I·don't·know.                               24·
                                                                 ·obviously?
25·
  · · ··Q.· ·Okay.··What about a -- what about the             25·
                                                                 ······
                                                                  ·····A.···That·is·correct.


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                                                         193                                                            195
·1·
  · · ··Q.· ·Okay.··But -- so during the time period           ·1·
                                                                 ·relapse prevention counseling and support group
·2·
  ·relevant to this deposition, which is end of 2011           ·2·
                                                                 ·meetings.··It states approaching nine months of
·3·
  ·through the end of 2015 --                                  ·3·
                                                                 ·sobriety.··Let me know what you would like us to do
·4·
  ······
   ·····A.···Uh-huh.                                           ·4·
                                                                 ·from here.
·5·
  · · ··Q.· ·-- did you -- did Frontier carry insurance        ·5·
                                                                 ······
                                                                  ·····A.···Okay.
·6·
  ·for employment-related claims?                              ·6·
                                                                 · · ··Q.· ·So who is -- who's Tammy?
·7·
  ······
   ·····A.···Can·you·elaborate?                                ·7·
                                                                 ······
                                                                  ·····A.···Tammy·would·have·been·somebody·--·I'm
·8·
  · · ··Q.· ·So when -- so, for example, Ms. Brigham's         ·8·
                                                                 ·trying·to·think.··She·was·temporarily·--·no,·I
·9·
  ·lawsuit against Frontier alleges that Frontier              ·9·
                                                                 ·think·she·was·one·of·our·coordinators·in·our
10·
  ·discriminated against her in violation of the ADA.          10·
                                                                 ·leave-of-absence·department.
11·
  ······
   ·····A.···Uh-huh.                                           11·
                                                                 · · ··Q.· ·And then --
12·
  · · ··Q.· ·So are you aware of that?                         12·
                                                                 ······
                                                                  ·····A.···Like·the·LOA·coordinator.
13·
  ······
   ·····A.···I·am.                                             13·
                                                                 · · ··Q.· ·Okay.
14·
  · · ··Q.· ·Okay.··And does -- did Frontier carry             14·
                                                                 ······
                                                                  ·····A.···Yeah.
15·
  ·insurance during this time period, 20 -- end of 2011        15·
                                                                 · · ··Q.· ·Okay.··And then -- and then the cert that
16·
  ·through end of 2015, for those types of claims?··So         16·
                                                                 ·Ms. Leyner is referring to, what -- what's the cert
17·
  ·if an employee brings a claim for unlawful                  17·
                                                                 ·that she's referring to?
18·
  ·discrimination, is Frontier insured for it?                 18·
                                                                 ······
                                                                  ·····A.···The·medical·certification·form·that's
19·
  · · · · · ·MS. KITSON:··Object to the form, outside          19·
                                                                 ·attached·to·the·intermittent·FMLA·application.
20·
  ·the scope of the topics.··He can answer, but it will        20·
                                                                 · · ··Q.· ·Okay.
21·
  ·be in his individual capacity.                              21·
                                                                 ······
                                                                  ·····A.···There's·a·section·that·the·medical
22·
  · · · · · ·MR. CRONE:··Well, and -- and -- and that's        22·
                                                                 ·physician·will·complete,·and·that's·returned,·and
23·
  ·okay.··I mean, however we get the information.              23·
                                                                 ·that's·how·they·determine·if·the·leave·will·be
24·
  ······
   ·····A.···I·do·not·know.                                    24·
                                                                 ·approved·or·not·based·on·what's·noted·in·that
25·
  · · ··Q.· ·(BY MR. CRONE)··Don't know.··Okay.                25·
                                                                 ·certification·form.

                                                         194                                                            196
·1·
  · · · · · ·Let's -- so your lawyer just sent a               ·1·
                                                                 · · ··Q.· ·Got it.··Okay.··So based on what was in
·2·
  ·document.··I want to take a look at it.··Believe it         ·2·
                                                                 ·that form, IFM, intermittent FMLA leave, was approved
·3·
  ·or not, I am very close to the end of what I had            ·3·
                                                                 ·for prevention counseling and support group meetings.
·4·
  ·planned.                                                    ·4·
                                                                 ·Is that -- is that -- is that what Ms. Leyner is
·5·
  · · · · · ·MS. KITSON:··Sorry.··Making it worse.             ·5·
                                                                 ·stating here?
·6·
  · · · · · ·MR. CRONE:··No, you're okay.··I just wanted       ·6·
                                                                 ······
                                                                  ·····A.···Yes.··Tammy·reviewed·and·approved·it·for
·7·
  ·to -- oh, okay.                                             ·7·
                                                                 ·that·specific·reason,·correct.
·8·
  · · ··Q.· ·(BY MR. CRONE)··And then --                       ·8·
                                                                 · · ··Q.· ·Okay.··Great.··Okay.
·9·
  · · · · · ·MR. CRONE:··Don't worry, we don't have to         ·9·
                                                                 · · · · · ·And if we're all lucky, I'm handing you the
10·
  ·add that, too, but thank you, Danielle, for that.           10·
                                                                 ·last one.··And I'll send it to -- this is a longer
11·
  · · ··Q.· ·(BY MR. CRONE)··And then -- okay.··I think        11·
                                                                 ·document, so when you get it, if you could open it
12·
  ·we've got just a couple more.··Okay.··Yeah.··So this        12·
                                                                 ·and tell me if you've seen the document before,
13·
  ·one's marked Exhibit 25.··I'll send it to Danielle.         13·
                                                                 ·because we don't necessarily need to review it all,
14·
  ·I'll send it to you.                                        14·
                                                                 ·but maybe we do.
15·
  · · · · · ·And same, Mr. Arellano, if you can review         15·
                                                                 ······
                                                                  ·····A.···Okay.··Yes,·I·have.
16·
  ·once you've received it.                                    16·
                                                                 · · ··Q.· ·Okay.··And this is exactly what it's
17·
  ······
   ·····A.···Okay.··I'm·in·there·now.                          17·
                                                                 ·titled, right?··This is Frontier's answer to
18·
  · · ··Q.· ·Thank you.                                        18·
                                                                 ·Rebecca Brigham's lawsuit and Frontier's defenses to
19·
  ······
   ·····A.···Okay.                                             19·
                                                                 ·the lawsuit; is that correct?
20·
  · · ··Q.· ·Okay.··So here, this is an e-mail from            20·
                                                                 ······
                                                                  ·····A.···Yes,·that's·what·the·document·states.
21·
  ·Shelly Leyner to yourself dated June 4, 2015; is that       21·
                                                                 · · ··Q.· ·Okay.··Can you skip down to page 9?
22·
  ·correct?                                                    22·
                                                                 · · · · · ·MS. KITSON:··9?
23·
  ······
   ·····A.···That·is·correct.                                  23·
                                                                 · · · · · ·MR. CRONE:··Yeah, please.
24·
  · · ··Q.· ·Okay.··And -- and Ms. Leyner says, Jerry, I       24·
                                                                 ······
                                                                  ·····A.···Okay.
25·
  ·looked at the cert, and Tammy approved IFM for              25·
                                                                 · · ··Q.· ·(BY MR. CRONE)··So do you see the head --


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                                                         197                                                            199
·1·
  ·the heading "Defenses" kind of in the middle of the         ·1·
                                                                 · · · · · ·Do you know what -- what -- what Frontier
·2·
  ·page?                                                       ·2·
                                                                 ·is getting at there?
·3·
  ······
   ·····A.···I·do.                                             ·3·
                                                                 · · · · · ·MS. KITSON:··Same objections.··Legal
·4·
  · · ··Q.· ·And then there's a numbered list of               ·4·
                                                                 ·conclusion, outside of the scope.··He can answer but
·5·
  ·defenses.··And these are Frontier's defenses to             ·5·
                                                                 ·in his individual capacity.
·6·
  ·Ms. Brigham's lawsuit, right?                               ·6·
                                                                 ······
                                                                  ·····A.···Again,·I'm·not·a·lawyer,·so·I·can't·speak
·7·
  · · · · · ·MS. KITSON:··Object to the form.                  ·7·
                                                                 ·to·that.
·8·
  ······
   ·····A.···I·would·have·to·read·it.··I·don't·know.           ·8·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Okay.··Number 6, it says,
·9·
  · · ··Q.· ·(BY MR. CRONE)··Okay.··Feel free to read          ·9·
                                                                 ·The challenged actions about which Plaintiff
10·
  ·it, and then just the -- I'm only going to ask you          10·
                                                                 ·complains would still have been taken irrespective of
11·
  ·about the list of defenses, and not all of them.            11·
                                                                 ·any alleged impermissible motivating factor.
12·
  ······
   ·····A.···Okay.                                             12·
                                                                 · · · · · ·Any idea what that means?
13·
  · · ··Q.· ·But -- so that's Numbers 1 through 17.··I         13·
                                                                 · · · · · ·MS. KITSON:··Same objections.
14·
  ·just have a few questions about those.                      14·
                                                                 ······
                                                                  ·····A.···Again,·I'm·not·a·lawyer·to·be·able·to
15·
  ······
   ·····A.···Okay.··Okay.                                      15·
                                                                 ·respond·to·that.
16·
  · · ··Q.· ·Okay.··So on -- on page 9, Number 3, do you       16·
                                                                 · · ··Q.· ·(BY MR. CRONE)··Sure.··And Number 8, it
17·
  ·see where Frontier wrote, Upon information and              17·
                                                                 ·says, The accommodations requested by Plaintiff were
18·
  ·belief, Plaintiff has failed to mitigate her damages,       18·
                                                                 ·not reasonable and would have imposed an undue burden
19·
  ·if any?··Do you see that line?                              19·
                                                                 ·on Frontier.
20·
  ······
   ·····A.···I·do.                                             20·
                                                                 · · · · · ·What's Frontier getting at in Number 8?
21·
  · · ··Q.· ·What does Frontier mean by Plaintiff has          21·
                                                                 · · · · · ·MS. KITSON:··Same objections.
22·
  ·failed to mitigate her damages?                             22·
                                                                 ······
                                                                  ·····A.···Again,·I'm·not·a·--·I·don't·have·the·legal
23·
  · · · · · ·MS. KITSON:··Object to the form, calls for        23·
                                                                 ·knowledge·to·be·able·to·respond·to·that.
24·
  ·a legal conclusion, and outside the scope of the            24·
                                                                 · · ··Q.· ·(BY MR. CRONE)··So which accommodations did
25·
  ·topics.                                                     25·
                                                                 ·Plaintiff request of Frontier?

                                                         198                                                            200
·1·
  · · · · · ·So Mr. Arellano can answer to the extent he       ·1·
                                                                 ······
                                                                  ·····A.···I·mean,·I·--
·2·
  ·can, but it will be in his individual capacity.             ·2·
                                                                 · · ··Q.· ·You -- you -- you've testified to that
·3·
  · · · · · ·MR. CRONE:··And -- and -- and we can -- we        ·3·
                                                                 ·today, haven't you?
·4·
  ·can -- we can argue about whether his testimony is          ·4·
                                                                 ······
                                                                  ·····A.···I·have.
·5·
  ·inside or outside of the scope.··Of course that's a         ·5·
                                                                 · · ··Q.· ·Okay.
·6·
  ·question we can brief down the road, and I'm happy to       ·6·
                                                                 ······
                                                                  ·····A.···And·so·what·accommodations·have·we
·7·
  ·do that if -- if we -- if we need to.                       ·7·
                                                                 ·accommodated·Ms.·Brigham?
·8·
  · · ··Q.· ·(BY MR. CRONE)··But, again, Mr. Arellano,         ·8·
                                                                 · · ··Q.· ·No, no.··Which -- which were requested by
·9·
  ·the question is, for Number 3 where Frontier wrote,         ·9·
                                                                 ·Ms. Brigham?··I'm -- I'm pretty sure you testified to
10·
  ·Plaintiff has failed to mitigate her damages, what          10·
                                                                 ·that already today.
11·
  ·is -- what is Frontier alleging there?                      11·
                                                                 ······
                                                                  ·····A.···Yeah.··In·the·form·of·time·off,·so·we·did
12·
  · · · · · ·MS. KITSON:··Same objections.                     12·
                                                                 ·accommodate·her·in·that·form.
13·
  · · · · · ·You can answer.                                   13·
                                                                 · · · · · ·MS. KITSON:··I think the question is what
14·
  ······
   ·····A.···All·right.··I'm·not·sure.··I'm·not·a·--·not       14·
                                                                 ·did she request.
15·
  ·a·lawyer·to·be·able·to·answer·it.                           15·
                                                                 ······
                                                                  ·····A.···Oh,·what·was·the·question?··What·did·she
16·
  · · ··Q.· ·(BY MR. CRONE)··That's fine.                      16·
                                                                 ·request?
17·
  ······
   ·····A.···Yeah.                                             17·
                                                                 · · ··Q.· ·Yeah, yeah, yeah.··What did Ms. Brigham
18·
  · · ··Q.· ·That's fine.                                      18·
                                                                 ·request of Frontier?
19·
  ······
   ·····A.···Yeah.                                             19·
                                                                 ······
                                                                  ·····A.···Oh.··She·requested·adjustments·to·her
20·
  · · ··Q.· ·In many more ways than you know, you're           20·
                                                                 ·schedule.··She·requested·no·layovers,·no·overnights.
21·
  ·very lucky to not be a lawyer, so . . .                     21·
                                                                 ·She·requested·roles·or·responsibilities·at·the·GO·at
22·
  · · · · · ·And then Number 5, which is on page 10, it        22·
                                                                 ·the·time.··She·requested·that·trips·be·dropped·for
23·
  ·says, Plaintiff's claim is barred because no adverse        23·
                                                                 ·her.··She·requested·--·yeah,·pretty·much,·that·was
24·
  ·employment action was taken because of any                  24·
                                                                 ·it.··Oh,·and·to·be·able·to·pick·up·trips·in·open
25·
  ·disability.                                                 25·
                                                                 ·time.


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                                                         201                                                            203
·1·
  · · ··Q.· ·Okay.··And so looking back at Number 8,           ·1·
                                                                 ·questions on the bid process.
·2·
  ·just the first part of the sentence, "The                   ·2·
                                                                 ······
                                                                  ·····A.···Okay.
·3·
  ·accommodations requested by Plaintiff," you're              ·3·
                                                                 · · ··Q.· ·So that's -- so how flight attendants bid
·4·
  ·aware of what accommodations were requested by              ·4·
                                                                 ·for their -- for the trips.
·5·
  ·Plaintiff.··You don't have to be a lawyer to get that       ·5·
                                                                 ······
                                                                  ·····A.···Okay.
·6·
  ·part of the sentence, right?                                ·6·
                                                                 · · ··Q.· ·And so is it correct that flight attendants
·7·
  ······
   ·····A.···Right.                                            ·7·
                                                                 ·bid once a month for the trips that will go on their
·8·
  · · ··Q.· ·Okay.··And the next few words, "were not          ·8·
                                                                 ·schedule?
·9·
  ·reasonable."··What was not reasonable?··Let's just          ·9·
                                                                 ······
                                                                  ·····A.···Yes.
10·
  ·take it one little bit at a time.··What was not             10·
                                                                 · · ··Q.· ·And then after all the flight attendants
11·
  ·reasonable about those requested accommodations?            11·
                                                                 ·bid by whatever the date is -- whatever the deadline
12·
  · · · · · ·MS. KITSON:··Same objections.··If                 12·
                                                                 ·is for them to bid, then the schedule's created,
13·
  ·Mr. Arellano wants to testify regarding why the             13·
                                                                 ·right?
14·
  ·accommodations were denied, that's fine.··This is a         14·
                                                                 ······
                                                                  ·····A.···Shortly·after,·yes.··So·the·bid·closes·on
15·
  ·question about whether they're reasonable or pose an        15·
                                                                 ·the·15th.
16·
  ·undue burden under the law, under the ADA.                  16·
                                                                 · · ··Q.· ·On the 15th.··And then shortly after the
17·
  · · ··Q.· ·(BY MR. CRONE)··So, Mr. Arellano, are you         17·
                                                                 ·15th, the schedule's created.··And after the
18·
  ·able to testify about what was not reasonable about         18·
                                                                 ·schedule's created, not all of the trips are covered,
19·
  ·those requested accommodations?                             19·
                                                                 ·are they?
20·
  ······
   ·····A.···No,·I·am·not.                                     20·
                                                                 ······
                                                                  ·····A.···What·do·you·mean,·"covered"?
21·
  · · ··Q.· ·Okay.··I'm going to try to short-circuit          21·
                                                                 · · ··Q.· ·So -- so -- so trips that weren't bid on
22·
  ·this.··You've reviewed the rest of these asserted           22·
                                                                 ·and nobody's -- there's no coverage, they go into
23·
  ·defenses.··Are you able to testify about the facts          23·
                                                                 ·something called open time, right, that anybody can
24·
  ·underlying any of these asserted defenses by                24·
                                                                 ·then further bid on; is that correct?
25·
  ·Frontier?                                                   25·
                                                                 ······
                                                                  ·····A.···That·is·correct.

                                                         202                                                            204
·1·
  · · · · · ·MS. KITSON:··Same objections.··Legal              ·1·
                                                                 · · ··Q.· ·Okay.··Now, was Ms. Brigham, as part of her
·2·
  ·conclusion, outside the scope.··He can answer in his        ·2·
                                                                 ·request for a modified schedule -- was she -- did she
·3·
  ·individual capacity.                                        ·3·
                                                                 ·ask Frontier to be allowed to just bid on that open
·4·
  ······
   ·····A.···Unfortunately,·I'm·not·able·to.··I·don't          ·4·
                                                                 ·time so -- in order to -- in order to deal with
·5·
  ·have·the·legal·knowledge·to·be·able·to·speak·to·them.       ·5·
                                                                 ·Frontier's anxiety that -- that the modified schedule
·6·
  · · ··Q.· ·(BY MR. CRONE)··That's -- that's okay.            ·6·
                                                                 ·might violate the CBA?
·7·
  ·Thank you.··And that will save us a few more minutes        ·7·
                                                                 ······
                                                                  ·····A.···It's·a·little·bit·different.··It's·not·that
·8·
  ·at the end here.                                            ·8·
                                                                 ·you·bid·for·open·time.··You·can·pick·up·trips·in·open
·9·
  · · · · · ·MR. CRONE:··So if you -- if you will -- if        ·9·
                                                                 ·time.··Open·time·is·not·seniority-based.··It's·first
10·
  ·you -- if we could take a five-minute break, I want         10·
                                                                 ·come·first·serve.
11·
  ·to just sort of do a quick circle through my notes,         11·
                                                                 · · ··Q.· ·So -- so Ms. Brigham could have built her
12·
  ·make sure we didn't miss anything important, and then       12·
                                                                 ·schedule solely from open time?
13·
  ·after that, your lawyer may or may not have some            13·
                                                                 ······
                                                                  ·····A.···Open·time·is·only·allowed·in·certain
14·
  ·follow-up questions.··And then maybe we will be done        14·
                                                                 ·circumstances,·and·people·who·have·access·to·that,
15·
  ·by 3:00.                                                    15·
                                                                 ·essentially,·were·not·allowed·to·bid.
16·
  · · · · · ·So I will -- we can go off the record now,        16·
                                                                 ···········
                                                                  ··········And·so·if·you're·returning·from·a·leave·of
17·
  ·and I'll see you in just a few minutes.                     17·
                                                                 ·absence·and·you·didn't·have·an·opportunity·to·submit
18·
  · · · · · ·THE WITNESS:··Sounds good.                        18·
                                                                 ·a·bid,·then·you·had·the·opportunity·--·meaning
19·
  · · · · · ·THE VIDEOGRAPHER:··The time now is 2:49.          19·
                                                                 ·continuously,·I·should·say·--·then·you·would·have
20·
  ·We're off the record.                                       20·
                                                                 ·the·ability·--·to·not·penalize·them,·you·would·have
21·
  · · · · · ·(Recess from 2:49 p.m. to 3:01 p.m.)              21·
                                                                 ·the·opportunity·to·then·pick·up·trips·out·of·open
22·
  · · · · · ·THE VIDEOGRAPHER:··The time now is 3:01.          22·
                                                                 ·time.
23·
  ·We're back on the record.                                   23·
                                                                 · · ··Q.· ·Okay.··See, I'm -- so I guess that's my
24·
  · · ··Q.· ·(BY MR. CRONE)··Okay.··Thanks,                    24·
                                                                 ·question is that if Frontier granted Ms. Brigham
25·
  ·Mr. Arellano.··I just have a couple follow-up               25·
                                                                 ·permission to build her schedule only from open time


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                                                         205                                                            207
·1·
  ·rather than bid --                                          ·1·
                                                                 ·off the record.
·2·
  ······
   ·····A.···Uh-huh.                                           ·2·
                                                                 · · · · · ·(The following proceedings were held on the
·3·
  · · ··Q.· ·-- then the seniority provision in the CBA        ·3·
                                                                 ·stenographic record only:)
·4·
  ·would not have been implicated at all?                      ·4·
                                                                 · · · · · ·THE REPORTER:··Would you both like a copy
·5·
  ······
   ·····A.···But·you·also·have·to·look·at·her·status,          ·5·
                                                                 ·of the transcript?
·6·
  ·and·I·think·we·talked·about·this·earlier.··It's·her         ·6·
                                                                 · · · · · ·MR. CRONE:··Plaintiff says yes.
·7·
  ·active·status·in·the·system.                                ·7·
                                                                 · · · · · ·MS. KITSON:··Yes as well.
·8·
  ···········
   ··········So·if·an·employee·is·on·active·status,·then       ·8·
                                                                 · · · · · ·THE REPORTER:··Okay.··Both electronic?
·9·
  ·the·rules·and·regulations·regarding·bidding·apply.          ·9·
                                                                 · · · · · ·MR. CRONE:··Yeah, please.
10·
  ·And·so·Ms.·Brigham·was·an·active·flight·attendant,          10·
                                                                 · · · · · ·THE REPORTER:··And a copy of the exhibits?
11·
  ·so,·therefore,·she·had·to·follow·the·rules·and              11·
                                                                 · · · · · ·MR. CRONE:··Please, yeah.
12·
  ·regulations·outlined·under·the·eligible-to-bid              12·
                                                                 · · · · · ·MS. KITSON:··Yes.
13·
  ·section·of·the·contract·--                                  13·
                                                                 · · · · · ·THE REPORTER:··Okay.··And you'll handle
14·
  · · ··Q.· ·Do you know --                                    14·
                                                                 ·reading and signing, Ms. Kitson?
15·
  ······
   ·····A.···--·therefore,·did·not·--                          15·
                                                                 · · · · · ·MS. KITSON:··Yes, for sure.
16·
  · · ··Q.· ·I'm sorry.··Go ahead.                             16·
                                                                 · · · · · ·THE REPORTER:··Okay.
17·
  ······
   ·····A.···Therefore,·did·not·have·access·to·pick·up         17·
                                                                 · · · · · ·MR. CRONE:··Thank you very much.
18·
  ·or·build·her·trips·through·open·time.··That's·only          18·
                                                                 · · · · · ·THE REPORTER:··Thank you.
19·
  ·for·individuals·who·are·considered·on·leave·status·in       19·
                                                                 · · · · · ·WHEREUPON, the foregoing deposition was
20·
  ·the·system.                                                 20·
                                                                 ·concluded at the hour of 3:07 p.m. on July 13, 2020.
21·
  · · ··Q.· ·Yeah.··Do you know if the union requested         21·
                                                                 · · · · · · · · · ··*· ··*· ··*· ··*
22·
  ·that Ms. Brigham be allowed to build her schedule           22·
                                                                 ·
23·
  ·from open time?                                             23·
                                                                 ·
24·
  ······
   ·····A.···Outside·of·that·document·you·showed·me            24·
                                                                 ·
25·
  ·earlier,·no,·I·was·not·aware·of·it.                         25·
                                                                 ·

                                                         206                                                            208
·1·
  · · ··Q.· ·Okay.··And by "that document," are you            ·1·
                                                                 · · · · · ·I, GERARDO ARELLANO, do hereby certify that
·2·
  ·referring to Adrienne Prince's declaration?                 ·2·
                                                                 ·I have read the foregoing transcript and that the
                                                               ·3·
                                                                 ·same and accompanying amendment sheets, if any,
·3·
  ······
   ·····A.···That·is·correct.                                  ·4·
                                                                 ·constitute a true and complete record of my
·4·
  · · · · · ·MR. CRONE:··Okay.··Those are all the              ·5·
                                                                 ·testimony.
·5·
  ·questions I have for you, Mr. Arellano, and I thank         ·6·
                                                                 ·
                                                               ·7·
                                                                 ·
·6·
  ·you very much.
                                                               ·8·
                                                                 · · · · · · · · · ·_________________________
·7·
  · · · · · ·And I don't know if your lawyer has any            ···· · · · · · · · ·GERARDO ARELLANO
·8·
  ·follow-up, but barring that, then that's all we have        ·9·
                                                                 ·
                                                               10·
                                                                 · · · · ··( ) No Amendments
·9·
  ·for you today.
                                                               11·
                                                                 · · · · ··( ) Amendments Attached
10·
  · · · · · ·THE WITNESS:··Okay.                               12·
                                                                 ·
11·
  · · · · · ·MS. KITSON:··John, when you say that's all         ···· · · ··Subscribed and sworn to before me this
                                                               13·
                                                                 ·
12·
  ·you have, are you done completely, or are you
                                                                ··________
                                                                   ·       day of ________________, 2020.
13·
  ·reconvening tomorrow for the individual dep, or             14·
                                                                 ·
14·
  ·what's your plan?                                           15·
                                                                 ·
                                                                ···· · · ··Notary Public:__________________________
15·
  · · · · · ·MR. CRONE:··Yeah, that's -- do you want to
                                                               16·
                                                                 ·
16·
  ·talk off the record about that, or do you want to            ···· · · ··Address: _______________________________
17·
  ·stay --                                                     17·
                                                                 ·
                                                                ···· · · · · · · · ·_______________________________
18·
  · · · · · ·MS. KITSON:··Sure.··Yeah, let's go off the
                                                               18·
                                                                 ·
19·
  ·record for a moment.                                        19·
                                                                 ·
20·
  · · · · · ·THE VIDEOGRAPHER:··The time now is                 ···· · · ··My Commission Expires: _________________
                                                               20·
                                                                 ·
21·
  ·3:04 p.m.··We're off the record.
                                                                ···· · · ··Seal:
22·
  · · · · · ·(Discussion off the record.)                      21·
                                                                 ·
23·
  · · · · · ·THE VIDEOGRAPHER:··The time now is                22·
                                                                 ·
                                                               23·
                                                                 ·
24·
  ·3:06 p.m.··This concludes today's portion of the
                                                               24·
                                                                 ·
25·
  ·videotaped deposition of our 30(b)(6) witness.··We're       25·
                                                                 ·


                                      ROCKY MOUNTAIN REPORTING
                                             (720) 872-9910
Case No. 1:19-cv-03417-WJM-STV Document 36-2 filed 11/17/20 USDC Colorado pg 53
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                  FRONTIER AIRLINES / GERARDO ARELLANO - July 13, 2020
                                                      209
·1·
  ·WITNESS:··GERARDO ARELLANO
·2·
  ·DATE OF DEPOSITION:··July 13, 2020
·3·
  ·CASE:··Brigham v. Frontier Airlines, Inc.
·4·
  · · · · · · · · · · ··ERRATA SHEET
·5·
  ·PAGE· ··LINE· · · · · · · ·CHANGE· · · · ·REASON
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  ·Signature_____________________________Date___________

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·1·
  · · · · · · · · ·REPORTER'S CERTIFICATE
·2·
  ·STATE OF COLORADO· · ··)
 ···· · · · · · · · · · ··) ss.
·3·
  ·COUNTY OF DENVER· · · ·)
·4·
  · · · · ··I, JILL S. NIELSEN, do hereby certify that I
 ··am
    · a Registered Professional Reporter and Notary
·5·
  ·Public within the State of Colorado; that previous to
 ··the
    ·  commencement of the examination, the witness was
·6·
  ·duly sworn by me to testify to the truth.
·7·
  · · · · ··I further certify this deposition was taken
 ··remotely
    ·       in shorthand by me at the time herein set
·8·
  ·forth, and that it was thereafter reduced to
 ··typewritten
    ·          form, and that the foregoing constitutes
·9·
  ·a true and correct transcript.
10·
  · · · · ··I further certify that I am not related to,
 ··employed
    ·       by, nor of counsel for any of the parties or
11·
  ·attorneys herein, nor otherwise interested in the
 ··result
    ·     of the within action.
12·
  ·
 ···· · · ··IN WITNESS WHEREOF, I have hereunto affixed
13·
  ·my hand and seal this 22nd day of July, 2020.
14·
  · · · · ··My commission expires July 7, 2023.
15·
  · · · · · · · · · ·___________________________
 ···· · · · · · · · ·JILL S. NIELSEN, RPR
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  · · · · · · · · · ·Notary Public in and for the
 ···· · · · · · · · ·State of Colorado
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